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                                                                    APPEAL,CAT B,CLOSED
                             U.S. District Court
                  District of Columbia (Washington, DC)
           CRIMINAL DOCKET FOR CASE #: 1:19−cr−00018−ABJ−1
                              Internal Use Only

Case title: USA v. STONE                             Date Filed: 01/24/2019

Assigned to: Judge Amy Berman
Jackson
Appeals court case number: 19−3012

Defendant (1)
ROGER JASON STONE, JR.               represented by L. Peter Farkas
                                                    HALLORAN FARKAS & KITTILA LLP
                                                    1101 30th Street, NW
                                                    Suite 500
                                                    Washington, DC 20007
                                                    (202) 559−1700 ext 102
                                                    Fax: (202) 257−2019
                                                    Email: pf@hfk.law
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Retained

                                                 Paul Douglas Kamenar
                                                 LAW OFFICE OF PAUL D. KAMENAR
                                                 1629 K Street, NW
                                                 Suite 300
                                                 Washington, DC 20006
                                                 (202) 603−5397
                                                 Fax: (202) 588−0386
                                                 Email: paul.kamenar@gmail.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

                                                 Robert C Buschel
                                                 BUSCHEL & GIBBONS, P.A.
                                                 One Financial Plaza
                                                 100 S.E. Third Avenue
                                                 Suite 1300
                                                 Ft. Lauderdale, FL 33394
                                                 (954) 530−5301
                                                 Email: buschel@bglaw−pa.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained
                                                                                          1
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                                       Bruce S. Rogow
                                       LAW OFFICE OF BRUCE S. ROGOW, P.A.
                                       100 NE 3rd Avenue
                                       Suite 1000
                                       Fort Lauderdale, FL 33301
                                       (954) 767−8909
                                       Fax: (954) 764−1530
                                       Email: brogow@rogowlaw.com
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Designation: Pro Hac Vice

                                       Chandler Paige Routman
                                       LAW OFFICE OF CHANDLER P. ROUTMAN
                                       501 East Las Olas Blvd.
                                       Suite #331
                                       Ft. Lauderdale, FL 33316
                                       (954) 235−8259
                                       Email: routmanc@gmail.com
                                       TERMINATED: 01/15/2020
                                       Designation: Retained

                                       Grant J. Smith
                                       STRATEGYSMITH, P.A.
                                       401 East Las Olas Boulevard
                                       Suite 130−120
                                       Fort Lauderdale, FL 33301
                                       954−328−9064
                                       Email: gsmith@strategysmith.com
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Designation: Pro Hac Vice

                                       Seth Ginsberg
                                       ATTORNEY AT LAW
                                       299 Broadway
                                       Suite 1405
                                       New York, NY 10007
                                       212−227−6655
                                       Email: srginsberg@mac.com
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Designation: Pro Hac Vice

                                       Tara A. Campion
                                       LAW OFFICE OF BRUCE S. ROGOW, P.A.
                                       100 NE 3rd Avenue
                                       Suite 1000
                                       Fort Lauderdale, FL 33301
                                       (954) 767−8909
                                       Fax: (954) 764−1530

                                                                            2
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                                              Email: tcampion@rogowlaw.com
                                              PRO HAC VICE
                                              ATTORNEY TO BE NOTICED
                                              Designation: Pro Hac Vice

Pending Counts                                Disposition
18:1505 and 2; OBSTRUCTION OF                 JURY VERDICT OF GUILTY. Sentenced to 40
PROCEEDING BEFORE                             months incarceration, followed by 24 months
DEPARTMENTS/AGENCIES.                         supervised release, to run concurrent with all
Obstruction of Proceeding.                    other counts. Special Assessment of $100.00
(1)                                           was imposed. Fine of $20,000.00 was Ordered.
                                              JURY VERDICT OF GUILTY. Sentenced on
                                              each count to 12 months incarceration, to run
18:1001(a)(2) and 2; STATEMENTS               concurrent to Count 1, followed by 24 months
OR ENTRIES GENERALLY; False                   supervised release on each count, to run
Statements.                                   concurrent with all other counts. Special
(2−6)                                         Assessment of $100.00 was imposed on each
                                              count for a total of $500.00. Fine of $20,000.00
                                              was Ordered.
                                              JURY VERDICT OF GUILTY. Sentenced to 18
18:1512(b)(1); INTIMIDATION OR                months incarceration, to run concurrent to Count
FORCE AGAINST WITNESS;                        1 followed by 24 months supervised release, to
Witness Tampering.                            run concurrent with all other counts. Special
(7)                                           Assessment of $100.00 was imposed. Fine of
                                              $20,000.00 was Ordered.

Highest Offense Level (Opening)
Felony

Terminated Counts                             Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                    Disposition
None



Movant
DEMOCRATIC NATIONAL                   represented by Marc Erik Elias
COMMITTEE                                            PERKINS COIE LLP
also known as                                        700 13th Street, NW
DNC                                                  Suite 600
                                                     Washington, DC 20005

                                                                                                 3
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                                                 (202) 654−6200
                                                 Fax: (202) 654−6211
                                                 Email: melias@perkinscoie.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

                                                 Uzoma Nkwonta
                                                 PERKINS COIE LLP
                                                 700 13th Street, NW
                                                 Suite 600
                                                 Washington, DC 20005
                                                 (202) 654−3347
                                                 Fax: (202) 654−6211
                                                 Email: unkwonta@perkinscoie.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained



Movant
DEMOCRATIC CONGRESSIONAL            represented by Marc Erik Elias
CAMPAIGN COMMITTEE                                 (See above for address)
also known as                                      LEAD ATTORNEY
DCCC                                               ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                  Uzoma Nkwonta
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Retained



Movant
AMERICAN BROADCASTING              represented by Jay Ward Brown
COMPANIES, INC.                                   BALLARD SPAHR LLP
                                                  1909 K Street, NW
                                                  12th Floor
                                                  Washington, DC 20006
                                                  (202) 508−1136
                                                  Fax: (202) 661−2299
                                                  Email: brownjay@ballardspahr.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Retained

                                                 Matthew E. Kelley
                                                 BALLARD SPAHR LLP
                                                 1909 K Street, NW

                                                                                     4
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                                                12th Floor
                                                Washington, DC 20006
                                                (202) 508−1112
                                                Fax: (202) 661−2299
                                                Email: kelleym@ballardspahr.com
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED
                                                Designation: Retained

                                                Maxwell S. Mishkin
                                                BALLARD SPAHR LLP
                                                1909 K Street, NW
                                                12th Floor
                                                Washington, DC 20006
                                                (202) 508−1140
                                                Fax: (202) 661−2299
                                                Email: mishkinm@ballardspahr.com
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED
                                                Designation: Retained



Movant
CABLE NEWS NETWORK, INC.            represented by Jay Ward Brown
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                Matthew E. Kelley
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED
                                                Designation: Retained

                                                Maxwell S. Mishkin
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED
                                                Designation: Retained



Movant
CBS BROADCASTING INC.               represented by Jay Ward Brown
on behalf of                                       (See above for address)
CBS NEWS                                           LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                 Matthew E. Kelley

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                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

                                                 Maxwell S. Mishkin
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained



Movant
DOW JONES & COMPANY, INC.           represented by Jay Ward Brown
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                Matthew E. Kelley
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED
                                                Designation: Retained

                                                Maxwell S. Mishkin
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED
                                                Designation: Retained



Movant
ASSOCIATED PRESS                    represented by Jay Ward Brown
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                 Matthew E. Kelley
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

                                                 Maxwell S. Mishkin
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

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Movant
NEW YORK TIMES CO.                  represented by Jay Ward Brown
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                 Matthew E. Kelley
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

                                                 Maxwell S. Mishkin
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained



Movant
WP CO. LLC                          represented by Jay Ward Brown
doing business as                                  (See above for address)
WASHINGTON POST                                    LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                 Matthew E. Kelley
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

                                                 Maxwell S. Mishkin
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained



Movant
MICHAEL CERNOVICH                   represented by Norman A Pattis
                                                   PATTIS & SMITH, LLC
                                                   383 Orange Street
                                                   1st Floor
                                                   New Haven, CT 06511
                                                   203−393−3017
                                                   Fax: 203−393−9745
                                                                             7
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                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Retained



Plaintiff
USA                                  represented by J.P. Cooney
                                                    U.S. ATTORNEY'S OFFICE FOR THE
                                                    DISTRICT OF COLUMBIA
                                                    555 Fourth Street, NW
                                                    Washington, DC 20530
                                                    (202) 252−7281
                                                    Email: joseph.cooney@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Assistant U.S. Attorney

                                                   John Crabb , Jr.
                                                   U.S. ATTORNEY'S OFFICE
                                                   Judiciary Center Building
                                                   555 Fourth Street, NW
                                                   Room 11−844
                                                   Washington, DC 20530
                                                   (202) 252−1794
                                                   Email: John.D.Crabb@usdoj.gov
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Assistant U.S. Attorney

                                                   Aaron Simcha Jon Zelinsky
                                                   U.S. DEPARTMENT OF JUSTICE
                                                   555 Fourth Street, NW
                                                   Washington, DC 20530
                                                   (410) 209−4928
                                                   Email: Aaron.Zelinsky@usdoj.gov
                                                   TERMINATED: 02/11/2020
                                                   Designation: Assistant U.S. Attorney

                                                   Adam C. Jed
                                                   U.S. ATTORNEY'S OFFICE FOR THE
                                                   DISTRICT OF COLUMBIA
                                                   555 Fourth Street, NW
                                                   Washington, DC 20530
                                                   (202) 252−1793
                                                   Email: adam.jed@usdoj.gov
                                                   TERMINATED: 02/11/2020
                                                   Designation: Assistant U.S. Attorney

                                                   Andrew Daniel Goldstein
                                                   U.S. DEPARTMENT OF JUSTICE
                                                   Special Counsel's Office

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                                                950 Pennsylvania Avenue, NW
                                                Washington, DC 20530
                                                (202) 616−0800
                                                Email: adg@usdoj.gov
                                                TERMINATED: 04/30/2019
                                                Designation: Assistant U.S. Attorney

                                                Jeannie Sclafani Rhee
                                                PAUL, WEISS, RIFKIND, WHARTON &
                                                GARRISON LLP
                                                Special Counsel's Office
                                                2001 K Street NW
                                                Washington, DC 20006
                                                202−223−7300
                                                Email: JRhee@paulweiss.com
                                                TERMINATED: 04/16/2019
                                                Designation: Assistant U.S. Attorney

                                                Jonathan Ian Kravis
                                                U.S. ATTORNEY'S OFFICE FOR THE
                                                DISTRICT OF COLUMBIA
                                                555 Fourth Street, NW
                                                Washington, DC 20530
                                                (202) 252−6886
                                                Email: jonathan.kravis3@usdoj.gov
                                                TERMINATED: 02/11/2020
                                                Designation: Assistant U.S. Attorney

                                                Lawrence Rush Atkinson
                                                U.S. DEPARTMENT OF JUSTICE
                                                Criminal Division
                                                1400 New York Avenue
                                                Room 3402
                                                Washington, DC 20005
                                                (202) 305−7413
                                                Fax: (202) 651−3393
                                                Email: lawrence.atkinson2@usdoj.gov
                                                TERMINATED: 04/16/2019
                                                Designation: Assistant U.S. Attorney

                                                Michael John Marando
                                                U.S. ATTORNEY'S OFFICE FOR THE
                                                DISTRICT OF COLUMBIA
                                                555 Fourth Street, NW
                                                Washington, DC 20530
                                                (202) 252−7068
                                                Email: michael.marando@usdoj.gov
                                                TERMINATED: 02/11/2020
                                                Designation: Assistant U.S. Attorney

Date Filed   #   Page Docket Text

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01/24/2019   1       SEALED INDICTMENT as to ROGER JASON STONE, JR (1) count(s) 1,
                     2−6, 7. (zvt) (Main Document 1 replaced on 1/25/2019 with the original
                     Indictment that has counsel's signature) (zad). (Main Document 1 replaced on
                     1/31/2019, because of missing page numbers 6,13,16, and 18 (zad). (Entered:
                     01/24/2019)
01/24/2019   2       MOTION to Seal Case by USA as to ROGER JASON STONE, JR.
                     (Attachment: # 1 Text of Proposed Order)(zvt) (Entered: 01/24/2019)
01/24/2019   3       ORDER granting 2 Motion to Seal Case as to ROGER JASON STONE JR.
                     (1). Signed by Magistrate Judge Deborah A. Robinson on 01/24/2019. (zvt)
                     (Entered: 01/24/2019)
01/25/2019           Case unsealed pursuant to 3 Order filed on 01/24/2019 as to ROGER JASON
                     STONE, JR. (zvt) (Entered: 01/25/2019)
01/25/2019           Set Hearings as to ROGER JASON STONE, JR: ARRAIGNMENT scheduled
                     for 11:00 a.m. on Tuesday, January 29, 2019 in Courtroom 4 before Magistrate
                     Judge Deborah A. Robinson. (zcal) (Entered: 01/25/2019)
01/25/2019   4       NOTICE OF ATTORNEY APPEARANCE: Robert C. Buschel appearing for
                     ROGER JASON STONE, JR (Buschel, Robert) (Entered: 01/25/2019)
01/25/2019           Arrest of ROGER JASON STONE, JR in Southern District of Florida. (hsj)
                     (Entered: 01/30/2019)
01/27/2019   5       NOTICE OF ATTORNEY APPEARANCE: Grant J. Smith appearing for
                     ROGER JASON STONE, JR (Smith, Grant) (Entered: 01/27/2019)
01/28/2019   7       Rule 5(c)(3) Documents Received as to ROGER JASON STONE, JR from
                     from United States District Court for the Southern District of Florida in Ft.
                     Lauderdale, Florida. Case Number 0:19−mj−6039 (hsj) (Entered: 01/28/2019)
01/28/2019           MINUTE ORDER: On January 25, 2019, this court scheduled arraignment for
                     11:00 a.m. on Tuesday, January 29, 2019. Thereafter, two lawyers, neither of
                     whom is a member of the Bar of United States District Court for the District of
                     Columbia, each filed a "NOTICE OF APPEARANCE" "as permanent
                     counsel[,]" and included the notation "Pro hac vice pending" beneath the
                     signature line. As of the filing of the instant Minute Order, neither lawyer has
                     complied with Local Criminal Rule 44.1(d), which requires, in pertinent part,
                     that "[a]ny [non−member] seeking to appear pro hac vice must file a motion
                     signed by a sponsoring member of the Bar of this Court," accompanied by the
                     prescribed declaration and fee. See also Local Civil Rule 44.1(c)(1) (providing
                     that "[a]n attorney who is a member in good standing of the bar of any United
                     States Court or of the highest court of any State, but who is not a member of
                     the Bar of this Court, may file papers in this Court only if such attorney joins
                     of record a member in good standing of the Bar of this Court."). It is hereby
                     ORDERED that if the two lawyers expect to "be heard in open court" at the
                     proceedings scheduled for tomorrow, then they shall fully comply with Local
                     Civil Rule 44.1(d) by 9:00 a.m. tomorrow. Signed by Magistrate Judge
                     Deborah A. Robinson on 1/28/2019. (lcdar3) Modified on 1/29/2019 (zcal).
                     (Entered: 01/28/2019)
01/28/2019   9       MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Robert
                     Buschel. :Address− 100 S.E. Third Avenue, Suite 1300, Fort Lauderdale, FL

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                     33394. Phone No. − 954−530−5301. Fax No. − 954−320−6932 Filing fee $
                     100, receipt number 0090−5912100. Fee Status: Fee Paid. by ROGER JASON
                     STONE, JR. (Attachments: # 1 Declaration Declaration of Robert Buschel, # 2
                     Text of Proposed Order)(Buschel, Robert) (Entered: 01/28/2019)
01/28/2019   10      MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Grant J. Smith.
                     :Address− gsmith@strategysmith.com. Phone No. − 954−328−9064. Filing fee
                     $ 100, receipt number 0090−5912217. Fee Status: Fee Paid. by ROGER
                     JASON STONE, JR. (Attachments: # 1 Declaration Grant Smith, # 2 Text of
                     Proposed Order)(Buschel, Robert) (Entered: 01/28/2019)
01/28/2019           MINUTE ORDER: This court has reviewed the declaration filed as an
                     attachment to the pending Motion for Admission of Robert Buschel 9 , and the
                     declaration filed as an exhibit to the pending Motion for Pro Hac Vice
                     Admission of Grant J. Smith 10 . This court has determined that neither Mr.
                     Buschel nor Mr. Smith, in his declaration, set forth "(4) a certification that the
                     attorney either has or has not been disciplined by any bar, and if the attorney
                     has been disciplined by any bar, the circumstances and details of the
                     discipline[.]" Local Criminal Rule 44.1(d). Additionally, this court has
                     observed that L. Peter Farkas, Esq., whose name appears on the signature line
                     of each motion, neither filed the motions nor entered his appearance; instead,
                     the motions were filed by the non−member attorneys. Thus, these
                     non−member attorneys failed to comply with Local Civil Rule 44.1(c)(1),
                     which permits non−member attorneys to file papers in this Court "only if such
                     [non−member] attorney joins of record a member in good standing of the Bar
                     of this Court[]" (emphasis supplied). For these reasons, it is ORDERED that
                     both motions are DENIED WITHOUT PREJUDICE. The attention of these
                     non−member attorneys is directed to the 9:00 a.m. deadline for compliance
                     with the cited Local Criminal Rules of this Court. Signed by Magistrate Judge
                     Deborah A. Robinson on 1/28/2019. (lcdar3) (Entered: 01/28/2019)
01/29/2019   11      NOTICE OF ATTORNEY APPEARANCE: L. Peter Farkas appearing for
                     ROGER JASON STONE, JR. (zvt) (Entered: 01/29/2019)
01/29/2019   12      MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Robert C.
                     Buschel. :Address− One Financial Plaza, Suite 1300, 100 S.E. Third Avenue,
                     Fort Lauderdale, FL 33394. Phone No. − (954) 530−5301. Filing fee $ 100.
                     Fee Status: Fee Paid. Receipt No.: 4616096484. by ROGER JASON STONE,
                     JR. (Attachments: # 1 Declaration, # 2 Text of Proposed Order)(zvt) (Entered:
                     01/29/2019)
01/29/2019   13      MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Grant J. Smith.
                     :Address− 401 East Las Olas Boulevard, Suite 130−120, Fort Lauderdale, FL
                     33301. Phone No. − (954) 328−9064. Filing fee $ 100. Fee Status: Fee Paid.
                     Receipt No.: 4616096484 by ROGER JASON STONE, JR. (Attachments: # 1
                     Declaration, # 2 Text of Proposed Order)(zvt) (Entered: 01/29/2019)
01/29/2019           MINUTE ORDER granting 12 Motion for Leave to Appear Pro Hac Vice as to
                     Robert C. Buschel. Signed by Magistrate Judge Deborah A. Robinson on
                     1/29/2019. (lcdar3) (Entered: 01/29/2019)
01/29/2019           MINUTE ORDER granting 13 Motion for Leave to Appear Pro Hac Vice as to
                     Grant J. Smith. Signed by Magistrate Judge Deborah A. Robinson on
                     1/29/2019. (lcdar3) (Entered: 01/29/2019)

                                                                                                          11
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01/29/2019           Arrest of ROGER JASON STONE, JR on 1/25/2019 in Southern District of
                     Florida − Fort Lauderdale. (zcal) (Entered: 01/29/2019)
01/29/2019   14      Arrest Warrant as to ROGER JASON STONE, JR Returned Executed on
                     1/25/2019 in Southern District of Florida − Fort Lauderdale. (zcal) (Entered:
                     01/29/2019)
01/29/2019           Minute Entry for proceedings held before Magistrate Judge Deborah A.
                     Robinson: Arraignment as to ROGER JASON STONE JR. (1): Count 1,2−6,
                     and 7 held on 1/29/2019. Not Guilty Plea as to all counts. The Government is
                     not opposed to the Release of Defendant, to include special conditions. Status
                     Conference set for 2/1/2019 at 01:30 PM in Courtroom 3 before Judge Amy
                     Berman Jackson. Bond Status of Defendant: Defendant Released on Personal
                     Recognizance/ Release Issued; Court Reporter: Cathryn Jones; Time Frame:
                     Ctrm 3 [11:00 − 11:13]; Defense Attorney: Grant Smith and Robert Bushel;
                     Special Counsel: Aaron Zelinsky and Jeannie Rhee; US Attorneys: Jonathan
                     Kravis and Michael Marando; Pretrial Officer: Christine Schuck. (zcal)
                     (Entered: 01/29/2019)
01/29/2019   15      ORDER Setting Conditions of Release as to ROGER JASON STONE JR. (1)
                     Personal Recognizance. Signed by Magistrate Judge Deborah A. Robinson on
                     1/29/2019. (Attachments: # 1 Appearance Bond) (zcal) (Entered: 01/29/2019)
01/29/2019           MINUTE ORDER as to ROGER JASON STONE, JR. The status conference
                     presently set in Courtroom 3 for 2/1/2019 at 1:30 PM is reset for 2/1/2019 at
                     2:00 PM. Signed by Judge Amy Berman Jackson on 1/29/19. (DMK)
                     (Entered: 01/29/2019)
01/29/2019           Set/Reset Hearings as to ROGER JASON STONE, JR: The Status Conference
                     presently set for 2/1/2019 at 1:30 PM is reset for 2/1/2019 at 2:00 PM in
                     Courtroom 3 before Judge Amy Berman Jackson. (jth) (Entered: 01/29/2019)
01/30/2019   16      MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Bruce S.
                     Rogow. :Address− 100 NE 3rd Ave., Ste. 1000 Fort Lauderdale, FL 33301.
                     Phone No. − 954−767−8909. Fax No. − 954−764−1530 Filing fee $ 100,
                     receipt number 0090−5917156. Fee Status: Fee Paid. by ROGER JASON
                     STONE, JR. (Attachments: # 1 Declaration Bruce S. Rogow, # 2 Text of
                     Proposed Order)(Farkas, L.) (Entered: 01/30/2019)
01/30/2019   17      MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Tara A.
                     Campion. :Address− 100 NE 3rd Avenue, Suite 1000, Fort Lauderdale, FL
                     33301. Phone No. − 954−767−8909. Fax No. − 954−764−1530 Filing fee $
                     100, receipt number 0090−5917225. Fee Status: Fee Paid. by ROGER JASON
                     STONE, JR. (Attachments: # 1 Declaration Tara A. Campion, # 2 Text of
                     Proposed Order)(Farkas, L.) (Entered: 01/30/2019)
01/30/2019           MINUTE ORDER granting 16 17 Motions for Leave of Bruce S. Rogow and
                     Tara A. Campion to Appear Pro Hac Vice as to ROGER JASON STONE JR.
                     (1) only upon condition that at the lawyers admitted, or at least one member of
                     the lawyers' firm, undergo CM/ECF training, obtain a CM/ECF username and
                     password, and agree to file papers electronically. No court papers will be
                     mailed to any lawyer. Signed by Judge Amy Berman Jackson on 1/30/19.
                     (DMK) (Entered: 01/30/2019)
01/30/2019

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                     Attorneys: Bruce S. Rogow and Tara A. Campion added to this case for
                     defendant ROGER JASON STONE, JR. (Pro Hac Vice Motions granted on
                     1/30/2019) (jth) (Entered: 01/30/2019)
01/30/2019   20      MOTION for Leave to File a Motion to Intervene as to ROGER JASON
                     STONE, JR. "File as Motion for Leave to file a Motion to Intervene; File 1st 2
                     pages only" by Judge Amy B. Jackson on 01/30/2019. (zvt) Modified filed
                     date on 2/1/2019 (znmw). (Entered: 02/01/2019)
01/31/2019   18      Unopposed MOTION for Protective Order Governing Discovery by USA as to
                     ROGER JASON STONE, JR. (Attachments: # 1 Text of Proposed
                     Order)(Zelinsky, Aaron) (Entered: 01/31/2019)
01/31/2019   19      Consent MOTION to Declare Case Complex and Exclude Time Under the
                     Speedy Trial Act by USA as to ROGER JASON STONE, JR. (Attachments: #
                     1 Text of Proposed Order)(Marando, Michael) Modified event on 2/4/2019
                     (znmw). (Entered: 01/31/2019)
02/01/2019           MINUTE ORDER denying 20 Motion for Leave to File as to ROGER JASON
                     STONE JR. (1). Movant David Christenson has filed a motion for leave to file
                     a motion to intervene in this case. His motion for leave to file, which the Court
                     docketed on the official public record, did not attach the intervention motion
                     itself; it simply transmitted copies of similar motions filed in other cases. But
                     his motion for leave to file any request to intervene will be DENIED because
                     the Federal Rules of Criminal Procedure do not provide for intervention in a
                     criminal case. Also, since movant not a party to these proceedings, it is
                     FURTHER ORDERED that no additional submissions from the movant will
                     be docketed in this case. THIS IS A FINAL, APPEALABLE ORDER. Signed
                     by Judge Amy Berman Jackson on 2/1/19. (DMK) (Entered: 02/01/2019)
02/01/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Status
                     Conference as to ROGER JASON STONE, JR. held on 2/1/2019. The
                     government's 18 Motion for Protective Order governing discovery will be
                     granted. Case will be designated as Complex 19 . Submissions from either
                     party pursuant to Local Criminal Rule 57.7(c) are due by 2/8/2019. Another
                     Status Conference is set for 3/14/2019 at 10:00 AM in Courtroom 3 before
                     Judge Amy Berman Jackson. Bond Status of Defendant: Defendant remains on
                     Personal Recognizance Bond with Amended Conditions (see Order for
                     details); Court Reporter: Janice Dickman; Defense Attorneys: Robert C.
                     Buschel and Tara A. Campion; US Attorneys: Michael John Marando,
                     Jonathan Ian Kravis, Jeannie Sclafani Rhee and Aaron Jon Zelinsky. (jth)
                     (Entered: 02/01/2019)
02/01/2019   21      ORDER MODIFYING CONDITIONS OF RELEASE as to ROGER JASON
                     STONE, JR. Signed by Judge Amy Berman Jackson on 2/1/2019.
                     (Attachments: # 1 Appearance Bond).(jth) (Entered: 02/01/2019)
02/01/2019   22      PROTECTIVE ORDER GOVERNING DISCOVERY as to ROGER JASON
                     STONE, JR. (see order for complete details). Signed by Judge Amy Berman
                     Jackson on 02/01/2019. (jth) (Entered: 02/01/2019)
02/01/2019   23      TRANSCRIPT OF PROCEEDINGS in case as to ROGER JASON STONE,
                     JR before Judge Amy Berman Jackson held on February 1, 2019; Page
                     Numbers: 1−21. Date of Issuance: February 1, 2019. Court Reporter: Janice
                     Dickman, Telephone number: 202−354−3267, Transcripts may be ordered by
                                                                                                         13
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                     submitting the <a href="http://www.dcd.uscourts.gov/node/110">Transcript
                     Order Form</a><P></P>For the first 90 days after this filing date, the
                     transcript may be viewed at the courthouse at a public terminal or purchased
                     from the court reporter referenced above. After 90 days, the transcript may be
                     accessed via PACER. Other transcript formats, (multi−page, condensed, CD or
                     ASCII) may be purchased from the court reporter.<P>NOTICE RE
                     REDACTION OF TRANSCRIPTS: The parties have twenty−one days to
                     file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will
                     be made available to the public via PACER without redaction after 90 days.
                     The policy, which includes the five personal identifiers specifically covered, is
                     located on our website at www.dcd.uscourts.gov.<P></P> Redaction Request
                     due 2/22/2019. Redacted Transcript Deadline set for 3/4/2019. Release of
                     Transcript Restriction set for 5/2/2019.(Dickman, Janice) (Entered:
                     02/01/2019)
02/01/2019   24      ORDER as to ROGER JASON STONE, JR. For the reasons stated on the
                     record, the Court finds that the case is "so complex... that it is unreasonable to
                     expect adequate preparation for pretrial proceedings or for the trial itself
                     within the time limits" of the speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(ii),
                     and that the interests of justice would be served by excluding "the reasonable
                     time necessary for effective preparation, taking into account the exercise of
                     due diligence." 18 U.S.C. § 3161(h)(7)(B)(iv). Therefore, it is ORDERED that
                     the case is designated complex; the time between the entry of this order and
                     the next scheduled hearing in this matter on March 14, 2019 will be excluded
                     from the speedy trial act calculation; the ends of justice will be served by
                     doing so; and this action outweighs the interest of the public and the defendant
                     in a speedy trial. Signed by Judge Amy Berman Jackson on 2/1/2019.(jth)
                     (Entered: 02/01/2019)
02/05/2019   25      TRANSCRIPT OF PROCEEDINGS in case as to ROGER JASON STONE,
                     JR before Magistrate Judge Deborah A. Robinson held on January 29, 2019;
                     Page Numbers: 1 − 9. Court Reporter/Transcriber Cathryn Jones, Telephone
                     number 202 354−3246, Transcripts may be ordered by submitting the <a
                     href="http://www.dcd.uscourts.gov/node/110">Transcript Order
                     Form</a><P></P>For the first 90 days after this filing date, the transcript may
                     be viewed at the courthouse at a public terminal or purchased from the court
                     reporter referenced above. After 90 days, the transcript may be accessed via
                     PACER. Other transcript formats, (multi−page, condensed, CD or ASCII) may
                     be purchased from the court reporter.<P>NOTICE RE REDACTION OF
                     TRANSCRIPTS: The parties have twenty−one days to file with the court and
                     the court reporter any request to redact personal identifiers from this transcript.
                     If no such requests are filed, the transcript will be made available to the public
                     via PACER without redaction after 90 days. The policy, which includes the
                     five personal identifiers specifically covered, is located on our website at
                     www.dcd.uscourts.gov.<P></P> Redaction Request due 2/26/2019. Redacted
                     Transcript Deadline set for 3/8/2019. Release of Transcript Restriction set for
                     5/6/2019.(Jones, Cathryn) (Entered: 02/05/2019)
02/07/2019           MINUTE ORDER granting 26 government's sealed motion to seal witness list
                     as to ROGER JASON STONE JR. (1). The Clerk of Court is directed to
                     maintain under seal 26 government's motion and [26−1] its attachment. Signed
                     by Judge Amy Berman Jackson on 2/7/19. (DMK) Modified on 2/8/2019 to
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                     reflect that the Clerk of Court is directed to maintain under seal 26
                     "government's" not "defendant's" motion and [26−1] its attachment. (jth).
                     (Entered: 02/07/2019)
02/08/2019   27      NOTICE of Objection to Notice of Designation of Pending Related Criminal
                     case by ROGER JASON STONE, JR (Attachments: # 1 Exhibit Notice of
                     Designation of Related case, # 2 Exhibit DOJ press release, # 3 Text of
                     Proposed Order)(Buschel, Robert) (Entered: 02/08/2019)
02/08/2019   28      RESPONSE by ROGER JASON STONE, JR to Court's order on "gag order"
                     (Attachments: # 1 Exhibit Portion of transcript Feb 1 status
                     conference)(Buschel, Robert) (Entered: 02/08/2019)
02/08/2019           MINUTE ORDER as to ROGER JASON STONE, JR. It is ORDERED that
                     the government shall respond to defendant's 27 Objection to the Notice of
                     Related Case by February 15, 2019. Signed by Judge Amy Berman Jackson on
                     2/8/19. (DMK) (Entered: 02/08/2019)
02/08/2019   29      RESPONSE by USA as to ROGER JASON STONE, JR Regarding Imposition
                     of Order Pursuant to Local Criminal Rule 57.7(c) (Attachments: # 1 Text of
                     Proposed Order)(Kravis, Jonathan) (Entered: 02/08/2019)
02/08/2019           Set/Reset Deadline as to ROGER JASON STONE, JR: The government shall
                     respond to defendant's 27 Objection to the Notice of Related Case by
                     2/15/2019. (jth) (Entered: 02/10/2019)
02/12/2019   32      MOTION for Leave to File Amici Curiae Brief as to ROGER JASON
                     STONE, JR. "Leave to file granted" by Judge Amy B. Jackson on February
                     12, 2019. (Attachments: # 1 Amici Curiae Brief of Dr. Jerome Corsi, # 2
                     Exhibit A, # 3 Exhibit B)(zvt) (Entered: 02/13/2019)
02/12/2019   33      NOTICE OF APPEAL (Interlocutory) as to ROGER JASON STONE, JR. re
                     February 1, 2019 MINUTE ORDER denying Motion for Leave to File by
                     Movant David Christenson. "File as Notice of Appeal, Leave to file granted"
                     by Judge Amy B. Jackson on February 12, 2019. Fee Status: No Fee Paid.
                     Parties have been notified. (Attachment: # 1 Attachments)(zvt) (Entered:
                     02/13/2019)
02/12/2019   34      Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to
                     US Court of Appeals. The fee remains to be paid and another notice will be
                     transmitted when the fee has been paid in the District Court or the Motion to
                     Proceed In Forma Pauperis has been ruled on as to ROGER JASON STONE,
                     JR. re 33 Notice of Appeal − Interlocutory. (zvt) (Entered: 02/13/2019)
02/13/2019   31      MOTION for Order to Show Cause by ROGER JASON STONE, JR.
                     (Attachments: # 1 Exhibit text messages with counsel & reporter, # 2 Exhibit
                     draft copy sealed indictment, # 3 Exhibit Metadata screen shot AAW, # 4
                     Exhibit Timeline for morning of Jan 25, # 5 Text of Proposed Order)(Buschel,
                     Robert) (Entered: 02/13/2019)
02/15/2019           MINUTE ORDER granting 32 Motion for Leave to File as to ROGER JASON
                     STONE JR. (1). The Clerk of Court is directed to file [32−1] the Amici Curiae
                     Brief, [32−2] Exhibit A, and [32−3] Exhibit B on the docket. Signed by Judge
                     Amy Berman Jackson on 2/15/19. (DMK) (Entered: 02/15/2019)
02/15/2019   35
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                     AMICI CURIAE BRIEF of Dr. Jerome Corsi as to ROGER JASON STONE,
                     JR. (Attachment: # 1 Exhibit A, # 2 Exhibit B)(zvt) (Entered: 02/15/2019)
02/15/2019   36      ORDER as to ROGER JASON STONE, JR (1) pursuant to Local Criminal
                     Rule 57.7(b),(c). See Order for details. Signed by Judge Amy Berman Jackson
                     on 02/15/2019. (lcabj3) (Entered: 02/15/2019)
02/15/2019   37      RESPONSE by USA as to ROGER JASON STONE, JR re 27 Notice (Other),
                     Response to Defendant's Objection to Notice of Designation of Pending
                     Related Case (Marando, Michael) (Entered: 02/15/2019)
02/15/2019           MINUTE ORDER as to ROGER JASON STONE, JR (1). Upon consideration
                     of 27 Defendant's Objections to the Notice of Related Case and 37 the
                     government's Response, the Court will take no action with respect to the
                     current assignment of this case, which is consistent with Local Criminal Rule
                     57.12. The Court also notes that any future request that the Court take action
                     must be in the form of a motion that comports with Local Criminal Rule 47.
                     SO ORDERED. Signed by Judge Amy Berman Jackson on 02/15/2019.
                     (lcabj3) (Entered: 02/15/2019)
02/15/2019           MINUTE ORDER as to ROGER JASON STONE, JR (1). With respect to 31
                     defendant's Motion for Order to Show Cause, the government must provide
                     the Court with information concerning the precise timing and content of the
                     "press release from SCO" referred to in [31−1] defendant's Exhibit 1, if any,
                     along with any other information it wishes to submit in response to the motion,
                     by February 22, 2019. SO ORDERED. Signed by Judge Amy Berman Jackson
                     on 02/15/2018. (lcabj3) (Entered: 02/15/2019)
02/18/2019   38      NOTICE of Apology by ROGER JASON STONE, JR (Buschel, Robert)
                     (Entered: 02/18/2019)
02/19/2019           VACATED PURSUANT TO MINUTE ORDER FILED
                     02/21/19.....MINUTE ORDER as to ROGER J. STONE, JR. Defendant is
                     ORDERED to show cause at a hearing to be held on Thursday, February 21,
                     2019 at 2:30 p.m. as to why the media contact order entered in this case 36
                     and/or his conditions of release 21 should not be modified or revoked in light
                     of the posts on his Instagram account on or about February 18, 2019. Signed
                     by Judge Amy Berman Jackson on 2/19/19. (DMK) Modified on 2/22/2019
                     (zjth). (Entered: 02/19/2019)
02/19/2019           Set/Reset Hearings as to ROGER JASON STONE, JR: Show Cause Hearing
                     set for 2/21/2019 at 2:30 PM in Courtroom 3 before Judge Amy Berman
                     Jackson. (jth) (Entered: 02/19/2019)
02/19/2019           MINUTE ORDER granting 39 Government's Sealed Motion for Leave to File
                     Sealed Addendum as to ROGER J. STONE JR. (1). The Clerk of Court is
                     directed to file under seal the government's sealed addendum to response to
                     defendant's objection to notice of designation of pending related criminal case
                     [39−1], and exhibit A to the addendum [39−2]. Signed by Judge Amy Berman
                     Jackson on 2/19/19. (DMK) (Entered: 02/19/2019)
02/21/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson:
                     Evidentiary Hearing as to ROGER JASON STONE, JR. held on 2/21/2019.
                     For the reasons stated on the record in open Court, The 36 Media
                     Communications Order and the 21 Amended Order Setting Conditions of

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                     Release are modified. Bond Status of Defendant: Defendant Remains on
                     Personal Recognizance Bond with additional Amended Conditions; Court
                     Reporter: Janice Dickman; Defense Attorneys: Bruce S. Rogow, Robert
                     Buschel, L. Peter Farkas and Grant J. Smith; US Attorneys: Jonathan Ian
                     Kravis, Michael Marando, Jeannie S. Rhee and Aaron Jon Zelinsky; Witness:
                     Roger J. Stone, Jr.; Court Exhibits: One (Exhibit A) admitted under seal. (jth)
                     (Entered: 02/21/2019)
02/21/2019           MINUTE ORDER as to ROGER J. STONE, JR. On February 19, 2019, the
                     Court ordered the defendant to show cause at a hearing to be held on February
                     21, 2019 as to why the media communications order entered in this case 36
                     and/or defendant's conditions of release 21 should not be modified or revoked.
                     A hearing was held on this date. For the reasons set forth on the record, and
                     based upon the entire record, including the sealed exhibit to the hearing 42 ,
                     the testimony of the defendant, the arguments of counsel, and the submissions
                     of the parties 28 29 filed in connection with the potential imposition of a
                     media communications order, the Court entered the following order at the
                     hearing: the conditions of defendant's pretrial release 21 are hereby modified
                     to include the condition that, and the February 15, 2019 media
                     communications order 36 is hereby modified to provide that, the defendant is
                     prohibited from making statements to the media or in public settings about the
                     Special Counsel's investigation or this case or any of the participants in the
                     investigation or the case. The prohibition includes, but is not limited to,
                     statements made about the case through the following means: radio broadcasts;
                     interviews on television, on the radio, with print reporters, or on internet based
                     media; press releases or press conferences; blogs or letters to the editor; and
                     posts on Facebook, Twitter, Instagram, or any other form of social media.
                     Furthermore, the defendant may not comment publicly about the case
                     indirectly by having statements made publicly on his behalf by surrogates,
                     family members, spokespersons, representatives, or volunteers. The order to
                     show cause is hereby vacated. Signed by Judge Amy Berman Jackson on
                     2/21/19. (DMK) (Entered: 02/21/2019)
02/22/2019   43      TRANSCRIPT OF PROCEEDINGS in case as to ROGER JASON STONE,
                     JR before Judge Amy Berman Jackson held on February 21, 2019; Page
                     Numbers: 1−54. Date of Issuance: February 22, 2019. Court Reporter: Janice
                     Dickman, Telephone number: 202−354−3267, Transcripts may be ordered by
                     submitting the <a href="http://www.dcd.uscourts.gov/node/110">Transcript
                     Order Form</a><P></P>For the first 90 days after this filing date, the
                     transcript may be viewed at the courthouse at a public terminal or purchased
                     from the court reporter referenced above. After 90 days, the transcript may be
                     accessed via PACER. Other transcript formats, (multi−page, condensed, CD or
                     ASCII) may be purchased from the court reporter.<P>NOTICE RE
                     REDACTION OF TRANSCRIPTS: The parties have twenty−one days to
                     file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will
                     be made available to the public via PACER without redaction after 90 days.
                     The policy, which includes the five personal identifiers specifically covered, is
                     located on our website at www.dcd.uscourts.gov.<P></P> Redaction Request
                     due 3/15/2019. Redacted Transcript Deadline set for 3/25/2019. Release of
                     Transcript Restriction set for 5/23/2019.(Dickman, Janice) (Entered:
                     02/22/2019)

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02/22/2019   44      RESPONSE by USA as to ROGER JASON STONE, JR re 31 MOTION for
                     Order to Show Cause (Marando, Michael) (Entered: 02/22/2019)
02/22/2019   45      REPLY in Support by ROGER JASON STONE, JR re 31 MOTION for Order
                     to Show Cause (Buschel, Robert) (Entered: 02/22/2019)
02/22/2019           MINUTE ORDER as to ROGER J. STONE, JR. In a minute order issued on
                     February 15, 2019, the Court requested that the government provide
                     information and/or documentation concerning "the precise timing and content"
                     of the SCO press release referenced in Exhibit 1 to 31 defendant's motion for
                     order to show cause. While the government's response 44 to the motion for an
                     order to show cause clearly states that the indictment was unsealed and made
                     available to the public after the defendant had been placed under arrest, see 44
                     Government's Response at 2 n.2, and that assertion is entirely consistent with
                     the exhibit [31−1] submitted by defendant in support of his motion for order to
                     show cause, the information provided still leaves the Court's particular
                     question unanswered. The government must file a notice by Tuesday, February
                     26, 2019 answering the following questions or indicating whether the
                     information is unavailable: At what time did the SCO post the indictment on
                     its website with text indicating that the defendant "was arrested"? At what time
                     did the government send an email with "the same text" including a link to the
                     indictment on the SCO website, and to whom was it addressed? Attached to
                     the notice, the government must also submit any record that memorializes: the
                     time of defendant's arrest; the time the SCO posted the indictment on its
                     website; and the time the government sent the email. Signed by Judge Amy
                     Berman Jackson on 2/22/19. (DMK) (Entered: 02/22/2019)
02/24/2019           Set/Reset Deadlines as to ROGER JASON STONE, JR.: The government
                     must file a notice by Tuesday, February 26, 2019 answering the following
                     questions or indicating whether the information is unavailable: At what time
                     did the SCO post the indictment on its website with text indicating that the
                     defendant "was arrested"? At what time did the government send an email
                     with "the same text" including a link to the indictment on the SCO website,
                     and to whom was it addressed? Attached to the notice, the government must
                     also submit any record that memorializes: the time of defendant's arrest; the
                     time the SCO posted the indictment on its website; and the time the
                     government sent the email. (jth) (Entered: 02/24/2019)
02/25/2019           USCA Case Number as to Movant David Christenson as to ROGER JASON
                     STONE, JR. 19−3012 for 33 Notice of Appeal − Interlocutory. (zvt) (Entered:
                     02/28/2019)
02/26/2019   46      NOTICE by USA as to ROGER JASON STONE, JR re Order,,,,,,
                     (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                     D)(Kravis, Jonathan) (Entered: 02/26/2019)
02/27/2019           MINUTE ORDER as to ROGER J. STONE, JR. To assist the Court in
                     preparing a schedule for further proceedings to be discussed at the status
                     conference on March 14, 2019, the government must inform the Court by
                     March 7, 2019 of the anticipated length of the trial, and the defendant must
                     inform the Court by March 7, 2019 if he intends to file any motions pursuant
                     to Fed. R. Crim. Proc. 12(b)(3)(A), (B), and/or (C). Defendant's notice need
                     not set out the specific grounds for any proposed motion; the Court is simply
                     inquiring as to the nature and number of motions the defense anticipates it will
                                                                                                        18
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                     file. Signed by Judge Amy Berman Jackson on 2/27/19. (DMK) (Entered:
                     02/27/2019)
02/27/2019   49      ORDER denying 31 Motion for Order to Show Cause as to ROGER JASON
                     STONE JR. (1). See Order for details. Signed by Judge Amy Berman Jackson
                     on 2/27/19. (DMK) (Entered: 02/27/2019)
02/28/2019           Set/Reset Deadlines as to ROGER JASON STONE, JR.: the government must
                     inform the Court by 3/7/2019 of the anticipated length of the trial, and the
                     defendant must inform the Court by 3/7/2019 if he intends to file any motions
                     pursuant to Fed. R. Crim. Proc. 12(b)(3)(A), (B), and/or (C). (jth) (Entered:
                     02/28/2019)
02/28/2019           MINUTE ORDER as to ROGER J. STONE, JR. Two copies of a motion that
                     was entitled "Interested Party and Material Witness's [sic] Dr. Jerome Corsi's
                     Motion For Leave to File Motion for Order to Show Cause to Conduct
                     Evidentiary Hearing..." 47 48 were entered on this docket because counsel
                     designated each for purposes of the court's electronic filing system as an
                     "Amicus Curiae Appearance." The would−be movant is not a party to this
                     action, and the Federal Rules of Criminal Procedure do not permit intervention
                     in a criminal case, so there is no legal basis to grant him permission to file his
                     motion. The fact that the Court previously granted the movant leave to file a
                     submission as an amicus curiae with respect to a discrete legal issue then
                     pending before the Court did not operate to designate the movant as an amicus
                     curiae for all purposes thereafter, nor did it invite the movant to inform the
                     Court of facts that he wished to bring to the Court's attention on an ongoing
                     basis. Any legitimate reports alleging threats or tampering with witnesses, or
                     violations by the defendant of the order that he not contact the movant, should
                     be made promptly to the prosecution or appropriate law enforcement
                     authorities; the Court's docket is not the appropriate vehicle to bring matters to
                     their attention. The Court also notes that the fact that it granted leave to file the
                     amicus brief did not transform counsel for the movant into a "filer" or counsel
                     for a party with docketing privileges in this case; indeed, counsel seems to be
                     aware of that restriction since he managed to docket the pleadings only by
                     falsely designating them in the ECF system as entries of his appearance. Since
                     the pleadings were entered on the docket because counsel misrepresented the
                     nature of the filings, it is hereby ORDERED that they be stricken from the
                     record. The motion would not have been granted in any event for the reasons
                     set forth above. Finally, the Court observes that while there may be individuals
                     with an interest in this matter, a criminal proceeding is not a free for all.
                     Therefore, it is FURTHER ORDERED that that any person, including this
                     movant, who seeks leave to file a pleading in this case as an amicus curiae
                     must file a motion for leave to file the pleading in advance, setting out the
                     information that would be required under Local Civil Rule 7(o), and that the
                     proposed pleading may not be filed unless and until permission has been
                     granted. This means that the specific information sought to be placed on the
                     public record may not be incorporated in the motion requesting permission to
                     file it. Signed by Judge Amy Berman Jackson on 2/28/19. (DMK) (Entered:
                     02/28/2019)
03/01/2019   50      NOTICE of Anticipated Trial Length by USA as to ROGER JASON STONE,
                     JR (Marando, Michael) (Entered: 03/01/2019)


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03/01/2019   51      SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as
                     to ROGER JASON STONE, JR. (This document is SEALED and only
                     available to authorized persons.) (Attachments: # 1 Exhibit Motion for
                     clarification, # 2 Exhibit Book introduction, # 3 Text of Proposed Order to
                     clarify, # 4 Text of Proposed Order to Seal)(Buschel, Robert) (Entered:
                     03/01/2019)
03/01/2019           MINUTE ORDER granting in part 51 defendant's Sealed Motion for Leave to
                     File Document Under Seal as to ROGER JASON STONE JR. (1). The Clerk
                     of Court is directed to file UNDER SEAL Attachment 1 [51−1], defendant's
                     motion to clarify, and Attachment 2 [51−2], the exhibit to the motion to
                     clarify. The Clerk of Court is also directed to unseal the motion for leave to
                     file under seal itself 51 . It is FURTHER ORDERED that defendant shall file
                     on the public docket a redacted version of the motion to clarify (Attachment
                     1), redacting any reference to the contents of the exhibit, but not file on the
                     public docket the exhibit (Attachment 2). It is FURTHER ORDERED that
                     defendant shall file an additional submission by March 4, 2019 identifying the
                     specific date of the "imminent general rel[e]ase" of the book referred to on
                     page 2 of the motion and explaining why this matter −− which was known to
                     the defendant −− was not brought to the Court's attention in connection with
                     defendant's February 8, 2019 response 28 concerning the entry of an order
                     under Local Criminal Rule 57.7(b) and (c), or at any point during the February
                     21, 2019 hearing on the February 19 order to show cause, particularly given
                     counsel's suggestion that an appropriate order should provide: "[H]e should
                     not be talking about this Court. He should not be talking about the special
                     prosecutor.... There are a lot of reasons why somebody may feel like they
                     should be talking about things like that. But you and I know, as officers of the
                     court,...this is not appropriate. And that, if we're going to have an order, that's
                     what I ask the Court to do." Tr. of Feb. 21, 2019 Hr'g 43 at 41−42; see also id.
                     at 42. ("What I'm saying is if Your Honor is asking me to craft an order, that
                     that is what the order should say: This Court should not be criticized by Mr.
                     Stone. The government should not be impugned by Mr. Stone. The integrity of
                     this case should not be impugned by Mr. Stone....[T]hat is the kind of nature of
                     an order that I would suggest the Court should craft...."). Signed by Judge
                     Amy Berman Jackson on 3/1/19. (DMK) (Entered: 03/01/2019)
03/01/2019           Set/Reset Deadlines as to ROGER JASON STONE, JR: Defendant's
                     additional submission pursuant to the Court's 3/1/2019 Minute Order is due by
                     3/4/2019. (jth) (Entered: 03/01/2019)
03/04/2019   53      MOTION to Clarify Feb. 21 Minute Order, as applied to portion of book
                     (redacted) by ROGER JASON STONE, JR. (Buschel, Robert) (Entered:
                     03/04/2019)
03/04/2019   54      NOTICE Regarding Statements by the Defendant by USA as to ROGER
                     JASON STONE, JR (Marando, Michael) (Entered: 03/04/2019)
03/04/2019   55      RESPONSE TO ORDER OF THE COURT by ROGER JASON STONE, JR
                     re Order on Sealed Motion for Leave to File Document Under Seal,,,,,,,,
                     (Attachments: # 1 Declaration redacted)(Buschel, Robert) (Entered:
                     03/04/2019)
03/05/2019   56      ORDER denying Motion to Clarify 52 (Sealed)/ 53 (Redacted) as to ROGER
                     J. STONE JR. for the reasons stated in the Order. It is FURTHER ORDERED
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                     that by March 11, 2019 defendant must file a status report detailing his efforts
                     to come into compliance with the Court's rulings and supplement the record
                     with the information as set forth in the order. See Order for details. Signed by
                     Judge Amy Berman Jackson on 3/5/19. (DMK) (Entered: 03/05/2019)
03/05/2019   57      SEALED MOTION for Leave to File Sealed Exhibits filed by USA as to
                     ROGER JASON STONE, JR.(This document is SEALED and only available
                     to authorized persons.) (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                     C, # 4 Text of Proposed Order)(zvt) (Entered: 03/06/2019)
03/06/2019           Set/Reset Deadline as to ROGER JASON STONE, JR: Defendant's Status
                     Report is due by 3/11/2019. (jth) (Entered: 03/06/2019)
03/07/2019           MINUTE ORDER granting in part and denying in part 57 Government's
                     Sealed Motion for Leave to File Sealed Exhibits as to ROGER J. STONE JR.
                     The Clerk of Court is directed to file UNDER SEAL attachments 1−3 to the
                     motion, [57−1]−[57−3], which are Exhibits A−C to 54 Government's Notice
                     Regarding Statements by the Defendant. Given the presumption against sealed
                     proceedings that applies in this Circuit and with LCrR 49(f)(6), and finding no
                     basis to seal the motion for leave to file under seal, the Clerk of Court is also
                     directed to unseal 57 the motion itself. Signed by Judge Amy Berman Jackson
                     on 3/7/19. (DMK) (Entered: 03/07/2019)
03/07/2019   59      LEAVE TO FILE DENIED− Motion for Leave to File a Question(s) and a
                     Request for the Court Concerning my Appeal as to ROGER JASON STONE,
                     JR. "Leave to file denied" by Judge Amy B. Jackson on 03/07/2019. This
                     document is unavailable as the Court denied its filing. Signed by Judge Amy
                     Berman Jackson on 03/07/2019. (zvt) (Entered: 03/07/2019)
03/07/2019   60      RESPONSE TO ORDER OF THE COURT RESPONSE TO FEBRUARY 27,
                     2019 ORDER OF THE COURT by ROGER JASON STONE, JR re Order,,
                     (Buschel, Robert) Modified event title on 3/8/2019 (znmw). (Entered:
                     03/07/2019)
03/11/2019   61      RESPONSE TO ORDER OF THE COURT by ROGER JASON STONE, JR
                     re 56 Order on Sealed Motion,, Order on Motion to Clarify,, Set/Reset
                     Deadlines, (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                     Exhibit)(Buschel, Robert) (Entered: 03/11/2019)
03/12/2019   63      MOTION for Leave to File Amicus Brief as to ROGER JASON STONE, JR.
                     "Docket as Motion for Leave to File Amicus Brief" by Judge Amy B. Jackson
                     on March 12, 2019. (Attachment: # 1 Exhibit A)(zvt) (Entered: 03/14/2019)
03/14/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Status
                     Conference as to ROGER JASON STONE, JR. held on 3/14/2019. The Court
                     makes a finding that it is in the Interests of Justice that the time between
                     3/14/2019 and 4/30/2019 shall be excluded from the Speedy Trial Act
                     calculation (START XT). Another Status Conference is set for 4/30/2019 at
                     11:00 AM in Courtroom 3 before Judge Amy Berman Jackson. Oral Motion
                     by Counsel for defendant to be admitted Pro Hac Vice in the Media Coalition
                     Miscellaneous matter before this Court, case no. 19−mc−29 (ABJ) was
                     HEARD and GRANTED. The following motions schedule shall apply:
                     Dispositive Motions are due by 4/12/2019; Oppositions are due by 5/3/2019;
                     Any Replies are due by 5/17/2019; Motions to Suppress are due by 5/10/2019;
                     Oppositions are due by 5/31/2019; Any Replies are due by 6/14/2019. The
                                                                                                         21
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                     following Trial schedule shall apply: Jury Trial is set for 11/5/2019 at 9:30
                     AM; The Pretrial Conference is set for 9/17/2019 at 9:30 AM; and the Joint
                     Pretrial Statement is due by 8/30/2019. A further order will be issued detailing
                     what is to be included in the Joint Pretrial Statement. Unless otherwise notified
                     all proceedings will be heard in Courtroom 3 before Judge Amy Berman
                     Jackson. Bond Status of Defendant: Defendant Remains on Personal
                     Recognizance Bond; Court Reporter: Janice Dickman; Defense Attorneys:
                     Robert C. Buschel, Grant J. Smith and L. Peter Farkas; US Attorneys: Jeannie
                     S. Rhee, Jonathan Ian Kravis, Michael Marando and Aaron Jon Zelinsky;
                     Pretrial Officer: Christine Schuck; (jth) (Entered: 03/14/2019)
03/14/2019   64      AMENDED ORDER SETTING CONDITIONS OF RELEASE as to ROGER
                     JASON STONE, JR. Signed by Judge Amy Berman Jackson on 3/14/2019.
                     (Attachments: # 1 Appearance Bond) (jth) (Entered: 03/14/2019)
03/15/2019           MINUTE ORDER denying 63 Motion for Leave to File as to ROGER J.
                     STONE JR. (1). On March 5, 2019, the Court received a submission entitled
                     Amicus Brief Supporting Dismissal of Charges from an organization that is
                     not a party to these proceedings. The Court deemed the organization's request
                     that the case be dismissed to be a motion for leave to file an amicus brief, and
                     that motion will be denied. At the outset, the Court notes that there appears to
                     be no corollary in the Local Criminal Rules to Local Civil Rule 7(o)
                     concerning the filing of an amicus brief in a civil case. And even the civil rule
                     requires that an individual or entity that seeks to file an amicus brief must first
                     seek leave to do so, and that the movant must satisfy a number of requirements
                     that have not been satisfied here, such as explaining why the movant's position
                     is not adequately represented by a party. Further, the rule requires that the
                     would−be amicus must demonstrate why the matters asserted are relevant to
                     the case. Here, the proposed pleading invokes principles of standing and
                     federal jurisdiction to hear a civil case that have absolutely no bearing on a
                     criminal proceeding. For these reasons, what the Court has deemed to be a
                     motion for leave to file an amicus brief is hereby DENIED. The movant and
                     other interested onlookers should be aware that, as the Court has emphasized
                     on multiple occasions already, there is no rule of Federal Criminal Procedure
                     that permits non−parties to join the proceedings to put their two cents in, or to
                     intervene and file motions on the defendant's behalf. Leave to file any future
                     pleadings submitted by this movant will be denied. Signed by Judge Amy
                     Berman Jackson on 3/15/19. (DMK) (Entered: 03/15/2019)
03/15/2019   65      SCHEDULING ORDER as to ROGER J. STONE, JR. setting schedule for
                     pretrial motions and other pretrial submissions. A single Joint Pretrial
                     Statement shall be filed by August 30, 2019. The pretrial conference will be
                     held on September 17, 2019 at 9:30 a.m. in Courtroom 3. Jury trial will
                     commence on November 5, 2019 at 9:30 a.m. in Courtroom 3. See Scheduling
                     Order for details. Signed by Judge Amy Berman Jackson on 3/15/19. (DMK)
                     (Entered: 03/15/2019)
03/20/2019   66      TRANSCRIPT OF PROCEEDINGS in case as to ROGER JASON STONE,
                     JR before Judge Amy Berman Jackson held on March 14, 2019; Page
                     Numbers: 1−18. Date of Issuance: March 14, 2019. Court
                     Reporter/Transcriber Janice Dickman, Telephone number 202−354−3267,
                     Transcripts may be ordered by submitting the <a
                     href="http://www.dcd.uscourts.gov/node/110">Transcript Order

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                     Form</a><P></P>For the first 90 days after this filing date, the transcript may
                     be viewed at the courthouse at a public terminal or purchased from the court
                     reporter referenced above. After 90 days, the transcript may be accessed via
                     PACER. Other transcript formats, (multi−page, condensed, CD or ASCII) may
                     be purchased from the court reporter.<P>NOTICE RE REDACTION OF
                     TRANSCRIPTS: The parties have twenty−one days to file with the court and
                     the court reporter any request to redact personal identifiers from this transcript.
                     If no such requests are filed, the transcript will be made available to the public
                     via PACER without redaction after 90 days. The policy, which includes the
                     five personal identifiers specifically covered, is located on our website at
                     www.dcd.uscourts.gov.<P></P> Redaction Request due 4/10/2019. Redacted
                     Transcript Deadline set for 4/20/2019. Release of Transcript Restriction set for
                     6/18/2019.(Dickman, Janice) (Entered: 03/20/2019)
03/28/2019   67      MOTION to Travel by ROGER JASON STONE, JR. (Attachments: # 1 Text
                     of Proposed Order)(Buschel, Robert) (Entered: 03/28/2019)
03/29/2019   68      ORDER granting 67 Defendant's Unopposed Motion to Travel as to ROGER
                     J. STONE JR. (1). See Order for details. Signed by Judge Amy Berman
                     Jackson on 3/29/19. (DMK) (Entered: 03/29/2019)
04/12/2019   69      MOTION to Dismiss Case by ROGER JASON STONE, JR. (Attachments: # 1
                     Exhibit Congressional Research Service, Special Counsel investigations, # 2
                     Exhibit Remarks, Eric Holder, # 3 Exhibit Special Counsel appointment order,
                     # 4 Exhibit Statement of expenditures DOJ, # 5 Exhibit GAO Report, # 6
                     Exhibit Barr memo)(Buschel, Robert) (Entered: 04/12/2019)
04/12/2019   70      MOTION to Compel Mueller report by ROGER JASON STONE, JR.
                     (Attachments: # 1 Exhibit Special Counsel appointment order, # 2 Exhibit Barr
                     memo)(Buschel, Robert) (Entered: 04/12/2019)
04/12/2019   71      MOTION enjoin prosecution re 69 MOTION to Dismiss Case by ROGER
                     JASON STONE, JR. (Attachments: # 1 Exhibit Barr letter summary Mueller
                     report)(Buschel, Robert) (Entered: 04/12/2019)
04/12/2019   72      MOTION to Dismiss Case defects in the indictment by ROGER JASON
                     STONE, JR. (Attachments: # 1 Exhibit Barr memo, # 2 Exhibit Appointment
                     order special counsel, # 3 Exhibit HPSCI transmittal (non referral)
                     letter)(Buschel, Robert) (Entered: 04/12/2019)
04/12/2019   73      MOTION for Discovery based upon selective prosecution by ROGER JASON
                     STONE, JR. (Attachments: # 1 Exhibit Special Counsel apointment order, # 2
                     Exhibit Corsi draft information, # 3 Exhibit Corsi draft statement of
                     offense)(Buschel, Robert) (Entered: 04/12/2019)
04/12/2019   75      MOTION for Reconsideration re 27 Notice (Other), filed by ROGER JASON
                     STONE, JR. objection to related case assignment by ROGER JASON
                     STONE, JR. (Attachments: # 1 Exhibit Barr letter summary Mueller
                     report)(Buschel, Robert) (Entered: 04/12/2019)
04/12/2019   82      MOTION for Leave to File as to ROGER JASON STONE, JR. "Leave to file
                     this Motion for Leave to File is GRANTED; (the court will rule on the Motion
                     for Leave to File by Minute Order after it is docketed" by Judge Amy B.
                     Jackson on April 12, 2019. (Attachments: # 1 Attachment, # 2 Exhibit 1, # 3
                     Exhibit 2)(zvt) (Entered: 04/15/2019)

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04/15/2019   76      NOTICE of Proposed Order by ROGER JASON STONE, JR re 69 MOTION
                     to Dismiss Case (Buschel, Robert) (Entered: 04/15/2019)
04/15/2019   77      NOTICE of Proposed Order by ROGER JASON STONE, JR re 70 MOTION
                     to Compel Mueller report (Buschel, Robert) (Entered: 04/15/2019)
04/15/2019   78      NOTICE of Proposed Order by ROGER JASON STONE, JR re 71 MOTION
                     enjoin prosecution re 69 MOTION to Dismiss Case (Buschel, Robert)
                     (Entered: 04/15/2019)
04/15/2019   79      NOTICE of Proposed Order by ROGER JASON STONE, JR re 72 MOTION
                     to Dismiss Case defects in the indictment (Buschel, Robert) (Entered:
                     04/15/2019)
04/15/2019   80      NOTICE of Proposed Order by ROGER JASON STONE, JR re 73 MOTION
                     for Discovery based upon selective prosecution (Buschel, Robert) (Entered:
                     04/15/2019)
04/15/2019   81      NOTICE of Proposed Order by ROGER JASON STONE, JR re 75 MOTION
                     for Reconsideration re 27 Notice (Other), filed by ROGER JASON STONE,
                     JR. objection to related case assignment (Buschel, Robert) (Entered:
                     04/15/2019)
04/15/2019           MINUTE ORDER as to ROGER J. STONE, JR. It is ORDERED that the
                     government may consolidate any opposition to 71 defendant's motion to enjoin
                     the prosecution because the investigation violated the Appropriations Clause
                     with its response to 69 defendant's motion to dismiss the prosecution based on
                     the Appropriations Clause, among other grounds. It is FURTHER ORDERED
                     that the defendant must specify by April 18, 2019 whether 73 his motion for
                     discovery related to selective prosecution seeks the production of any
                     information other than the Special Counsel's report sought in 70 his motion to
                     compel production of the Special Counsel's report on the grounds that it bears
                     on issues including selective prosecution. If what defendant is seeking in Dkt.
                     73 is the report, the government may consolidate its responses to Dkt. 70 and
                     Dkt. 73 in a single pleading. If defendant is seeking to discover additional
                     records or information, he must specify the discovery he is seeking to
                     undertake when he responds to this order on April 18. Signed by Judge Amy
                     Berman Jackson on 4/15/19. (DMK) (Entered: 04/15/2019)
04/15/2019           MINUTE ORDER denying 82 Motion for Leave to File. Signed by Judge
                     Amy Berman Jackson on 4/15/19. (DMK) (Entered: 04/15/2019)
04/16/2019   83      NOTICE of Withdrawal of Appearance by USA as to ROGER JASON
                     STONE, JR (Rhee, Jeannie) (Entered: 04/16/2019)
04/16/2019   84      NOTICE of Withdrawal of Appearance by USA as to ROGER JASON
                     STONE, JR (Atkinson, Lawrence) (Entered: 04/16/2019)
04/17/2019   85      NOTICE Regarding Report of the Special Counsel by USA as to ROGER
                     JASON STONE, JR (Kravis, Jonathan) (Entered: 04/17/2019)
04/18/2019   86      RESPONSE by ROGER JASON STONE, JR re Order,,,, (Buschel, Robert)
                     (Entered: 04/18/2019)
04/20/2019           Set/Reset Hearings as to ROGER JASON STONE, JR: Jury Trial set for
                     11/5/2019 at 9:30 AM. Motions Hearings are set for 5/30/2019 and 6/21/2019

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                     at 10:00 AM. Unless otherwise notified all hearings will take place in
                     Courtroom 3 before Judge Amy Berman Jackson. (jth) (Entered: 04/20/2019)
04/20/2019           Set/Reset Hearings as to ROGER JASON STONE, JR: Jury Trial set for
                     11/5/2019 at 9:30 AM in Courtroom 3 before Judge Amy Berman Jackson.
                     (jth) (Entered: 04/20/2019)
04/22/2019   87      MOTION to Travel by ROGER JASON STONE, JR. (Attachments: # 1 Text
                     of Proposed Order)(Buschel, Robert) (Entered: 04/22/2019)
04/24/2019   88      ORDER granting 87 Defendant's Unopposed Motion to Travel as to ROGER
                     J. STONE JR. (1). See Order for details. Signed by Judge Amy Berman
                     Jackson on 4/24/19. (DMK) (Entered: 04/24/2019)
04/30/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Status
                     Conference as to ROGER J. STONE, JR. held on 4/30/2019. Bond Status of
                     Defendant: Defendant Remains on Personal Recognizance Bond; Court
                     Reporter: Janice Dickman; Defense Attorneys: Bruce S. Rogow, Robert C.
                     Buschel and Grant J. Smith; US Attorneys: Jonathan Ian Kravis, Michael John
                     Marando, Aaron Jon Zelinsky and Adam Jed. (jth) (Entered: 04/30/2019)
04/30/2019   90      NOTICE OF ATTORNEY APPEARANCE Adam C. Jed appearing for USA.
                     (Jed, Adam) (Entered: 04/30/2019)
04/30/2019   91      NOTICE of Withdrawal of Appearance by USA as to ROGER JASON
                     STONE, JR (Goldstein, Andrew) (Entered: 04/30/2019)
05/01/2019   92      TRANSCRIPT OF PROCEEDINGS in case as to ROGER JASON STONE,
                     JR before Judge Amy Berman Jackson held on April 30, 2019; Page Numbers:
                     1−14. Date of Issuance: May 1, 2019. Court Reporter/Transcriber Janice
                     Dickman, Telephone number 202−354−3267, Transcripts may be ordered by
                     submitting the <a href="http://www.dcd.uscourts.gov/node/110">Transcript
                     Order Form</a><P></P>For the first 90 days after this filing date, the
                     transcript may be viewed at the courthouse at a public terminal or purchased
                     from the court reporter referenced above. After 90 days, the transcript may be
                     accessed via PACER. Other transcript formats, (multi−page, condensed, CD or
                     ASCII) may be purchased from the court reporter.<P>NOTICE RE
                     REDACTION OF TRANSCRIPTS: The parties have twenty−one days to
                     file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will
                     be made available to the public via PACER without redaction after 90 days.
                     The policy, which includes the five personal identifiers specifically covered, is
                     located on our website at www.dcd.uscourts.gov.<P></P> Redaction Request
                     due 5/22/2019. Redacted Transcript Deadline set for 6/1/2019. Release of
                     Transcript Restriction set for 7/30/2019.(Dickman, Janice) (Entered:
                     05/01/2019)
05/03/2019   93      Memorandum in Opposition by USA as to ROGER JASON STONE, JR re 72
                     MOTION to Dismiss Case defects in the indictment (Attachments: # 1 Exhibit
                     A)(Kravis, Jonathan) (Entered: 05/03/2019)
05/03/2019   94      Memorandum in Opposition by USA as to ROGER JASON STONE, JR re 70
                     MOTION to Compel Mueller report (Attachments: # 1 Exhibit A)(Kravis,
                     Jonathan) (Entered: 05/03/2019)


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05/03/2019    95     Memorandum in Opposition by USA as to ROGER JASON STONE, JR re 73
                     MOTION for Discovery based upon selective prosecution (Kravis, Jonathan)
                     (Entered: 05/03/2019)
05/03/2019    96     Memorandum in Opposition by USA as to ROGER JASON STONE, JR re 75
                     MOTION for Reconsideration re 27 Notice (Other), filed by ROGER JASON
                     STONE, JR. objection to related case assignment (Kravis, Jonathan) (Entered:
                     05/03/2019)
05/03/2019    97     Memorandum in Opposition by USA as to ROGER JASON STONE, JR re 69
                     MOTION to Dismiss Case , 71 MOTION enjoin prosecution re 69 MOTION
                     to Dismiss Case (Kravis, Jonathan) (Entered: 05/03/2019)
05/06/2019    98     MOTION for Leave to File Amended Opposition to Defendant's Motion to
                     Dismiss re 97 Memorandum in Opposition by USA as to ROGER JASON
                     STONE, JR. (Attachments: # 1 Exhibit Proposed Amended Filing, # 2 Text of
                     Proposed Order)(Kravis, Jonathan) Modified to add hyperlink on 5/7/2019
                     (zvt). (Entered: 05/06/2019)
05/07/2019           MINUTE ORDER granting 98 Government's Motion for Leave to File
                     Amended Opposition as to ROGER JASON STONE JR. (1). The Clerk of
                     Court is directed to file on the docket [98−1] Government's Corrected
                     Response in Opposition to Defendant's Motion to Dismiss. Signed by Judge
                     Amy Berman Jackson on 5/7/19. (DMK) (Entered: 05/07/2019)
05/07/2019    99     Corrected Memorandum in Opposition by USA as to ROGER JASON
                     STONE, JR. re 69 MOTION to Dismiss Case . (zvt) (Entered: 05/07/2019)
05/09/2019           MINUTE ORDER as to ROGER JASON STONE, JR. In connection with the
                     Court's consideration of the defendant's motion 70 to compel production of the
                     Special Counsel's report and the opposition thereto 94 , and in light of the
                     statements of counsel at the status hearing held in this case on April 30, 2019,
                     the government is hereby ORDERED to submit unredacted versions of those
                     portions of the report that relate to defendant Stone and/or "the dissemination
                     of hacked materials," including, but not limited to, pages 41−65 of Volume 1
                     of the Report, to the Court for in camera review by May 13, 2019, and to
                     docket a notice on that date indicating compliance with this order. Signed by
                     Judge Amy Berman Jackson on 5/9/19. (DMK) (Entered: 05/09/2019)
05/09/2019           Set/Reset Deadline as to ROGER JASON STONE, JR: The Government's in
                     camera review submission is due by 5/13/2019. (jth) (Entered: 05/09/2019)
05/10/2019   100     MOTION to Suppress by ROGER JASON STONE, JR. (Attachments: # 1
                     Declaration William Binney, # 2 Exhibit Binney CV, # 3 Declaration Peter
                     Clay, # 4 Exhibit Clay CV, # 5 Exhibit Computer Forensics: digital forensic
                     analysis methodology, DOJ, # 6 Text of Proposed Order)(Buschel, Robert)
                     (Entered: 05/10/2019)
05/10/2019   103     MOTION to Compel unredacted CrowdStrike reports by ROGER JASON
                     STONE, JR. (Attachments: # 1 Text of Proposed Order)(Buschel, Robert)
                     (Entered: 05/10/2019)
05/13/2019   105     NOTICE OF ATTORNEY APPEARANCE: Chandler Paige Routman
                     appearing for ROGER JASON STONE, JR (Routman, Chandler) (Entered:
                     05/13/2019)

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05/13/2019   106     NOTICE Regarding In Camera Submission by USA as to ROGER JASON
                     STONE, JR (Marando, Michael) (Entered: 05/13/2019)
05/14/2019           MINUTE ORDER as to ROGER J. STONE, JR. On May 10, 2019, defendant
                     filed a motion to suppress "all evidence as fruit of illegal search warrants
                     executed on specified dates and times." Def.'s Mot. to Suppress 100 at 1. The
                     motion does not specify which warrants defendant maintains were "illegal,"
                     but it notes that the "warrants and applications are filed under seal." The Court
                     notes that defendant's Search Warrant Exhibit, Dkt. 101 (sealed), purports to
                     be a list of the search warrants attached to the motion, but the list lacks exhibit
                     numbers, and the order of the items listed does not correspond to what was
                     actually provided. For instance, the first item on the list indicates that one of
                     the warrants included in the motion was a warrant for the search of defendant's
                     former home issued by the U.S. District Court for the Southern District of
                     Florida, but neither that warrant nor the application has been supplied to the
                     Court. Also, the Search Warrant Exhibit lists warrants issued by the U.S.
                     District Court for the District of Columbia on August 3, 2018 to three
                     recipients, but only two warrants issued on that date were submitted to the
                     Court (with one of them being filed twice). Finally, a search warrant issued by
                     U.S. District Court for the District of Columbia on August 8, 2018 was filed
                     with the Court but not listed on the Search Warrant Exhibit. Therefore, it is
                     ORDERED that the defendant must inform the Court by May 16, 2019 if the
                     search of defendant's former home and the August 3, 2018 warrant issued to
                     the third recipient were meant to be included in this motion, and if so, he must
                     provide the Court with copies of the warrants and applications. On the same
                     date, defendant must also provide the Court with a corrected version of the
                     Search Warrant Exhibit, listing the warrants covered by the motion and
                     assigning each an exhibit number in the numerical order it was filed on the
                     docket. Signed by Judge Amy Berman Jackson on 5/14/19. (DMK) (Entered:
                     05/14/2019)
05/16/2019           Set/Reset Deadlines as to ROGER J. STONE, JR: Defendant must inform the
                     Court by 5/16/2019 if the search of defendant's former home and the August 3,
                     2018 warrant issued to the third recipient were meant to be included in this
                     motion, and if so, he must provide the Court with copies of the warrants and
                     applications. On the same date, defendant must also provide the Court with a
                     corrected version of the Search Warrant Exhibit, listing the warrants covered
                     by the motion and assigning each an exhibit number in the numerical order it
                     was filed on the docket. (jth) (Entered: 05/16/2019)
05/16/2019   107     Unopposed MOTION for Extension of Time to File Response/Reply by
                     ROGER JASON STONE, JR. (Attachments: # 1 Text of Proposed
                     Order)(Buschel, Robert) (Entered: 05/16/2019)
05/16/2019   108     Unopposed MOTION to Travel by ROGER JASON STONE, JR.
                     (Attachments: # 1 Text of Proposed Order)(Buschel, Robert) (Entered:
                     05/16/2019)
05/17/2019           MINUTE ORDER granting 107 defendant's unopposed motion for extension
                     of time as to ROGER J. STONE JR. (1). It is ORDERED that defendant's
                     replies are due by 12:00 noon on May 21, 2019. The parties are advised that
                     any future motions for extensions of time shall be filed at least two business
                     days before the date to be extended. Signed by Judge Amy Berman Jackson on

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                     5/17/19. (DMK) (Entered: 05/17/2019)
05/21/2019   110     REPLY TO OPPOSITION to Motion by ROGER JASON STONE, JR re 69
                     MOTION to Dismiss Case and Doc. 99 filed under seal by Government
                     (Routman, Chandler) (Entered: 05/21/2019)
05/21/2019   111     REPLY TO OPPOSITION to Motion by ROGER JASON STONE, JR re 70
                     MOTION to Compel Mueller report (Routman, Chandler) (Entered:
                     05/21/2019)
05/21/2019   112     REPLY TO OPPOSITION to Motion by ROGER JASON STONE, JR re 72
                     MOTION to Dismiss Case defects in the indictment (Routman, Chandler)
                     (Entered: 05/21/2019)
05/21/2019   113     REPLY TO OPPOSITION to Motion by ROGER JASON STONE, JR re 73
                     MOTION for Discovery based upon selective prosecution (Routman,
                     Chandler) (Entered: 05/21/2019)
05/22/2019   115     ORDER granting 108 Motion to Travel as to ROGER J. STONE JR. (1).
                     Defendant shall identify in any future motions for permission to travel the
                     cities or towns within each judicial district where he seeks to travel. See Order
                     for details. Signed by Judge Amy Berman Jackson on 5/22/19. (DMK)
                     (Entered: 05/22/2019)
05/22/2019   116     NOTICE Regarding Report of the Special Counsel by USA as to ROGER
                     JASON STONE, JR (Kravis, Jonathan) (Entered: 05/22/2019)
05/27/2019   117     NOTICE of Supplemental Authority by ROGER JASON STONE, JR re 69
                     MOTION to Dismiss Case , 110 Reply to opposition to Motion (Attachments:
                     # 1 Supplement Supplemental Authority)(Routman, Chandler) (Attachment 1
                     replaced on 5/28/2019) (zvt). Modified to remove double−headers on
                     5/28/2019 (zvt). (Entered: 05/27/2019)
05/28/2019   118     ORDER denying 75 Motion for Reconsideration as to ROGER J. STONE JR.
                     (1). See Order for details. Signed by Judge Amy Berman Jackson on 5/28/19.
                     (DMK) (Entered: 05/28/2019)
05/30/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson:
                     Motion Hearing as to ROGER J. STONE, JR. held on 5/30/2019 re: 69 Motion
                     to Dismiss Case; 70 Motion to Compel; 71 Motion to Enjoin Prosecution; 72
                     Motion to Dismiss (Defects in the Indictment) 73 Motion for Discovery (based
                     on selective prosecution). The Motions 69 70 71 72 73 were Heard and Taken
                     Under Advisement. Bond Status of Defendant: Defendant Remains on
                     Personal Recognizance Bond; Court Reporter: Janice Dickman; Defense
                     Attorneys: Bruce S. Rogow, Robert C. Buschel, Grant J. Smith, L. Peter
                     Farkas and Chandler Paige Routman; US Attorneys: Jonathan Ian Kravis,
                     Michael John Marando, Aaron Jon Zelinsky and Adam Jed. (jth) (Entered:
                     05/30/2019)
05/30/2019   120     NOTICE of Supplemental Exhibit by ROGER JASON STONE, JR re 72
                     MOTION to Dismiss Case defects in the indictment (Attachments: # 1 Exhibit
                     Exhibit 4 to Doc. 72)(Routman, Chandler) (Entered: 05/30/2019)
05/30/2019   124     LEAVE TO FILE DENIED− Motion for Leave to Proceed on Appeal in
                     Forma Pauperis as to ROGER JASON STONE, JR. "Leave to file DENIED"
                     by Judge Amy B. Jackson on 5/30/2019. This document is unavailable as the
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                     Court denied its filing. Signed by Judge Amy Berman Jackson on 05/30/2019.
                     (zvt) (Entered: 06/03/2019)
05/30/2019   125     LEAVE TO FILE DENIED− Notice as to ROGER JASON STONE, JR.
                     "Leave to file DENIED" by Judge Amy B. Jackson on 5/30/2019. This
                     document is unavailable as the Court denied its filing. Signed by Judge Amy
                     Berman Jackson on 05/30/2019. (zvt) (Entered: 06/03/2019)
05/30/2019   127     LEAVE TO FILE DENIED− Application to Proceed in Foram Pauperis as to
                     ROGER JASON STONE, JR. "This is not a civil case and the applicant is not
                     a party in it; Leave to file DENIED" by Judge Amy B. Jackson on 5/30/19.
                     This document is unavailable as the Court denied its filing. Signed by Judge
                     Amy Berman Jackson on 05/30/2019. (zvt) (Entered: 06/03/2019)
05/30/2019   128     LEAVE TO FILE DENIED− Notice as to ROGER JASON STONE, JR.
                     "Leave to file DENIED" by Judge Amy B. Jackson on 5/30/19. This document
                     is unavailable as the Court denied its filing. Signed by Judge Amy Berman
                     Jackson on 05/30/2019. (zvt) (Entered: 06/03/2019)
05/31/2019   121     TRANSCRIPT OF PROCEEDINGS in case as to ROGER JASON STONE,
                     JR before Judge Amy Berman Jackson held on May 30, 2019; Page Numbers:
                     1−107. Date of Issuance: May 31, 2019. Court Reporter: Janice Dickman,
                     Telephone number: 202−354−3267, Transcripts may be ordered by submitting
                     the <a href="http://www.dcd.uscourts.gov/node/110">Transcript Order
                     Form</a><P></P>For the first 90 days after this filing date, the transcript may
                     be viewed at the courthouse at a public terminal or purchased from the court
                     reporter referenced above. After 90 days, the transcript may be accessed via
                     PACER. Other transcript formats, (multi−page, condensed, CD or ASCII) may
                     be purchased from the court reporter.<P>NOTICE RE REDACTION OF
                     TRANSCRIPTS: The parties have twenty−one days to file with the court and
                     the court reporter any request to redact personal identifiers from this transcript.
                     If no such requests are filed, the transcript will be made available to the public
                     via PACER without redaction after 90 days. The policy, which includes the
                     five personal identifiers specifically covered, is located on our website at
                     www.dcd.uscourts.gov.<P></P> Redaction Request due 6/21/2019. Redacted
                     Transcript Deadline set for 7/1/2019. Release of Transcript Restriction set for
                     8/29/2019.(Dickman, Janice) (Entered: 05/31/2019)
05/31/2019   122     Memorandum in Opposition by USA as to ROGER JASON STONE, JR re
                     100 MOTION to Suppress (Zelinsky, Aaron) (Entered: 05/31/2019)
05/31/2019   123     Memorandum in Opposition by USA as to ROGER JASON STONE, JR re
                     103 MOTION to Compel unredacted CrowdStrike reports (Zelinsky, Aaron)
                     (Entered: 05/31/2019)
06/03/2019           MINUTE ORDER as to ROGER J. STONE, JR.The Court has defendant's
                     motion for discovery based on selective prosecution 73 and defendant's motion
                     for production of the unredacted Report of the Special Counsel 70 under
                     advisement, and in connection with the Court's consideration of the motion to
                     compel, the government submitted portions of the unredacted report to the
                     Court for its in camera review. See Notice re In Camera Submissions 106 .
                     Having reviewed all of the redactions, the Court seeks further information with
                     respect to one category of redactions only: the material designated with blue
                     boxes that was withheld on the basis that it could affect ongoing law

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                     enforcement matters, specifically, the instant case. The government is
                     therefore ordered to submit a supplemental in camera submission by June 7,
                     2019 addressing whether releasing to the defense certain material to be
                     identified in a sealed order would cause any harm to the prosecution or any
                     other harm. The government need not address any of the redactions made on
                     the basis of personal privacy or reputational harm, Federal Rule of Criminal
                     Procedure 6(e), or national security or law enforcement concerns. And it need
                     not repeat the points and authorities it has already supplied in support of its
                     legal argument that the defendant is not entitled to the material, which the
                     Court will consider, along with the points and authorities submitted by the
                     defense, when it rules on the motion. SO ORDERED. Signed by Judge Amy
                     Berman Jackson on 6/3/19. (DMK) (Entered: 06/03/2019)
06/03/2019           Set/Reset Deadlines as to ROGER JASON STONE, JR: Government's
                     supplemental in camera submission due by June 7, 2019. (tg) (Entered:
                     06/03/2019)
06/03/2019   131     LEAVE TO FILE DENIED− Notice as to ROGER JASON STONE, JR. This
                     document is unavailable as the Court denied its filing. "Leave to file
                     DENIED" by Judge Amy B. Jackson on 6/3/2019. Signed by Judge Amy
                     Berman Jackson on 06/03/2019. (zvt) (Entered: 06/07/2019)
06/06/2019   129     Joint MOTION to Continue Hearing Scheduled for July 21, 2019 by USA as
                     to ROGER JASON STONE, JR. (Marando, Michael) (Entered: 06/06/2019)
06/06/2019           Set/Reset Hearings as to ROGER J. STONE, JR: Motion Hearing set for
                     6/21/2019 at 10:00 AM in Courtroom 3 before Judge Amy Berman Jackson.
                     (jth) (Entered: 06/06/2019)
06/06/2019           MINUTE ORDER granting 129 Joint Motion to Continue Hearing as to
                     ROGER J. STONE, JR. It is ORDERED that the hearing currently set for June
                     21, 2019 is reset to July 16, 2019 at 10:00 AM in Courtroom 3. Signed by
                     Judge Amy Berman Jackson on 6/6/19. (DMK) (Entered: 06/06/2019)
06/06/2019           Set/Reset Hearings as to ROGER J. STONE, JR: The Motions Hearing
                     currently set for June 21, 2019 is reset to July 16, 2019 at 10:00 AM in
                     Courtroom 3 before Judge Amy Berman Jackson. (jth) (Entered: 06/06/2019)
06/07/2019   130     NOTICE Regarding In Camera Submission by USA as to ROGER JASON
                     STONE, JR (Marando, Michael) (Entered: 06/07/2019)
06/14/2019   132     NOTICE Regarding Special Counsel's Report by USA as to ROGER JASON
                     STONE, JR (Kravis, Jonathan) (Entered: 06/14/2019)
06/14/2019   133     REPLY TO OPPOSITION to Motion by ROGER JASON STONE, JR re 100
                     MOTION to Suppress (Routman, Chandler) (Entered: 06/14/2019)
06/14/2019   134     REPLY TO OPPOSITION to Motion by ROGER JASON STONE, JR re 103
                     MOTION to Compel unredacted CrowdStrike reports (Routman, Chandler)
                     (Entered: 06/14/2019)
06/20/2019   135     MOTION for Leave to File Sur−Reply by USA as to ROGER JASON
                     STONE, JR. (Attachments: # 1 Text of Proposed Order, # 2 Proposed
                     Sur−Reply)(Zelinsky, Aaron) (Entered: 06/20/2019)
06/20/2019   136

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                     MOTION for Order to Show Cause by USA as to ROGER JASON STONE,
                     JR. (Attachments: # 1 Text of Proposed Order, # 2 Ex. 1, # 3 Ex. 2, # 4 Ex. 3,
                     # 5 Ex. 4, # 6 Ex. 5, # 7 Ex. 6, # 8 Ex. 7, # 9 Ex. 8)(Zelinsky, Aaron) (Entered:
                     06/20/2019)
06/20/2019           MINUTE ORDER granting 135 Motion for Leave to File Sur−Reply as to
                     ROGER J. STONE JR. (1). The Clerk of Court is directed to file [135−2] the
                     Government's Sur−Reply to Defendant's Motion to Suppress on the docket.
                     Signed by Judge Amy Berman Jackson on 6/20/19. (DMK) (Entered:
                     06/20/2019)
06/20/2019   137     SUR−REPLY by USA as to ROGER JASON STONE, JR re 100 MOTION to
                     Suppress. (hsj) (Entered: 06/21/2019)
06/20/2019   138     MOTION for Hearing by USA as to ROGER JASON STONE, JR. (See
                     Docket Entry 136 to View Document). (hsj) (Entered: 06/21/2019)
06/21/2019           MINUTE ORDER as to ROGER J. STONE, JR. It is ORDERED that
                     defendant may file by June 27, 2019 any response to the government's motion
                     136 and must show cause in writing by that date why the Court should not find
                     that the defendant has violated the Court's order dated February 21, 2019 and
                     his conditions of release. Signed by Judge Amy Berman Jackson on 6/21/19.
                     (DMK) (Entered: 06/21/2019)
06/21/2019           Set/Reset Deadlines as to ROGER JASON STONE, JR: Defendant may file
                     any response to the government's motion 136 by 6/27/2019 and must show
                     cause in writing by that date why the Court should not find that the defendant
                     has violated the Court's order dated February 21, 2019 and his conditions of
                     release. (jth) (Entered: 06/21/2019)
06/26/2019           MINUTE ORDER granting 139 Government's Sealed Motion for Leave to
                     File Under Seal as to ROGER J. STONE JR. (1). The Court grants the
                     government's motion to file under seal but notes it may revisit the need for the
                     seal after it has reviewed the materials more closely. The Clerk of Court is
                     directed to file under seal [139−1] Government's Notice of Intention to
                     Introduce Evidence Under Federal Rule of Evidence 404(b). Signed by Judge
                     Amy Berman Jackson on 6/26/19. (DMK) (Entered: 06/26/2019)
06/27/2019   141     RESPONSE by ROGER JASON STONE, JR re 136 MOTION for Order to
                     Show Cause (Routman, Chandler) (Entered: 06/27/2019)
07/08/2019   142     MOTION to Travel by ROGER JASON STONE, JR. (Attachments: # 1 Text
                     of Proposed Order)(Routman, Chandler) (Entered: 07/08/2019)
07/09/2019           MINUTE ORDER granting 143 Sealed Motion for Leave to File Document
                     Under Seal as to ROGER J. STONE JR. (1). The Court grants defendant's
                     motion to file under seal but notes it may revisit the need for the seal after it
                     has reviewed the materials more closely. The Clerk of Court is directed to file
                     under seal [143−1] Defendant's Response to Government's Notice of Intention
                     to Introduce Evidence Under Federal Rule of Evidence 404(b), [143−2]
                     Exhibit A to the response, and [143−3] Exhibit B to the response. Signed by
                     Judge Amy Berman Jackson on 7/9/19. (DMK) (Entered: 07/09/2019)
07/09/2019   146     MANDATE of USCA as to ROGER JASON STONE, JR re 33 Notice of
                     Appeal − Interlocutory. In accordance with the order of 4/19/2019 this case be

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                     dismissed for lack of prosecution. USCA Case Number 19−3012.
                     (Attachments: # 1 USCA Order filed on April 19, 2019)(zef, ) (Entered:
                     07/12/2019)
07/16/2019           MINUTE ORDER as to ROGER J. STONE, JR. After receiving the
                     government's motion for an order to show cause 136 , the Court ordered that
                     the defendant may file "any response to the government's motion and must
                     show in writing...why the Court should not find that the defendant has violated
                     the Court's order dated February 21, 2019 and his conditions of release."
                     Minute Order dated June 21, 2019. Based on its consideration of the facts and
                     arguments set forth in the motion 136 , the defendant's response 141 , and the
                     evidence and arguments presented at the hearing held on this date, and for the
                     reasons set forth on the record at the hearing, the Court concluded that the
                     defendant has violated its orders. It deferred taking any action pursuant to 18
                     U.S.C § 401 and Federal Rule of Criminal Procedure 42 to issue an order to
                     show cause and initiate proceedings to punish the defendant for any violation
                     of the media communication order. However, the Court found it necessary to
                     modify defendant's conditions of release to ensure his future compliance with
                     those conditions. Therefore, it is ORDERED that the conditions of defendant's
                     pretrial release 21 , the February 15, 2019 media communications order 36 ,
                     and the order of February 21, 2019 are hereby modified to add the following
                     additional condition: during the pendency of this case, defendant may not post
                     or communicate on Instagram, Twitter, or Facebook in any way on any
                     subject, including but not limited to forwarding, liking, re−posting, or
                     re−tweeting anyone else's statements, articles, posts, or tweets. All previous
                     restrictions on statements made to the media, in public settings, and on other
                     social media about the Special Counsel's investigation, this case, or any of the
                     participants in the investigation or the case, remain in force as set forth in the
                     Court's orders of February 15, 2019 36 and February 21, 2019 and the
                     conditions of release, and the defendant remains bound by all other conditions
                     of release, including the prohibition on contacting witnesses. SO ORDERED.
                     Signed by Judge Amy Berman Jackson on 7/16/19. Signed by Judge Amy
                     Berman Jackson on 7/16/19. (DMK) (Entered: 07/16/2019)
07/16/2019   148     ORDER granting 142 Motion to Travel as to ROGER J. STONE JR. (1). See
                     Order for details. Signed by Judge Amy Berman Jackson on 7/16/19. (DMK)
                     (Entered: 07/16/2019)
07/16/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson:
                     Motion Hearing as to ROGER J. STONE, JR. held on 7/16/2019 re:
                     Defendant's 100 MOTION to Suppress, Defendant's 103 MOTION to Compel,
                     and the Government's 136 MOTION for an Order to Show Cause. The 100
                     Motion to Suppress and the 103 Motion to Compel were Heard and Taken
                     Under Advisement. The Court has issued a separate order regarding the
                     Government's 136 MOTION for Order to Show Cause. Bond Status of
                     Defendant: Defendant Remains on Personal Recognizance Bond; Court
                     Reporter: Janice Dickman; Defense Attorneys: L. Peter Farkas, Robert C.
                     Buschel, Bruce S. Rogow and Grant J. Smith; US Attorney: Michael Marando,
                     Jonathan Kravis, Aaron Zelinsky and Adam Jed. (jth) (Entered: 07/16/2019)
07/16/2019   165     EXHIBIT LIST AND EXHIBITS as to Defendant ROGER J. STONE, JR.
                     used by the Court at the hearing held on July 16, 2019. (jth) (Entered:
                     08/06/2019)

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07/17/2019   149     ORDER as to ROGER J. STONE, JR. See Order for details. Signed by Judge
                     Amy Berman Jackson on 7/17/19. (DMK) (Entered: 07/17/2019)
07/23/2019   150     MOTION to Travel by ROGER JASON STONE, JR. (Attachments: # 1 Text
                     of Proposed Order)(Routman, Chandler) (Entered: 07/23/2019)
07/25/2019   151     ORDER granting 150 Motion to Travel as to ROGER J. STONE JR. (1).
                     Signed by Judge Amy Berman Jackson on 7/25/19. (DMK) (Entered:
                     07/25/2019)
07/26/2019   153     MOTION in Limine To Exclude Certain Evidence and Argument Regarding
                     Russian Election Interference by USA as to ROGER JASON STONE, JR.
                     (Attachments: # 1 Text of Proposed Order)(Kravis, Jonathan) (Entered:
                     07/26/2019)
07/26/2019   154     MOTION in Limine To Exclude Evidence and Argument Regarding the
                     Government's Investigation and Prosecution of This and Related Cases by
                     USA as to ROGER JASON STONE, JR. (Attachments: # 1 Text of Proposed
                     Order)(Kravis, Jonathan) (Entered: 07/26/2019)
07/26/2019   155     MOTION in Limine To Admit the Upload or Creation Date for Various
                     Videos by USA as to ROGER JASON STONE, JR. (Attachments: # 1 Exhibit
                     A, # 2 Exhibit B, # 3 Text of Proposed Order)(Kravis, Jonathan) (Entered:
                     07/26/2019)
07/26/2019   156     MOTION in Limine To Admit Movie Clip by USA as to ROGER JASON
                     STONE, JR. (Attachments: # 1 Text of Proposed Order)(Kravis, Jonathan)
                     (Entered: 07/26/2019)
07/26/2019   157     MOTION for Extension of Time to File Motion in Limine to Admit Transcript
                     by USA as to ROGER JASON STONE, JR. (Attachments: # 1 Text of
                     Proposed Order)(Kravis, Jonathan) (Entered: 07/26/2019)
07/26/2019   158     MOTION in Limine to admit evidence by ROGER JASON STONE, JR.
                     (Attachments: # 1 Text of Proposed Order)(Buschel, Robert) (Entered:
                     07/26/2019)
07/26/2019           MINUTE ORDER granting as to ROGER J. STONE JR. 152 Government's
                     Sealed Motion for Leave to File under Seal. The Clerk of Court is directed to
                     file under seal [152−2] the Government's Motion in Limine to Admit Two
                     Newspaper Articles as Part of the Government's Rule 404(b) Evidence,
                     [152−3] Exhibit A, and [152−4] Exhibit B. Signed by Judge Amy Berman
                     Jackson on 7/26/19. (DMK) (Entered: 07/26/2019)
07/29/2019           MINUTE ORDER granting 157 Government's Unopposed Motion for
                     Extension of Time to File as to ROGER J. STONE JR. (1). It is ORDERED
                     that the government may file a motion in limine to admit the transcript of the
                     defendant's testimony before the House Permanent Select Committee on
                     Intelligence on or before August 23, 2019. It is FURTHER ORDERED that
                     the opposition is due by September 6, 2019 and the reply is due by September
                     13, 2019. Signed by Judge Amy Berman Jackson on 7/29/19. (DMK)
                     (Entered: 07/29/2019)
07/29/2019           Set/Reset Deadlines as to ROGER J. STONE, JR: The government may file a
                     motion in limine to admit the transcript of the defendant's testimony before the
                     House Permanent Select Committee on Intelligence on or before 8/23/2019. It
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                     is FURTHER ORDERED that the opposition is due by 9/6/2019 and the reply
                     is due by 9/13/2019. (jth) (Entered: 07/30/2019)
07/31/2019   160     MOTION for Discovery early return by ROGER JASON STONE, JR.
                     (Attachments: # 1 Exhibit CS Holdings, # 2 Exhibit CS Services, # 3 Exhibit
                     CS Inc., # 4 Text of Proposed Order)(Buschel, Robert) Modified event title on
                     8/12/2019 (znmw). (Entered: 07/31/2019)
07/31/2019   161     MOTION for Discovery early return of subpoena to HPSCI by ROGER
                     JASON STONE, JR. (Attachments: # 1 Exhibit subpoena HPSCI, # 2 Text of
                     Proposed Order)(Buschel, Robert) (Entered: 07/31/2019)
08/01/2019   162     ORDER as to ROGER J. STONE, JR (1) denying defendant's 69 Motion to
                     Dismiss Case; granting in part and denying in part 70 Motion to Compel the
                     Complete Report of the Special Counsel; denying 71 Motion to Enjoin
                     Prosecution; denying 72 Motion to Dismiss Due to Defects in the Indictment
                     Pursuant to Fed. R. Crim. P. 12(b)(3)(B); and denying 73 Motion for
                     Discovery based on Selective Prosecution. It is ORDERED that the
                     government shall produce in unredacted form to defendant by August 8, 2019
                     the materials set forth in the order. See order for details. Signed by Judge Amy
                     Berman Jackson on 8/1/19. (DMK) (Entered: 08/01/2019)
08/01/2019   163     MEMORANDUM OPINION as to ROGER J. STONE, JR. Signed by Judge
                     Amy Berman Jackson on 8/1/19. (DMK) (Entered: 08/01/2019)
08/05/2019   164     NOTICE of Intent to Respond Within 14 Days by USA as to ROGER JASON
                     STONE, JR re 161 MOTION for Discovery early return of subpoena to
                     HPSCI (Marando, Michael) (Entered: 08/05/2019)
08/09/2019   166     MOTION to Modify Defendant's Motion to Travel (Dkt. 150) by ROGER
                     JASON STONE, JR. (Attachments: # 1 Text of Proposed Order)(Routman,
                     Chandler) (Entered: 08/09/2019)
08/09/2019   168     RESPONSE by ROGER JASON STONE, JR re 153 MOTION in Limine To
                     Exclude Certain Evidence and Argument Regarding Russian Election
                     Interference (Buschel, Robert) (Entered: 08/09/2019)
08/09/2019   169     RESPONSE by ROGER JASON STONE, JR re 154 MOTION in Limine To
                     Exclude Evidence and Argument Regarding the Government's Investigation
                     and Prosecution of This and Related Cases (Buschel, Robert) (Entered:
                     08/09/2019)
08/09/2019   170     RESPONSE by ROGER JASON STONE, JR re 155 MOTION in Limine To
                     Admit the Upload or Creation Date for Various Videos (Buschel, Robert)
                     (Entered: 08/09/2019)
08/09/2019   171     RESPONSE by ROGER JASON STONE, JR re 156 MOTION in Limine To
                     Admit Movie Clip (Attachments: # 1 Exhibit transcript of movie clip)(Buschel,
                     Robert) (Entered: 08/09/2019)
08/09/2019   172     Memorandum in Opposition by USA as to ROGER JASON STONE, JR re
                     158 MOTION in Limine to admit evidence (Kravis, Jonathan) (Entered:
                     08/09/2019)
08/09/2019   181     MOTION for Leave to File by DEMOCRATIC CONGRESSIONAL
                     CAMPAIGN COMMITTEE and DEMOCRATIC NATIONAL

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                     COMMITTEE as to ROGER JASON STONE, JR. (Attachments: # 1
                     Memorandum in Support of their Motion for Leave and Opposition to
                     Defendant's Request for Rule 17(C) Subpoena, # 2 Text of Proposed
                     Order)(zef, ) (Entered: 08/16/2019)
08/09/2019   182     ORDER granting 181 Motion for Leave to File as to ROGER JASON STONE
                     JR. (1). Signed by Judge Amy Berman Jackson on 8/9/2019. (zef, ) (Entered:
                     08/16/2019)
08/09/2019   183     Memorandum in Support of their Motion for Leave and Opposition to
                     Defendant's Support of their 181 Motion for Leave and Opposition to 160
                     Defendant's Request for Rule 17(c) Subpoena by DEMOCRATIC
                     CONGRESSIONAL CAMPAIGN COMMITTEE and DEMOCRATIC
                     NATIONAL COMMITTEE as to ROGER JASON STONE, JR. (zef, )
                     Modified text on 8/16/2019 (zef, ). (Entered: 08/16/2019)
08/12/2019   173     ORDER granting 166 unopposed Motion to Modify Permission to Travel as to
                     ROGER J. STONE JR. (1). See Order for details. Signed by Judge Amy
                     Berman Jackson on 8/12/19. (DMK) (Entered: 08/12/2019)
08/12/2019   175     ORDER as to ROGER J. STONE JR. This matter having come before the
                     Court pursuant to the 174 Motion of the United States for leave to file under
                     seal its motion for in camera review of redacted witness statements, it is
                     hereby ORDERED that the government's motion is GRANTED, and the
                     government's motion for in camera review of redacted witness statements and
                     the government's motion to seal are sealed until further order of the Court. The
                     Court will reconsider the government's motion to seal at the conclusion of the
                     trial in this case. Signed by Judge Amy Berman Jackson on 8/12/2019. (zjth)
                     (Entered: 08/13/2019)
08/13/2019           MINUTE ORDER. It is ORDERED that the parties shall file a submission by
                     August 23, 2019 informing the Court whether they have any objection
                     pursuant to 28 U.S.C. § 1861 or on any other ground to the pre−screening of
                     potential jurors being summoned to complete the questionnaire by the District
                     Court Jury Office based on the potential jurors' availability for a trial that
                     could take at least two weeks to complete, and if so, setting forth the points
                     and authorities that support their respective positions. Signed by Judge Amy
                     Berman Jackson on 8/13/19. (DMK) (Entered: 08/13/2019)
08/13/2019   177     MOTION to Travel by ROGER JASON STONE, JR. (Attachments: # 1 Text
                     of Proposed Order)(Routman, Chandler) (Entered: 08/13/2019)
08/13/2019   178     ORDER as to ROGER J. STONE JR. This matter having come before the
                     Court pursuant to the 176 motion of the United States for in camera review of
                     redacted witness statements, it is hereby ORDERED that the government's 176
                     motion is GRANTED. On or before August 26, 2019, the government shall
                     submit to the Court for in camera review the record of witness statements
                     discussed in the motion showing the proposed redactions, as well as the grand
                     jury transcripts of the witness. Signed by Judge Amy Berman Jackson on
                     8/13/2019. (zjth) (Entered: 08/13/2019)
08/13/2019           Set/Reset Deadlines as to ROGER J. STONE, JR: The parties shall file a
                     submission by 8/23/2019 informing the Court whether they have any objection
                     pursuant to 28 U.S.C. § 1861 or on any other ground to the pre−screening of
                     potential jurors being summoned to complete the questionnaire by the District
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                     Court Jury Office based on the potential jurors' availability for a trial that
                     could take at least two weeks to complete, and if so, setting forth the points
                     and authorities that support their respective positions. (jth) (Entered:
                     08/14/2019)
08/14/2019   179     Memorandum in Opposition by USA as to ROGER JASON STONE, JR re
                     161 MOTION for Discovery early return of subpoena to HPSCI (Kravis,
                     Jonathan) (Entered: 08/14/2019)
08/15/2019   180     ORDER granting 177 Motion to Travel as to ROGER J. STONE JR. (1). See
                     Order for details. Signed by Judge Amy Berman Jackson on 8/15/19. (DMK)
                     (Entered: 08/15/2019)
08/16/2019   184     Proposed Voir Dire by USA as to ROGER JASON STONE, JR (Attachments:
                     # 1 Exhibit A)(Kravis, Jonathan) (Entered: 08/16/2019)
08/16/2019   185     REPLY in Support by USA as to ROGER JASON STONE, JR re 153
                     MOTION in Limine To Exclude Certain Evidence and Argument Regarding
                     Russian Election Interference (Kravis, Jonathan) (Entered: 08/16/2019)
08/16/2019   186     REPLY in Support by USA as to ROGER JASON STONE, JR re 156
                     MOTION in Limine To Admit Movie Clip (Kravis, Jonathan) (Entered:
                     08/16/2019)
08/16/2019   188     REPLY in Support by USA as to ROGER JASON STONE, JR re 154
                     MOTION in Limine To Exclude Evidence and Argument Regarding the
                     Government's Investigation and Prosecution of This and Related Cases
                     (Kravis, Jonathan) (Entered: 08/16/2019)
08/16/2019   189     REPLY TO OPPOSITION to Motion by ROGER JASON STONE, JR re 161
                     MOTION for Discovery early return of subpoena to HPSCI (Buschel, Robert)
                     (Entered: 08/16/2019)
08/16/2019   190     REPLY TO OPPOSITION to Motion by ROGER JASON STONE, JR re 158
                     MOTION in Limine to admit evidence (Buschel, Robert) (Entered:
                     08/16/2019)
08/21/2019   191     Unopposed MOTION for Extension of Time to File by USA as to ROGER
                     JASON STONE, JR. (Attachments: # 1 Text of Proposed Order)(Kravis,
                     Jonathan) (Entered: 08/21/2019)
08/22/2019           MINUTE ORDER granting 191 Government's Second Unopposed Motion for
                     Extension of Time to File as to ROGER J. STONE JR. (1). It is ORDERED
                     that the government may file a motion in limine to admit the transcript of
                     defendant's testimony before the House Permanent Select Committee on
                     Intelligence by September 20, 2019. Defendant's response is due by October 4,
                     2019, and the government's reply, if any, is due October 11, 2019. Signed by
                     Judge Amy Berman Jackson on 8/22/19. (DMK) (Entered: 08/22/2019)
08/22/2019   192     RESPONSE re Government's Response to August 13, 2019 Minute Order
                     Regarding Jury Selection Procedure by USA as to ROGER JASON STONE,
                     JR re Order,, (Marando, Michael) Modified text on 8/23/2019 (zef, ). (Entered:
                     08/22/2019)
08/23/2019   193     RESPONSE of response to minute order of August 13, 2019 regarding jury
                     selection by ROGER JASON STONE, JR (Buschel, Robert) Modified text on

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                     8/23/2019 (zef, ). (Entered: 08/23/2019)
08/26/2019   194     MOTION for Extension of Time to File Joint Pretrial Statement by ROGER
                     JASON STONE, JR. (Attachments: # 1 Text of Proposed Order)(Routman,
                     Chandler) (Entered: 08/26/2019)
08/27/2019           MINUTE ORDER granting 194 Defendant's Motion for Extension of Time to
                     File Joint Pretrial Statement as to ROGER JASON STONE JR. (1). It is
                     ORDERED that the Joint Pretrial Statement is due September 6, 2019. No
                     further extensions will be granted, and the Pretrial Statement, which is a joint
                     document, must comport with the instructions set forth in the scheduling order
                     65 . Signed by Judge Amy Berman Jackson on 8/27/19. (DMK) (Entered:
                     08/27/2019)
08/29/2019           Set/Reset Hearings as to ROGER JASON STONE, JR: Pretrial Conference
                     reset for 9/25/2019 at 10:00 AM in Courtroom 3 before Judge Amy Berman
                     Jackson. (tb) (Entered: 08/29/2019)
09/05/2019   195     MOTION to Modify Defendant's Motion to Travel (Dkt. 180) re 180 Order by
                     ROGER JASON STONE, JR. (Attachments: # 1 Text of Proposed
                     Order)(Routman, Chandler) Modified to add link on 9/6/2019 (znmw).
                     (Entered: 09/05/2019)
09/05/2019   196     LEAVE TO FILE DENIED− Amicus as to ROGER JASON STONE, JR This
                     document is unavailable as the Court denied its filing. "Leave to File
                     DENIED" by Judge Amy B. Jackson on 9/5/2019. Signed by Judge Amy
                     Berman Jackson on 9/5/2019. (zef, ) (Entered: 09/06/2019)
09/05/2019   197     LEAVE TO FILE DENIED− Amicus as to ROGER JASON STONE, JR This
                     document is unavailable as the Court denied its filing. "Leave to File
                     DENIED" by Judge Amy B. Jackson on 9/5/2019. Signed by Judge Amy
                     Berman Jackson on 9/5/2019. (zef, ) (Entered: 09/06/2019)
09/06/2019   198     ORDER granting 195 Motion to Travel as to ROGER J. STONE JR. (1). See
                     Order for details. Signed by Judge Amy Berman Jackson on 9/6/19. (DMK)
                     (Entered: 09/06/2019)
09/06/2019   199     PRETRIAL MEMORANDUM JOINT PRETRIAL STATEMENT by USA as to
                     ROGER JASON STONE, JR (Attachments: # 1 Joint Statement of Case, # 2
                     Proposed Jury Instructions, # 3 Stipulations, # 4 Government's Proposed
                     Verdict Form, # 5 Defendant's Proposed Verdict Form)(Marando, Michael)
                     (Entered: 09/06/2019)
09/09/2019           MINUTE ORDER granting 200 Sealed Motion for Leave to File Documents
                     Under Seal as to ROGER J. STONE JR. (1). The Clerk of Court is directed to
                     file under seal [Dkt. 200−1] the Government's Exhibit List and [Dkt. 200−2]
                     Defendant's Exhibit List. The parties are ordered to file on the public docket
                     redacted versions of their exhibit lists by September 23, 2019. SO ORDERED.
                     Signed by Judge Amy Berman Jackson on 9/9/19. (DMK) (Entered:
                     09/09/2019)
09/10/2019   205     TRANSCRIPT OF PROCEEDINGS in case as to ROGER JASON STONE,
                     JR before Judge Amy Berman Jackson held on July 16, 2019; Page Numbers:
                     1−77. Date of Issuance:September 10, 2019. Court Reporter: Janice Dickman,
                     Telephone number: 202−354−3267, Transcripts may be ordered by submitting

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                     the <a href="http://www.dcd.uscourts.gov/node/110">Transcript Order
                     Form</a><P></P>For the first 90 days after this filing date, the transcript may
                     be viewed at the courthouse at a public terminal or purchased from the court
                     reporter referenced above. After 90 days, the transcript may be accessed via
                     PACER. Other transcript formats, (multi−page, condensed, CD or ASCII) may
                     be purchased from the court reporter.<P>NOTICE RE REDACTION OF
                     TRANSCRIPTS: The parties have twenty−one days to file with the court and
                     the court reporter any request to redact personal identifiers from this transcript.
                     If no such requests are filed, the transcript will be made available to the public
                     via PACER without redaction after 90 days. The policy, which includes the
                     five personal identifiers specifically covered, is located on our website at
                     www.dcd.uscourts.gov.<P></P> Redaction Request due 10/1/2019. Redacted
                     Transcript Deadline set for 10/11/2019. Release of Transcript Restriction set
                     for 12/9/2019.(Dickman, Janice) (Entered: 09/10/2019)
09/12/2019   206     LEAVE TO FILE DENIED− Amicus/Notice 66 as to ROGER JASON
                     STONE, JR. " Leave to File DENIED" by Judge Amy B. Jackson on 9/12/19.
                     This document is unavailable as the Court denied its filing. Signed by Judge
                     Amy Berman Jackson on 9/12/19. (ztl) (Entered: 09/13/2019)
09/12/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Voir
                     Dire as to ROGER J. STONE, JR. held on 9/12/2019. Defendant's appearance
                     was waived. (See Dkt. #207). (120 jurors appeared to complete
                     questionnaires). Bond Status of Defendant: Defendant Remains on Personal
                     Recognizance Bond; Court Reporter: Janice Dickman; Defense Attorneys:
                     Robert C. Buschel and Tara Campion; US Attorney: Jonathan Ian Kravis. (jth)
                     (Entered: 09/29/2019)
09/13/2019           MINUTE ORDER as to ROGER J. STONE, JR. The Court notes that as set
                     forth in the Scheduling Order 65 , the parties must inform the Court of their
                     proposed strikes for cause by September 19, 2019. Signed by Judge Amy
                     Berman Jackson on 9/13/19. (DMK) (Entered: 09/13/2019)
09/13/2019           MINUTE ORDER as to ROGER J. STONE, JR. Each party shall inform the
                     Court of any proposed strikes for cause by filing under seal a list of those
                     jurors, identified by number, it maintains should be struck based on the written
                     jury questionnaire responses. The filing should contain only the party's list,
                     with no argument. Signed by Judge Amy Berman Jackson on 9/13/19. (DMK)
                     (Entered: 09/13/2019)
09/13/2019           Set/Reset Deadlines as to ROGER JASON STONE, JR: Proposed strikes for
                     cause due by 9/19/2019. (tg) (Entered: 09/13/2019)
09/15/2019   207     NOTICE of Waiver by ROGER JASON STONE, JR (Routman, Chandler)
                     (Entered: 09/15/2019)
09/17/2019   210     LEAVE TO FILE DENIED− Notice 67 as to ROGER JASON STONE, JR
                     This document is unavailable as the Court denied its filing.. Signed by Judge
                     Amy Berman Jackson on 9/17/2019. (zef, ) (Entered: 09/18/2019)
09/19/2019   212     MEMORANDUM OPINION AND ORDER as to ROGER J. STONE, JR. For
                     the reasons stated in the Memorandum Opinion and Order, defendant's 103
                     Motion to Compel Unredacted Versions of the Crowdstrike Reports is
                     DENIED as moot, and defendant's 100 Motion to Suppress is DENIED. (see
                     the document for complete details). (This document is SEALED and only
                                                                                                           38
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                     available to authorized persons.) Signed by Judge Amy Berman Jackson on
                     9/19/2019. (zjth) UNSEALED on 9/24/2019 pursuant to the minute order
                     issued this date. (jth). (Entered: 09/19/2019)
09/19/2019           MINUTE ORDER as to ROGER J. STONE, JR. The Court has docketed its
                     Memorandum Opinion and Order on defendant's Motion to Suppress 100 and
                     Motion to Compel 103 under seal because it is based, in part, on sealed
                     exhibits. The parties are ORDERED to inform the Court by September 23,
                     2019 whether they object to the unsealing of the opinion. If they are of the
                     view that certain material should remain under seal, the parties shall confer
                     and file under seal by September 26, 2019 a version of the opinion underlining
                     the information they propose to be redacted and an proposed public version of
                     opinion reflecting those redactions. Signed by Judge Amy Berman Jackson on
                     9/19/19. (DMK) (Entered: 09/19/2019)
09/19/2019   214     LEAVE TO FILE DENIED− Notice 68 as to ROGER JASON STONE, JR
                     This document is unavailable as the Court denied its filing.. Signed by Judge
                     Amy Berman Jackson on 9/19/2019. (zef, ) (Entered: 09/20/2019)
09/20/2019           MINUTE ORDER as to ROGER JASON STONE, JR. In consideration of the
                     defendant's motion 160 for an order permitting defendant to issue an early
                     return subpoena to CrowdStrike Holdings, Inc. et. al., and the Opposition 183
                     filed by the Democratic National Committee and the Democratic
                     Congressional Campaign Committee, movants DNC and DCCC are hereby
                     ORDERED to deliver a copy of the unredacted report, and any documents that
                     memorialize the retention of CrowdStrike by counsel for the DNC and DCCC,
                     to chambers by September 23, 2019 for the Court's in camera review. The
                     Court further notifies counsel for the DCCC and DNC that it anticipates ruling
                     on the motion at the pretrial conference scheduled for September 25, 2019 at
                     10:00 am in Courtroom 3. SO ORDERED. Signed by Judge Amy Berman
                     Jackson on 9/20/2019. (lcabj2) (Entered: 09/20/2019)
09/20/2019   213     STATUS REPORT Regarding Motion in Limine by USA as to ROGER
                     JASON STONE, JR (Kravis, Jonathan) (Entered: 09/20/2019)
09/23/2019   216     NOTICE of Filing of Exhibit List by USA as to ROGER JASON STONE, JR
                     (Attachments: # 1 Government's Redacted Exhibit List)(Marando, Michael)
                     (Entered: 09/23/2019)
09/23/2019   218     RESPONSE TO ORDER OF THE COURT re Minute Order by ROGER
                     JASON STONE, JR (Routman, Chandler) Modified event title on 9/24/2019
                     (znmw). (Entered: 09/23/2019)
09/23/2019   219     NOTICE of Redacted Exhibit List by ROGER JASON STONE, JR
                     (Attachments: # 1 Supplement)(Routman, Chandler) (Entered: 09/23/2019)
09/23/2019   220     NOTICE of No Objection to Unsealing Memorandum Opinion by USA as to
                     ROGER JASON STONE, JR (Marando, Michael) (Entered: 09/23/2019)
09/23/2019   221     LEAVE TO FILE DENIED− Notice 69 as to ROGER JASON STONE, JR.
                     "Leave to File Denied" by Judge Amy Berman Jackson on 9/23/2019. This
                     document is unavailable as the Court denied its filing.. Signed by Judge Amy
                     Berman Jackson on 9/23/2019. (zef, ) (Entered: 09/24/2019)
09/24/2019

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                     MINUTE ORDER as to ROGER J. STONE, JR. Since neither party objects to
                     the unsealing of the Court's September 19, 2019 Memorandum Opinion 212 ,
                     the Clerk of Court is hereby directed to unseal 212 the opinion. SO
                     ORDERED. Signed by Judge Amy Berman Jackson on 9/24/19. (DMK)
                     (Entered: 09/24/2019)
09/25/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson:
                     Pretrial Conference as to ROGER J. STONE, JR. begun and held on
                     9/25/2019. Pretrial Conference continued to 11/4/2019 at 10:00 AM in
                     Courtroom 3 before Judge Amy Berman Jackson. (ORDER
                     FORTHCOMING). Bond Status of Defendant: Defendant Remains on
                     Personal Recognizance Bond; Court Reporter: Janice Dickman; Defense
                     Attorneys: Bruce S. Rogow, Grant J. Smith, Chandler Paige Routman and
                     Tara A. Campion; US Attorneys: Michael John Marando, Jonathan Ian Kravis,
                     Aaron Zelinsky and Adam C. Jed. (jth) (Entered: 09/25/2019)
09/26/2019   223     NOTICE Regarding Filing of Redacted Supplemental Exhibits by
                     DEMOCRATIC CONGRESSIONAL CAMPAIGN COMMITTEE,
                     DEMOCRATIC NATIONAL COMMITTEE as to ROGER JASON STONE,
                     JR (Attachments: # 1 Exhibit 1 [Redacted], # 2 Exhibit 2
                     [Redacted])(Nkwonta, Uzoma) (Entered: 09/26/2019)
09/26/2019           MINUTE ORDER. The Court ruled on the following motions as to ROGER J.
                     STONE JR. for the reasons stated in open court on September 25, 2019. The
                     Court denied defendant's motion for early return of a subpoena to CrowdStrike
                     160 ; and defendant's motion for early return of a subpoena to the House
                     Permanent Select Committee on Intelligence 161 was denied, with the
                     defendant's concurrence, as moot. The Court took the government's Sealed
                     Notice of Intention to Introduce Rule 404(b) evidence 140 under advisement,
                     and deferred ruling with respect to both categories of evidence at this time.
                     The government's Sealed Motion to introduce two newspaper articles related
                     to the proposed Rule 404(b) evidence 159 was denied; the government may
                     seek permission to introduce redacted versions of those articles if the evidence
                     is admitted. The government's motion in limine to exclude evidence or
                     argument regarding Russian interference in the 2016 election 153 was granted,
                     and defendant's related motion in limine to admit evidence that Wikileaks did
                     not receive the stolen Democratic National Committee, Democratic
                     Congressional Campaign Committee, and Clinton Campaign emails from the
                     Russian state 158 was denied. The government's motion in limine to exclude
                     evidence or argument regarding alleged misconduct in the government's
                     investigation or prosecution of the instant case and related cases 154 was
                     granted, without prejudice to defendant's right to cross examine government
                     witnesses with Giglio information. The government's motion in limine to
                     admit the creation/upload date for video evidence 155 was granted. The Court
                     deferred ruling on the government's motion in limine to introduce an excerpt
                     of the movie The Godfather: Part II 156 ; the parties are ordered to inform the
                     Court by October 25, 2019 whether they have reached a stipulation that
                     resolves the motion. Pursuant to Fed. R. Crim. Pro. 26.2 and 18 U.S.C. §
                     3500(c), the Court approved the proposed redactions to Jencks material
                     submitted for in camera review 176 , and the government is further permitted
                     to file a motion in limine concerning the same witness's in−court testimony by
                     October 4, 2019; defendant must file any response by October 18, 2019. With
                     respect to exhibits, the parties were ordered to meet and confer concerning the
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                     excerpts of Government Exhibit 6 that the government intends to introduce
                     instead of the entire document; the defense may propose any additional
                     excerpts it submits must be introduced for completeness pursuant to Fed. R.
                     Evid. 106, and the parties must submit any disputes to the Court by October
                     25, 2019. The defense must inform the Court of any objections it has to the
                     admission of any of the individual communications included in Government
                     Exhibits 79 and 132 by October 25, 2019. It is further ORDERED that the
                     transcript of the sealed portion of the pretrial conference held on September
                     25, 2019 is unsealed for the sole purpose of allowing the court reporter to
                     provide the transcript to the parties. SO ORDERED. Signed by Judge Amy
                     Berman Jackson on 9/26/19. (DMK) (Entered: 09/26/2019)
09/26/2019   224     LEAVE TO FILE DENIED− Notice 70 as to ROGER JASON STONE, JR
                     This document is unavailable as the Court denied its filing. "Leave to file
                     Denied" by Judge Amy B. Jackson on 9/26/2019.. Signed by Judge Amy
                     Berman Jackson on 9/26/2019. (zed, ) (Entered: 10/01/2019)
09/26/2019   225     LEAVE TO FILE DENIED− Notice 71 as to ROGER JASON STONE, JR
                     This document is unavailable as the Court denied its filing. "Leave to file
                     Denied" by Judge Amy B. Jackson on 9/26/2019. Signed by Judge Amy
                     Berman Jackson on 9/26/2019. (zed, ) (Entered: 10/01/2019)
09/26/2019   226     LEAVE TO FILE DENIED− Notice 72 as to ROGER JASON STONE, JR
                     This document is unavailable as the Court denied its filing. "Leave to file
                     Denied" by Judge Amy B. Jackson on 9/26/2019. Signed by Judge Amy
                     Berman Jackson on 9/26/2019. (zed, ) (Entered: 10/01/2019)
09/27/2019           MINUTE ORDER as to ROGER J. STONE, JR. By October 11, 2019, counsel
                     for the defendant must file a notice identifying the attorney on the team who
                     will be serving as lead counsel at trial and confirming compliance with Local
                     Civil Rule 83.2(b). SO ORDERED. Signed by Judge Amy Berman Jackson on
                     9/27/19. (DMK) (Entered: 09/27/2019)
09/30/2019           MINUTE ORDER granting 222 Sealed Motion for Leave to File Documents
                     Under Seal as to ROGER J. STONE. The Clerk of Court is directed to filed
                     under seal the unredacted supplemental exhibits of the Democratic
                     Congressional Campaign Committee and the Democratic National Committee,
                     [Dkt. # 222−1] Exhibit 1 and [Dkt. # 222−2] Exhibit 2. Signed by Judge Amy
                     Berman Jackson on 9/30/19. (DMK) (Entered: 09/30/2019)
10/02/2019           MINUTE ORDER. Given the number of pleadings the Court has received
                     from this individual, the number of times he has been advised that he cannot
                     docket pleadings in this criminal case; and the burden the inordinate volume of
                     correspondence imposes on the Clerk's Office and the Court, the Clerk's Office
                     may simply discard any submissions from David Andrew Christenson in USA
                     v. Roger J. Stone, Jr., 19−cr−018 (ABJ) without further processing. SO
                     ORDERED. By Judge Amy Berman Jackson on 10/2/2019. (jth) (Entered:
                     10/02/2019)
10/02/2019   229     MOTION to Travel by ROGER JASON STONE, JR. (Attachments: # 1 Text
                     of Proposed Order)(Routman, Chandler) (Entered: 10/02/2019)
10/02/2019   230     ORDER as to ROGER J. STONE, JR. Upon further review of 140
                     Government's Notice of Intention to Introduce Evidence Under Federal Rule
                     of Evidence 404(b), the arguments made by the parties at the September 25,
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                     2019 pretrial conference, and the relevant authorities, the Court finds the
                     evidence to be admissible. See Order for details. Signed by Judge Amy
                     Berman Jackson on 10/2/19. (DMK) (Entered: 10/02/2019)
10/03/2019           Set/Reset Deadlines as to ROGER J. STONE, JR: The Court deferred ruling
                     on the government's motion in limine to introduce an excerpt of the movie The
                     Godfather: Part II 156 ; the parties are ordered to inform the Court by
                     10/25/2019 whether they have reached a stipulation that resolves the motion.
                     Pursuant to Fed. R. Crim. Pro. 26.2 and 18 U.S.C. § 3500(c), the Court
                     approved the proposed redactions to Jencks material submitted for in camera
                     review 176, and the government is further permitted to file a motion in limine
                     concerning the same witness's in−court testimony by 10/4/2019; defendant
                     must file any response by 10/18/2019. With respect to exhibits, the parties
                     were ordered to meet and confer concerning the excerpts of Government
                     Exhibit 6 that the government intends to introduce instead of the entire
                     document; the defense may propose any additional excerpts it submits must be
                     introduced for completeness pursuant to Fed. R. Evid. 106, and the parties
                     must submit any disputes to the Court by 10/25/2019. The defense must
                     inform the Court of any objections it has to the admission of any of the
                     individual communications included in Government Exhibits 79 and 132 by
                     10/25/2019. (jth) (Entered: 10/03/2019)
10/03/2019   231     ORDER granting 229 Motion to Travel as to ROGER J. STONE JR. (1). See
                     Order for details. Signed by Judge Amy Berman Jackson on 10/3/19. (DMK)
                     (Entered: 10/03/2019)
10/03/2019   232     NOTICE of Lead Trial Counsel by ROGER JASON STONE, JR (Routman,
                     Chandler) (Entered: 10/03/2019)
10/09/2019   236     TRANSCRIPT OF PROCEEDINGS in case as to ROGER JASON STONE,
                     JR before Judge Amy Berman Jackson held on September 25, 2019; Page
                     Numbers: 1−99. Date of Issuance:October 9, 2019. Court Reporter: Janice
                     Dickman, Telephone number: 202−354−3267, Transcripts may be ordered by
                     submitting the Transcript Order Form

                     For the first 90 days after this filing date, the transcript may be viewed at the
                     courthouse at a public terminal or purchased from the court reporter referenced
                     above. After 90 days, the transcript may be accessed via PACER. Other
                     transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                     from the court reporter.

                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                     twenty−one days to file with the court and the court reporter any request to
                     redact personal identifiers from this transcript. If no such requests are filed, the
                     transcript will be made available to the public via PACER without redaction
                     after 90 days. The policy, which includes the five personal identifiers
                     specifically covered, is located on our website at www.dcd.uscourts.gov.

                     Redaction Request due 10/30/2019. Redacted Transcript Deadline set for
                     11/9/2019. Release of Transcript Restriction set for 1/7/2020.(Dickman,
                     Janice) (Entered: 10/09/2019)
10/17/2019   238     NOTICE Concerning Movie Clip by USA as to ROGER JASON STONE, JR

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                     (Jed, Adam) (Entered: 10/17/2019)
10/21/2019           MINUTE ORDER denying 156 Motion in Limine as to ROGER J. STONE
                     JR. (1). Upon consideration of 156 the government's motion in limine to
                     introduce an excerpt of the movie The Godfather: Part II, 171 defendant's
                     response, 186 the government's reply, and 238 the government's notice
                     concerning the clip, the government's motion is hereby DENIED. Pursuant to
                     Federal Rule of Evidence 403, the government will not be permitted to
                     introduce the clip itself in its case in chief because the prejudicial effect of the
                     videotape, which includes a number of extraneous matters, outweighs its
                     probative value. The government may introduce a transcript of the clip. This
                     ruling is without prejudice to a renewed request after the cross−examination of
                     Person 2 or the testimony of the defendant, if any. SO ORDERED. Signed by
                     Judge Amy Berman Jackson on 10/21/19. (DMK) (Entered: 10/21/2019)
10/25/2019   242     ORDER on trial logistics as to ROGER J. STONE, JR. See Order for details.
                     Signed by Judge Amy Berman Jackson on 10/25/19. (DMK) (Entered:
                     10/25/2019)
10/29/2019   243     SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                     filed by USA as to ROGER JASON STONE, JR. (This document is SEALED
                     and only available to authorized persons.) (Attachments: # 1 Exhibit
                     Government's Revised Exhibit List, # 2 Exhibit Defendant's Revised Exhibit
                     List)(Kravis, Jonathan) (Entered: 10/29/2019)
10/30/2019           MINUTE ORDER granting 243 government's unopposed motion to seal
                     exhibit lists as to ROGER J. STONE JR. (1). The Clerk of Court is directed to
                     file under seal [243−1] Government's Revised Exhibit List and [243−2]
                     Defendant's Revised Exhibit List. The Clerk of Court is also directed to unseal
                     243 the motion for leave to file under seal itself. Signed by Judge Amy
                     Berman Jackson on 10/30/19. (DMK) (Entered: 10/30/2019)
11/04/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson:
                     Pretrial Conference as to ROGER J. STONE, JR. resumed and concluded on
                     11/4/2019. (ORDER FORTHCOMING). Bond Status of Defendant:
                     Defendant Remains on Personal Recognizance Bond; Court Reporter: Janice
                     Dickman; Defense AttorneyS: Bruce S. Rogow, Robert C. Buschel, Grant
                     Smith, Chandler Paige Routman and Tara Campion; US AttorneyS: Aaron
                     Aelinsky, Jonathan Kravis, Michael Marando and Adam Jed. (jth) (Entered:
                     11/04/2019)
11/04/2019   247     JUROR QUESTIONNAIRE as to ROGER J. STONE, JR.(DMK). Modified
                     on 11/4/2019 (jth). (Entered: 11/04/2019)
11/04/2019   248     ORDER on trial exhibits as to ROGER J. STONE, JR. See Order for details.
                     Signed by Judge Amy Berman Jackson on 11/4/19. (DMK) (Entered:
                     11/04/2019)
11/05/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Jury
                     Selection as to ROGER J. STONE, JR. begun and held on 11/5/2019 as to
                     Counts: 1,2−6,7. Defendant's Appearance was waived for the afternoon
                     session. Jury Selection continued to 11/6/2019 at 9:30 AM in Courtroom 3
                     before Judge Amy Berman Jackson. Bond Status of Defendant: Defendant
                     Remains on Personal Recognizance Bond; Court Reporters: Janice Dickman
                     and Crystal Pilgrim; Defense Attorneys: Bruce S. Rogow, Robert C. Buschel,
                                                                                                            43
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                     Grant Smith, Chandler Paige Routman and Tara Campion; US Attorneys:
                     Aaron Aelinsky, Jonathan Kravis, Michael Marando and Adam Jed. (jth)
                     (Entered: 11/06/2019)
11/06/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Jury
                     Selection as to ROGER J. STONE, JR. resumed and concluded. Twelve (12)
                     Jurors and Two (2) alternates were selected and sworn. Jury Trial begun and
                     held on 11/6/2019 as to Counts 1,2−6,7. Jury Trial continued to 11/7/2019 at
                     9:30 AM in Courtroom 3 before Judge Amy Berman Jackson. Bond Status of
                     Defendant: Defendant Remains on Personal Recognizance Bond; Court
                     Reporters: Janice Dickman/AM; Lisa Griffith/PM; Defense Attorneys: Bruce
                     S. Rogow, Robert C. Buschel, Grant J. Smith, Tara Campion and Chandler
                     Paige Routman; US Attorneys: Jonathan Ian Kravis, Aaron S.J. Zelinsky,
                     Michael John Marando and Adam C. Jed; Government Witness: Michelle
                     Taylor. (jth) (Entered: 11/06/2019)
11/06/2019           MINUTE ORDER: The Court having impaneled the jury in this action, it is
                     hereby ORDERED that during trial and deliberations all meals for said jury
                     shall be paid by the Clerk of the Court for the U.S. District Court for the
                     District of Columbia. Approved by Judge Amy Berman Jackson on 11/6/2019.
                     (jth) (Entered: 11/06/2019)
11/06/2019   251     LEAVE TO FILE DENIED− RE: Motion for Leave to File Evidence of
                     Violation of Gag Order in 19−cr−18 as to ROGER JASON STONE, JR This
                     document is unavailable as the Court denied its filing. "Leave to file
                     DENIED" by Judge Amy B. Jackson on 11/6/2019.. Signed by Judge Amy
                     Berman Jackson on 11/6/2019. (zed, ) Modified text on 11/7/2019 (zed, ).
                     (Entered: 11/07/2019)
11/07/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Jury
                     Trial as to ROGER J. STONE, JR. resumed and held on 11/7/2019 as to
                     Counts 1,2−6,7. Same Twelve (12) jurors and Two (2) alternates. Jury Trial
                     continued to 11/8/2019 at 9:30 AM in Courtroom 3 before Judge Amy Berman
                     Jackson. Bond Status of Defendant: Defendant Remains on Personal
                     Recognizance Bond; Court Reporters: Janice Dickman/AM; Crystal
                     Pilgrim/PM; Defense Attorneys: Bruce S. Rogow, Robert C. Buschel, Grant J.
                     Smith, Tara Campion and Chandler Paige Routman; US Attorneys: Jonathan
                     Ian Kravis, Aaron S.J. Zelinsky, Michael John Marando and Adam C. Jed;
                     Government Witnesses: Michelle Taylor and Randolph Credico. (jth)
                     (Entered: 11/07/2019)
11/08/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Jury
                     Trial as to ROGER J. STONE, JR. resumed and held on 11/8/2019 as to
                     Counts: 1,2−6,7. Same Twelve (12) jurors and Two (2) alternates. Jury Trial
                     continued to 11/12/2019 at 9:30 AM in Courtroom 3 before Judge Amy
                     Berman Jackson. Bond Status of Defendant: Defendant Remains on Personal
                     Recognizance Bond; Court Reporters: Janice Dickman/AM; Crystal
                     Pilgrim/PM; Defense Attorneys: Bruce S. Rogow, Robert C. Buschel, Grant J.
                     Smith, Tara Campion and Chandler Paige Routman; US Attorneys: Jonathan
                     Ian Kravis, Aaron S.J. Zelinsky, Michael John Marando and Adam C. Jed;
                     Government Witnesses: Randolph Credico, Margaret Kunstler and Steven K.
                     Bannon. (jth) (Entered: 11/08/2019)
11/12/2019   252
                                                                                                    44
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                     MOTION for Acquittal by ROGER JASON STONE, JR. (Buschel, Robert)
                     (Entered: 11/12/2019)
11/12/2019   253     Proposed Jury Instructions by ROGER JASON STONE, JR (Buschel, Robert)
                     (Entered: 11/12/2019)
11/12/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Jury
                     Trial as to ROGER J. STONE, JR. held on 11/12/2019 as to Counts: 1,2−6,7.
                     Same Twelve (12) jurors and Two (2) alternates. Government Rested. Defense
                     252 Motion for Judgment of Acquittal was Heard and The Court Reserved
                     Ruling. Defense Rested. Jury Trial continued to 11/13/2019 at 10:00 AM in
                     Courtroom 3 before Judge Amy Berman Jackson. Bond Status of Defendant:
                     Defendant Remains on Personal Recognizance Bond; Court Reporters: Janice
                     Dickman/AM; Crystal Pilgrim/PM Defense Attorneys: Bruce S. Rogow,
                     Robert C. Buschel, Grant J. Smith, Tara Campion and Chandler Paige
                     Routman; US Attorneys: Jonathan Ian Kravis, Aaron S.J. Zelinsky, Michael
                     John Marando and Adam C. Jed; Government Witnesses: Richard William
                     Gates, III and Michelle Taylor. (jth) (Entered: 11/12/2019)
11/13/2019   254     Proposed Jury Instructions by USA as to ROGER JASON STONE, JR
                     (Kravis, Jonathan) (Entered: 11/13/2019)
11/13/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Jury
                     Trial as to ROGER J. STONE, JR. held on 11/13/2019 as to Counts: 1,2−6,7.
                     Juror #4 Discharged, the thirteen (13) remaining Jurors were present and are
                     unchanged. Jury Trial continued to 11/14/2019 at 9:30 AM in Courtroom 3
                     before Judge Amy Berman Jackson. Bond Status of Defendant: Defendant
                     Remains on Personal Recognizance Bond; Court Reporters: Janice
                     Dickman/AM; Crystal Pilgrim/PM; Defense Attorneys: Bruce S. Rogow,
                     Robert C. Buschel, Grant J. Smith, Tara Campion and Chandler Paige
                     Routman; US Attorneys: Jonathan Ian Kravis, Aaron S.J. Zelinsky, Michael
                     John Marando and Adam C. Jed. (jth) (Entered: 11/13/2019)
11/14/2019   255     NOTICE of objection of Godfather II transcript to jury by ROGER JASON
                     STONE, JR (Buschel, Robert) (Entered: 11/14/2019)
11/14/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Jury
                     Trial as to ROGER J. STONE, JR. as to Counts: 1,2−6,7. resumed and
                     concluded on 11/14/2019. Same Thirteen (13) Jurors. Alternate Juror was
                     Excused. Jury Deliberations begun and held on 11/14/2019. Jury Deliberations
                     continued to 11/15/2019 at 9:30 AM in Courtroom 3 before Judge Amy
                     Berman Jackson. Bond Status of Defendant: Defendant Remains on Personal
                     Recognizance Bond; Court Reporter: Janice Dickman; Defense Attorneys:
                     Bruce S. Rogow, Robert C. Buschel, Grant J. Smith, Tara Campion and
                     Chandler Paige Routman; US Attorneys: Jonathan Ian Kravis, Aaron S.J.
                     Zelinsky, Michael John Marando and Adam C. Jed.(jth) (Entered: 11/15/2019)
11/14/2019   256     Jury Notes (2) as to ROGER J. STONE, JR. (jth) (Entered: 11/15/2019)
11/14/2019   257     Signature Page of Foreperson

                     as to ROGER J. STONE, JR. in Jury Notes (2 notes). (Access to the PDF
                     Document is restricted pursuant to the E−Government Act. Access is limited
                     to Counsel of Record and the Court.) (jth) (Entered: 11/15/2019)

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11/15/2019           Minute Entry for proceedings held before Judge Amy Berman Jackson: Jury
                     Deliberations as to ROGER J. STONE, JR. as to Counts: 1,2−6,7 resumed and
                     concluded on 11/15/2019. Same Twelve (12) jurors. JURY VERDICT of
                     Guilty as to Counts 1,2−6,7. Jury Panel Discharged. REFERRAL TO
                     PROBATION OFFICE for Presentence Investigation. Defendant's 252 Motion
                     for Judgment of Acquittal was DENIED. Sentencing set for 2/6/2020 at 10:00
                     AM in Courtroom 3 before Judge Amy Berman Jackson. Sentencing
                     Memoranda from the parties are due by 1/30/2020. Bond Status of Defendant:
                     Defendant Remains on Personal Recognizance Bond Under the Current
                     Conditions Imposed. Court Reporter: Janice Dickman; Defense Attorneys:
                     Bruce S. Rogow, Robert C. Buschel, Grant J. Smith, Tara Campion and
                     Chandler Paige Routman; US Attorneys: Jonathan Ian Kravis, Aaron S.J.
                     Zelinsky, Michael John Marando and Adam C. Jed. (jth) (Entered:
                     11/15/2019)
11/15/2019   258     Jury Notes (1) as to ROGER J. STONE, JR. (jth) (Entered: 11/15/2019)
11/15/2019   259     Signature Page of Foreperson

                     as to ROGER J. STONE, JR. in Jury Verdict. (Access to the PDF Document is
                     restricted pursuant to the E−Government Act. Access is limited to Counsel of
                     Record and the Court.) (jth) (Entered: 11/15/2019)
11/15/2019   260     VERDICT FORM as to ROGER J. STONE, JR. (jth) (Entered: 11/15/2019)
11/15/2019   261     Signature Page of Foreperson

                     as to ROGER J. STONE, JR. in Jury Verdict. (Access to the PDF Document is
                     restricted pursuant to the E−Government Act. Access is limited to Counsel of
                     Record and the Court.) (jth) (Entered: 11/15/2019)
11/18/2019   262     LETTER IN SUPPORT OF SENTENCING as to ROGER JASON STONE,
                     JR. "Leave to file GRANTED. Sentencing Letter." by Judge Amy B. Jackson
                     on 11/18/2019 (zed, ) Modified text on 11/20/2019 (zed, ). (Entered:
                     11/20/2019)
11/20/2019   263     MOTION to Travel by ROGER JASON STONE, JR. (Attachments: # 1 Text
                     of Proposed Order)(Buschel, Robert) (Entered: 11/20/2019)
11/21/2019   264     ORDER granting 263 Defendant's Unopposed Motion to Travel as to ROGER
                     J. STONE JR. (1). See Order for details. Signed by Judge Amy Berman
                     Jackson on 11/21/19. (DMK) (Entered: 11/21/2019)
11/25/2019   265     ORDER as to ROGER J. STONE, JR. Written order on 252 defendant's
                     motion for judgment of acquittal. See order for details. Signed by Judge Amy
                     Berman Jackson on 11/25/19. (DMK) (Entered: 11/25/2019)
12/16/2019   268     LETTER as to ROGER JASON STONE, JR. "Leave to file GRANTED" File
                     as Letter to The Court by Judge Amy B. Jackson on 12/16/2019. (zed, )
                     (Entered: 12/16/2019)
12/19/2019   269     MOTION to Continue sentencing hearing by ROGER JASON STONE, JR.
                     (Attachments: # 1 Text of Proposed Order)(Buschel, Robert) (Entered:
                     12/19/2019)
12/20/2019   270
                                                                                                    46
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                     Memorandum in Opposition by USA as to ROGER JASON STONE, JR re
                     269 MOTION to Continue sentencing hearing (Marando, Michael) (Entered:
                     12/20/2019)
12/20/2019           MINUTE ORDER granting in part and denying in part 269 Defendant's
                     Motion to Continue Sentencing Hearing as to ROGER J. STONE JR. (1).
                     Upon consideration of defendant's motion, the government's opposition, and
                     the position of the U.S. Probation Office, which is what prompted the filing of
                     the motion in the first place, the Court is of the view that a short continuance is
                     warranted so that the Probation Office −− which has yet to receive the material
                     it requires −− may have until January 16, 2020 to complete its draft of the
                     Presentence Investigation Report, and the parties will still have the time
                     contemplated by Fed. R. Crim. Proc. 32 to complete the review process.
                     Therefore, sentencing will be continued until February 20, 2020 at 10:00 am.
                     The Court agrees that given the preparation of a similar financial disclosure
                     report in connection with the bond determination, the defendant should have
                     been able to complete the form in accordance with the schedule originally set
                     by the Probation Officer, and he is hereby ordered to supply the completed
                     form, and all supporting documentation, to the Probation Office by noon on
                     January 2, 2020. Signed by Judge Amy Berman Jackson on 12/20/19. (DMK)
                     (Entered: 12/20/2019)
12/22/2019           Set/Reset Deadlines/Hearings as to ROGER JASON STONE, JR: Sentencing
                     in this case is continued until 2/20/2020 at 10:00 AM in Courtroom 3 before
                     Judge Amy Berman Jackson. The defendant is hereby ordered to supply the
                     completed form, and all supporting documentation, to the Probation Office by
                     12:00 PM (noon) on 1/2/2020. (jth) (Entered: 12/22/2019)
12/22/2019           MINUTE ORDER as to ROGER J. STONE, JR. In light of the Minute Order
                     continuing sentencing until 2/20/2020 at 10:00 AM, it is hereby ORDERED
                     that Sentencing Memoranda from the parties are now due by 2/7/2020. SO
                     ORDERED. By Judge Amy Berman Jackson on 12/22/2019. (jth) (Entered:
                     12/22/2019)
12/24/2019           MINUTE ORDER as to ROGER J. STONE, JR. In light of additional
                     communication from the U.S. Probation Office to the Court, it is ORDERED
                     that the minute order of December 20, 2019 is revised to provide defendant
                     until 12:00 noon on Monday, January 6, 2020 to supply the completed
                     financial form, and all supporting documentation, to the Probation Office. All
                     other aspects of the December 20 minute order remain in unchanged. Signed
                     by Judge Amy Berman Jackson on 12/24/19. (DMK) (Entered: 12/24/2019)
12/26/2019           Set/Reset Deadline as to ROGER JASON STONE, JR: Defendant shall have
                     until Monday, January 6, 2020, at 12:00 PM (noon) to supply the completed
                     financial form, and all supporting documentation, to the Probation Office. (jth)
                     (Entered: 12/26/2019)
01/15/2020   271     NOTICE of Withdrawal by ROGER JASON STONE, JR (Routman,
                     Chandler) (Entered: 01/15/2020)
01/22/2020   273     LETTER IN SUPPORT OF SENTENCING as to ROGER JASON STONE,
                     JR. "Leave to file GRANTED−File as sentencing letter" by Judge Amy
                     Berman Jackson on 1/22/2020. (zed, ) (Entered: 01/23/2020)
01/28/2020   274
                                                                                                           47
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                     LETTER IN SUPPORT OF SENTENCING as to ROGER JASON STONE,
                     JR. "Leave to file GRANTED" by Judge Amy Berman Jackson on 1/28/2020.
                     (zed, ) (Entered: 01/28/2020)
01/31/2020   275     LETTER IN SUPPORT OF SENTENCING as to ROGER JASON STONE,
                     JR. "Leave to file GRANTED" by Judge Amy Berman Jackson on 1/31/2020.
                     (zed, ) (Entered: 02/03/2020)
02/03/2020           MINUTE ORDER as to ROGER J. STONE, JR. The parties are directed to
                     include in their sentencing memoranda any arguments they wish to make
                     concerning the defendant's compliance with the Court's media
                     communications orders 36 149 and conditions of release as modified on
                     February 21, 2019 and July 16, 2019, including, in particular, his compliance
                     during the trial, and on or about November 13−15, 2019. SO ORDERED.
                     Signed by Judge Amy Berman Jackson on 2/3/20. (DMK) (Entered:
                     02/03/2020)
02/05/2020   276     Unopposed MOTION for Extension of Time to extension of time to file
                     sentencing memoranda by ROGER JASON STONE, JR. (Attachments: # 1
                     Text of Proposed Order)(Buschel, Robert) (Entered: 02/05/2020)
02/05/2020           MINUTE ORDER granting 276 defendant's Unopposed Motion for Extension
                     of Time as to ROGER J. STONE JR. It is ORDERED that the parties'
                     sentencing memoranda are due by Monday, February 10, 2020. Signed by
                     Judge Amy Berman Jackson on 2/5/20. (DMK) (Entered: 02/05/2020)
02/10/2020   279     SENTENCING MEMORANDUM by USA as to ROGER JASON STONE,
                     JR (Kravis, Jonathan) (Entered: 02/10/2020)
02/10/2020   280     SENTENCING MEMORANDUM by ROGER JASON STONE, JR
                     (Attachments: # 1 Exhibit Letters of support)(Buschel, Robert) (Entered:
                     02/10/2020)
02/10/2020   281     LETTER IN SUPPORT OF SENTENCING as to ROGER JASON STONE,
                     JR. "Leave to file GRANTED" by Judge Amy B. Jackson on 2/10/2020. (zed,
                     ) (Entered: 02/11/2020)
02/11/2020   282     NOTICE OF WITHDRAWAL OF APPEARANCE by USA as to ROGER
                     JASON STONE, JR. (Zelinsky, Aaron) Modified text on 2/12/2020 (zed, ).
                     (Entered: 02/11/2020)
02/11/2020   283     NOTICE OF WITHDRAWAL OF APPEARANCE by USA as to ROGER
                     JASON STONE, JR (Kravis, Jonathan) (Entered: 02/11/2020)
02/11/2020   284     NOTICE OF ATTORNEY APPEARANCE John Crabb, Jr appearing for
                     USA. (Crabb, John) (Entered: 02/11/2020)
02/11/2020   285     NOTICE OF WITHDRAWAL OF APPEARANCE by USA as to ROGER
                     JASON STONE, JR (Jed, Adam) (Entered: 02/11/2020)
02/11/2020   286     SENTENCING MEMORANDUM by USA as to ROGER JASON STONE,
                     JR (Crabb, John) (Entered: 02/11/2020)
02/11/2020   287     NOTICE OF WITHDRAWAL OF APPEARANCE by USA as to ROGER
                     JASON STONE, JR (Marando, Michael) (Entered: 02/11/2020)
02/12/2020   288
                                                                                                     48
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                     ORDER as to ROGER J. STONE, JR. (REDACTED version of February 5,
                     2020 SEALED Order). Defendant's sealed motion for new trial [Dkt. # 266] is
                     DENIED. The parties are ORDERED to meet and confer and submit under
                     seal by February 18, 2020 proposed redacted versions of defendant's sealed
                     Motion for New Trial and the government's sealed Response to Defendant's
                     Motion for New Trial to be filed on the public docket. The proposed
                     redactions should be consistent with those contained in the redacted, public
                     version of this order. Signed by Judge Amy Berman Jackson on 2/5/20.
                     (DMK) (Entered: 02/12/2020)
02/13/2020   289     MOTION for Leave to Appear Pro Hac Vice Seth Ginsburg Seth Ginsburg
                     Filing fee $ 100, receipt number ADCDC−6826013. Fee Status: Fee Paid. by
                     ROGER JASON STONE, JR. (Attachments: # 1 Declaration, # 2 Text of
                     Proposed Order)(Buschel, Robert) (Entered: 02/13/2020)
02/13/2020           MINUTE ORDER granting 289 Motion for Leave of Seth Ginsburg to Appear
                     Pro Hac Vice only upon condition that the lawyer admitted, or at least one
                     member of the lawyer's firm, undergo CM/ECF training, obtain a CM/ECF
                     username and password, and agree to file papers electronically. No court
                     papers will be mailed to any lawyer. Counsel should register for e−filing via
                     PACER and file a notice of appearance pursuant to LCrR 44.5(a).




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

       v.                                           1:19-cr-00018-ABJ

ROGER J. STONE, JR.,

                        Defendant.
__________________________________

                                    NOTICE OF APPEAL

Appellant:            Roger J. Stone
                      1045 NE 18th Avenue, Unit 101
                      Fort Lauderdale, FL 33304

Appellant’s Attorney: Seth Ginsberg
                      Attorney at Law
                      299 Broadway, Suite 1405
                      New York, New York 10007

Offense: 18 U.S.C. § 1505; 18 U.S.C. § 1001(a)(2); 18 U.S.C. § 1512(b)(1)

Concise statement of judgment or order, giving date, and any sentence: (1) Judgment in a
Criminal Case, entered February 20, 2020, imposing sentence on Count One: 40 months
incarceration; Counts Two-Six: 12 months incarceration to run concurrent to Count One; Count
Seven: 18 months incarceration to run concurrent to Count One; 24 months supervised release;
and a fine of $20,000.00. (2) Order and Memorandum Opinion, entered April 16, 2020, denying
defendant’s amended motion for new trial [Dkt. # 313].

Name of institution where now confined, if not on bail: Defendant Remains on Bail

I, Roger Stone, hereby appeal to the United States Court of Appeals for the District of Columbia
from the above-stated judgment and order, the sentence imposed, and all underlying orders.

 Date: April 30, 2020                                                       Roger J. Stone
                                                                            APPELLANT
 FPD, No Fee ________
 CJA, No Fee _________                                                    /s/ Seth Ginsberg
 Paid USDC Fee _x______                                                   ATTORNEY
 Paid USCA Fee _______
 Does counsel wish to appear on appeal? Yes
 Has counsel ordered transcripts? Yes
 Is this appeal pursuant to the 1984 Sentencing Reform Act? Yes, in part.




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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on April 30, 2020, I electronically filed the foregoing with the

Clerk of Court using CM/ECF and thereby served it upon all parties in the action.


                                                    /s/ Seth Ginsberg
                                                    Seth Ginsberg
                                                    Attorney at Law
                                                    299 Broadway, Suite 1405
                                                    New York, New York 10007
                                                    917-885-3375
                                                    srginsberg@mac.com




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)

                                             ORDER

       Defendant’s amended motion for new trial [Dkt. # 313] is hereby DENIED for the reasons

set forth in the memorandum opinion issued on this date. In accordance with the Judgment entered

on February 20, 2020 [Dkt. # 328], the conviction is final, and any appeal must be filed within

fourteen days of the date of this order. The defendant must surrender for service of his sentence

at the institution designated by the Bureau of Prisons at such time as he is notified by the

U.S. Probation or Pretrial Services Office, but no earlier than fourteen days after the date of this

order. Pursuant to 18 U.S.C. §3143(a)(2), the defendant remains on bond and he may voluntarily

surrender. Also, as of the date of this order, the defendant and his attorneys are hereby released

from the media communication order of February 15, 2019 [Dkt. # 36], the minute order of

February 21, 2019, and the order of July 17, 2019, [Dkt. # 149], although all other Court orders,

including those related to the confidentiality of materials, and all other conditions of the

defendant’s release, remain in place.




                                              AMY BERMAN JACKSON
                                              United States District Judge
DATE: April 16, 2020



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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             ) Crim. Action No. 19-0018 (ABJ)
                                     )
ROGER J. STONE, JR.,                 )
                                     )
                  Defendant.         )
____________________________________)


                                  MEMORANDUM OPINION

                                        INTRODUCTION

        On November 15, 2019, the jury returned a unanimous verdict in the case of United States
v. Roger J. Stone. It found the defendant guilty of seven crimes: one count of obstructing a
Congressional investigation, in violation of 18 U.S.C. § 1505; five separate counts of making a
false statement to the government in violation of 18 U.S.C. § 1001; and tampering with a witness,
in violation of 18 U.S.C. § 1512(b)(1).

        Once the verdict had been returned, the jurors were officially released from the prohibition
against discussing the case that had been in effect during the trial. A week later, one of the jurors
published a column in the Washington Post describing his experience.

               Like jurors everywhere, none of us asked for this responsibility but each of
               us accepted it willingly. We served the proposition that everyone is entitled
               to a fair trial and that everyone is innocent until proven guilty.

                                              *       *      *

               The evidence in this case was substantial and almost entirely uncontested.
               . . . We listened carefully to the testimony of a series of witnesses and
               carefully examined every element of every charge and its defense, and we
               unanimously agreed that each had been proved beyond a reasonable doubt.

                                              *       *      *




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               I am proud of our democratic institutions; their value was reaffirmed for me
               because of the process we went through and the respect we accorded it. I
               am proud that a defendant is innocent until proven guilty. I am proud that
               we took Roger Stone’s rights seriously and that we treated the government’s
               assertions skeptically. I am proud of my fellow jurors for respecting each
               other and for challenging each other until we were all convinced beyond a
               reasonable doubt. 1

        Approximately two months after the verdict was returned, the U.S. Probation Office
completed the presentence investigation, and shortly after that, the parties’ sentencing submissions
were due. On February 10, 2020, the United States, represented by Timothy Shea, the United
States Attorney for the District of Columbia, filed a sentencing memorandum. It bore the names
of the four Assistant United States Attorneys and Special Assistant United States Attorneys who
prosecuted the case, and it was approved by their supervisors, up to and including the newly
appointed U.S. Attorney himself. 2 The memorandum, in accordance with existing Department of
Justice policy, advocated in favor of a sentence within the advisory U.S. Sentencing Guidelines
range, which was seven to nine years. 3

         That evening, the President of the United States commented on Twitter: “This is a horrible
and very unfair situation. The real crimes were on the other side, as nothing happens to them.
Cannot allow this miscarriage of justice!” 4 The next day, reportedly at the direction of the
Attorney General of the United States, 5 the United States Attorney filed a “Supplemental and
Amended Sentencing Memorandum,” advancing the position that a Guidelines sentence “could be
considered excessive and unwarranted,” and that a sentence of incarceration “far less” than the
Guidelines range would be reasonable under the circumstances. The pleading was signed by the
Acting Chief of the Criminal Division of the U.S. Attorney’s office; each of the members of the
trial team had either withdrawn from the case or resigned from the Office altogether. The President




1      The Washington Post (Nov. 22, 2019, 3:42 PM) https://www.washingtonpost.com/
opinions/i-was-a-juror-in-roger-stones-trial-we-took-his-rights-seriously/2019/11/22/234d7df0-
0d46-11ea-97ac-a7ccc8dd1ebc_story.html.

2      Tr. of Sentencing Proceedings, Feb. 20, 2020 [Dkt. # 334] (“Feb. 20 Sent. Tr.”) at 44–46.

3      Feb. 20 Sent. Tr. at 47.

4      Donald Trump (@realDonaldTrump), Twitter (Feb. 10, 2020, 10:48 PM) https://twitter
.com/realDonaldTrump/status/1227122206783811585.

5      See, e.g., ABC News (Feb. 14, 2020, 10:21 AM), https://abcnews.go.com/Politics/
timeline-extraordinary-turn-events-roger-stone-case/story?id=68921601.


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continued to criticize the prosecutors in a series of additional public statements and tweets as the
day went on. 6

        In the wake of those extraordinary developments, another juror spoke out. She expressed
her respect and support for the prosecution team on Facebook, and she attached a copy of the first
juror’s opinion piece as well. The juror identified herself as the foreperson, and she released her
post, along with her name, to the public. This prompted numerous people to search the internet
for publicly available information about the author. It didn’t take long: they came across several
Facebook and Twitter posts that mentioned the Special Counsel’s investigation and several that
included negative comments about President Trump, and two days later, the defendant filed this
motion.

       Defendant contends that he is entitled to a new trial because this “newly discovered
evidence” reveals that the foreperson answered questions falsely on her written juror questionnaire
and when she was questioned in the courtroom, and that by doing so, she concealed the fact that
she harbored bias against him. He also seeks a new trial based on an allegation that the juror
engaged in misconduct during deliberations, tainting the verdict.

        It is important to emphasize that the question before the Court is not whether the defense
would have taken a different approach towards the juror if had it seen the posts earlier. The trial
is over, and a verdict – which was based largely on the defendant’s own texts and emails, and was
amply supported by this undisputed evidence – has been returned. At this point, it is incumbent
upon the defendant to demonstrate that the juror lied, and that a truthful answer would have
supplied grounds for the Court to strike her for cause. Also, a defendant seeking a new trial must
establish that the information presented in his motion could not have been discovered earlier
through the exercise of due diligence. Only if those criteria are met would one then assess whether
the lack of the newly discovered evidence affected the conviction.

        The defendant has not shown that the juror lied; nor has he shown that the supposedly
disqualifying evidence could not have been found through the exercise of due diligence at the time
the jury was selected. Moreover, while the social media communications may suggest that the



6      See, e.g., The White House (Feb. 11, 2020, 4:13 PM), https://www.whitehouse.
gov/briefings-statements/remarks-president-trump-signing-ceremony-s-153-supporting-veterans-
stem-careers-act/ (“They ought to be ashamed of themselves . . . . I think it’s a disgrace.”); Donald
Trump (@realDonaldTrump), Twitter (Feb. 11, 2020, 6:45 PM), https://twitter.com/realdonald
trump/status/1227423392078409728?lang=en (“Who are the four prosecutors (Mueller people?)
who cut and ran after being exposed for recommending a ridiculous 9 year prison sentence to a
man that got caught up in an investigation that was illegal, the Mueller Scam, and shouldn’t ever
even started? 13 Angry Democrats?”); id., Twitter (Feb. 11, 2020, 10:58 PM) (“Prosecutorial
Misconduct?”); id., Twitter (Feb. 12, 2020 4:06 AM), https://twitter.com/
realDonaldTrump/status/1227564604177469441 (“Two months in jail for a Swamp Creature, yet
9 years recommended for Roger Stone (who was not even working for the Trump Campaign).
Gee, that sounds very fair! Rogue prosecutors maybe? The Swamp!”).


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juror has strong opinions about certain people or issues, they do not reveal that she had an opinion
about Roger Stone, which is the opinion that matters.

        The assumption underlying the motion – that one can infer from the juror’s opinions about
the President that she could not fairly consider the evidence against the defendant – is not supported
by any facts or data and it is contrary to controlling legal precedent. The motion is a tower of
indignation, but at the end of the day, there is little of substance holding it up. Therefore, the
request for a new trial will be denied based on the facts and the case law set out in detail in the
body of this opinion, and which are summarized briefly here.

        Given the publicity that surrounded this prosecution, 120 citizens of the District of
Columbia were summoned to the courthouse almost two months before the trial was scheduled to
begin. They were asked to complete a nineteen-page written questionnaire that the prosecutors
and defense attorneys had drafted together. It called for basic information about employment,
legal training, and prior involvement in court proceedings. It also included a series of questions
designed to uncover any knowledge or opinions about the allegations and the participants in the
case, and to explore whether the jurors could be fair and impartial to both sides.

       Defendant complains in his motion that we “now know” a great deal about the juror, but
much of it – beginning with the juror’s name – was plain on the face of the written questionnaire
that was in his lawyers’ hands as of September 12, 2019.

       Indeed, at the hearing on the motion for new trial, counsel for the defendant revealed that
there was very little that even he would contend was false about the foreperson’s answers. When
pressed to identify a specific lie, Stone’s attorney pointed only to those answers in which the juror
expressed her subjective belief that she could be fair to the defendant, and to one other question:
the one concerning public commentary on certain topics.




        The defendant has not shown that this answer was false. Notably, the juror did not check
either “yes” or “no,” and she acknowledged the possibility that she may have shared an article in
a Facebook post. So what the defense has to prove is that she lied when she said she was “not
sure.”


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        Defendant has gathered a collection of social media messages into a composite exhibit in
support of his motion, but only a small number of them bear on the juror’s answer to Question 23.
With respect to the first part of the question, whether the juror had commented publicly about the
defendant, Stone’s motion points to exactly two social media entries from the eight-month period
between Stone’s arrest and the completion of the questionnaire – or any time before – that relate
to the defendant in any way. On January 25, 2019, nine months before she was summoned to the
courthouse, the foreperson posted a link to a lengthy news article published by National Public
Radio. It summarized all of the criminal cases that had been brought by the Office of Special
Counsel against a large number of people, and it included a straightforward summary of the
indictment of Roger Stone, which had been unsealed that morning. And on January 30, 2019, the
foreperson retweeted a post written by someone else, who found it ironic that it was the arrest of
Roger Stone, and not eight African-Americans whose cases had also received news coverage, that
prompted discussion about “reviewing use of force guidelines.”

        These facts are not at all inconsistent with the juror’s written answer in September 2019
that she “may have shared” an article publicly. While the NPR article was transmitted along with
a wry comment, neither post expresses any opinion about Stone or the merits of the charges against
him.

       Defendant’s motion identifies only one social media post about the second topic in the
question: the House Permanent Select Committee investigation into Russian interference. It was
dated March 22, 2018, a year and a half before the completion of the questionnaire, and it
forwarded a report that the committee had closed its investigation.

        Defendant supplies four other posts or retweets that touch upon the Special Counsel’s
investigation in general. But the juror did not deny sharing observations online. In light of that,
and given her sincere and credible sworn testimony that at the time, she understood the question
to be focused on the investigation of Roger Stone in particular, the defense has not shown that her
“maybe” answer was intentionally false.

       The defendant’s composite exhibit also includes a number of posts between December
2008 and the completion of the juror questionnaire in 2019 that reflect opinions about Donald
Trump or the actions of his administration. Two include or re-publish comments about possible
racism on the part of the President or his supporters for failing to disavow those expressing extreme
views at his rallies. These do not prove that the juror’s statement that she could not remember
what she had shared was false, because Question 23 did not inquire about posts about the President.

        The posts do not contradict the juror’s answers to any other questions either. During the
individual questioning of potential jurors on November 5, the Court asked the juror what she had
read or heard about the defendant. She responded:

               So nothing that I can recall specifically. I do watch sometimes paying
               attention but sometimes in the background CNN. So I recall just hearing
               about him being part of the campaign and some belief or reporting around
               interaction with the Russian probe and interaction with him and people in
               the country, but I don’t have a whole lot of details. I don’t pay that close
               attention or watch C-SPAN.


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The defense complains that the juror’s description of her level of interest in the last sentence of
this answer was disingenuous, but there is nothing about the evidence showing that the juror
periodically issued political posts, or about any particular post, that indicates that she was not being
truthful about her state of mind.

        More important, none of the social media posts establish that the juror’s assessment of
whether she believed she could judge Roger Stone fairly were false. Other than the January 2019
post forwarding the article that includes information about Stone, and the retweet concerning the
public reaction to the circumstances surrounding his arrest, the posts in the composite exhibit do
not even mention Stone, and neither of those posts expresses any point of view about his guilt or
innocence.

        Defendant insists, though, that the posts that relate to the President imply that the juror had
a negative attitude towards Roger Stone, and that those communications, combined with the posts
about the Special Counsel’s investigation, demonstrate that she knew she could not be impartial in
his case, and she lied when she said she could be fair.

        Stone’s suggestion that posts expressing opposition to President Trump betray a bias
against him is not supported by any evidence or by the case law. There is no evidence in the record
that the general public, democrats in general, or this juror in particular knew any details about
Roger Stone – what he had done before, what role he played in the campaign, or what his views
were on any particular issue. The juror simply knew that he’d been charged.

        In addition, even if an opinion about the President should be, as Stone claims, automatically
applicable to him by extension, the foreperson’s views were certainly not hidden at the time of
jury selection. The juror’s personal affiliation with Democratic politics was set forth in her written
answers. She said straight out that she had opinions about the “officials” on the list of people who
might be mentioned in the case, and Donald Trump was the most prominent, if not the only,
“official” named. So the exhibits introduced by the defendant are consistent with, and do not
discredit, the juror’s responses on the questionnaire. This case does not present the extreme
situation where a prospective juror has a personal relationship to some aspect of the litigation, or
to a participant in the case, that would make it highly unlikely that she could remain impartial. For
these reasons, the evidence falls far short of defendant’s sensational rhetoric, and the defense has
not shown that the foreperson’s answers during jury selection were false.

        There is a second reason why Stone’s motion fails: to the extent one could consider any
of the social media posts to be inconsistent with the juror’s questionnaire, they do not warrant a
new trial because they do not meet the legal test for something that has been “newly discovered.”
The information in the motion could have easily been found with the exercise of due diligence: by
posing a few pointed follow-up questions in person, or by using the same search engines that
quickly brought the public social media posts to light the day the juror identified herself to the rest
of the world. The evidence the defense claims was critical was never “concealed” – it was a few
clicks of a mouse away.

       At the time of the trial, though, the defense made a strategic choice not to look for social
media information. None of the seven lawyers or the two jury consultants on the defense team
performed the rudimentary Googling that located this set of Facebook and Twitter posts: not


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during the two months they were in possession of the entire set of jury questionnaires with the
jurors’ names on them; not during the four to five days before trial when they knew the exact order
in which the members of the jury panel would be questioned and seated as jurors; not during the
two days of jury selection; and not overnight after the twelve jurors and two alternates had been
picked and instructed to return the next morning to be sworn.

         Plus, the defendant did not ask the juror about her use of social media when he had the
chance. The foreperson’s questionnaire put the defense on notice of the particular media outlets
from which she received news and information, the commentators she favored, her personal
participation in electoral Democratic politics as a Democrat, the fact that she received information
from Facebook and Twitter, and – significantly – the fact that she “shared” on those platforms
herself. She candidly set forth the fact that she followed the Mueller investigation “somewhat
closely,” that she had read or heard something about the case, and that she indeed had opinions
about the “officials” on the list of names that might come up during the trial. The Court stated on
the morning the jurors returned to court that opinions about the administration expressed in the
written answers would not be automatically disqualifying. But it specifically advised the lawyers
that those opinions were perfectly appropriate topics for individual follow-up, and that motions to
strike for cause could be renewed after the jurors had been questioned in person in the phase of the
trial called voir dire. The Court did not limit the lawyers’ questioning of the jurors in any way,
and Stone’s lawyers had a full and fair opportunity to explore every juror’s potential bias. Yet the
defendant asked the juror who later was selected by the jury to be their foreperson very few
questions about any of these issues, and he cannot be heard to complain now that the information
about her views was not or could not have been obtained before.

        During the individual voir dire on November 5, the juror answered questions posed by both
the Court and the lawyers, and she was warm, open, and frank. The Court found her to be
extremely credible, and the defense attorneys who had the opportunity to assess her demeanor and
friendly presence in the courtroom chose to ask her only a handful of additional questions. Based
on what they had read and what they observed, they did not move to strike the juror for cause, and
they did not use a peremptory challenge to strike her from the jury pool. All of this suggests that
they too found her to be believable, or that they had identified some other information in her
questionnaire that made her an attractive juror for the defense, and they made a strategic decision
to forego asking her more questions about Facebook or her opinions about Donald Trump.

        As for the second basis for the motion for new trial – juror misconduct – defendant contends
that the juror did not comply with the Court’s instructions because her social media posts reveal
that during the period between the completion of the questionnaire and the verdict, she was aware
of some developments in the news concerning the President or politics. But there was no
prohibition against reading or discussing news in general or even news about the President: the
jurors were told to turn away from any publicity concerning the case. For that reason, the defense
conceded at the hearing that the juror did not transmit any posts during the trial in violation of the
Court’s instructions not to communicate about the case.

        The defense posits, though, that since the juror was active on social media in general, she
must have been exposed to news accounts of the trial during her jury service. And according to
the defendant, since one can conclude that she has been untruthful, one can also assume that she
“undoubtedly” read these news accounts, and shared the information she obtained with the other

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jurors, all in violation of the Court’s instructions. The defendant points to absolutely no evidence
– not one affidavit from one juror or one social media post – that supports this speculative
accusation, and it was questionable whether he had come forward with enough evidence to warrant
a hearing on this issue. But given the unique circumstances of the case, and in an abundance of
caution, the Court decided to permit the defendant to question several jurors, over the
government’s objection.

       The hearing, as the defense predicted, was clarifying.

        The Court permitted each side to choose one juror to testify, and Juror B, the one
handpicked by the defense lawyers and the defendant after they were given the opportunity to
confer, testified as follows:

               THE COURT: Did you have any concerns at the time you rendered your
               verdict about whether you and the jury had engaged in a full and fair
               consideration of the evidence?

               JUROR B: We had a problem with – well – I don’t know how to say this.
               We all agreed on – most of us agreed on our answer. We already said that,
               you know, he was guilty. But it was the foreman . . . it was the foreman that
               insisted that we examine question 3, examine charge 3 a little more.

               THE COURT: Okay. There was a count that you sent out some notes about.
               Is that the one that the foreperson asked you to be more careful?

               JUROR B: Yes, that’s the one. We needed to examine that a little more
               and read the transcript, you know, find out more evidence.

               THE COURT: So it was the foreperson who insisted that that level of
               attention be paid to that count, even though some of you were ready already
               to decide?

               JUROR B: Yes. 7

       While it was the defendant who requested a hearing on this issue, the defense declined to
ask Juror B – or Juror A – any questions at all. The jurors’ accounts stand uncontested, and they
were consistent with the record in the case, which includes two notes, signed by the foreperson,




7       Tr. of Mot. Hr’g, Feb. 25, 2020 [Dkt. # 347] (PUBLIC) (“Mot. Hr’g Tr.”) at 81–82.
Juror A, selected from the group by the government, similarly identified the foreperson as one of
the voices in the jury room for taking their time and being attentive to the government’s burden of
proof. Mot. Hr’g Tr. at 77.




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asking careful questions about the intricacies of the counts. So the portion of the motion for a new
trial based on misconduct will be denied because there is no evidence of any misconduct.

        During jury selection, the defense made a decision that it would not ask to strike the juror
for cause, and that it would choose to seat her on the jury by foregoing the use of one of its
peremptory strikes. The other jurors’ testimony at the hearing supports a conclusion that any
judgment made by the defense at the time – based on all of the information in the jury
questionnaire, the jury consultants’ input, the combined experience and instincts of all of the
members of the trial team, and the foreperson’s answers and sincere demeanor at voir dire – was
prescient and sound. The foreperson held the government to its burden of proof, and the foreperson
ensured that the jury took its time and considered each count individually in light of the evidence
in the case, the jury instructions, and the presumption of innocence.

          For all of these reasons, then, as explained further below, the motion for a new trial will be
denied.

                                     PROCEDURAL HISTORY

I.        Jury Selection

       A.     Jury Selection

              1. Juror Questionnaires

          On January 24, 2019, the grand jury returned an indictment charging defendant with

obstructing an investigation conducted by the U.S. House of Representatives Permanent Select

Committee on Intelligence (“HPSCI”), giving false testimony, and tampering with a witness in

that investigation. Indictment [Dkt. # 1]. At that time, the matter was being prosecuted by the

Office of the Special Counsel (“OSC”), led by Robert S. Mueller III. Given the possibility that

members of the jury pool might have already received information or formed opinions about the

proceedings before HPSCI, the OSC, the defendant, or the charges in this case, the Court decided,

with the concurrence of the parties, to utilize a written jury questionnaire to supplement and

facilitate the jury selection process. See Scheduling Order [Dkt. # 65] at 1–2. Counsel for both

sides worked together to submit a joint proposal, see Notice of Filing of Proposed Written Jury




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Questionnaire [Dkt. # 184], 8 and the Court based the final questionnaire on the parties’ submission.

See Juror Questionnaire.

       On September 12, 2019, 120 potential jurors, including the juror who later became the

foreperson, were summoned to the courthouse to complete the questionnaire. See Tr. of Jury

Questionnaire Proceedings, Sept. 12, 2019 [Dkt. # 356] (“JQ Proceedings Tr.”) at 6–9. They were

told that the questionnaire would aid in selecting a jury for the trial in United States v. Roger Stone,

which was set for November. Id. at 9. They were asked to stand, raise their right hands, and

swear or affirm that the answers they were about to give would be true and accurate to the best of

their knowledge. Id. at 12.

       The jurors were instructed by the Court:

               During the trial your contact with other people will not be restricted. But
               beginning now and continuing until you have been excused from further
               service by the Court, you will not be permitted to talk about the case with
               anyone or to read, watch or listen to any press coverage the case might
               receive . . . . [F]rom this day forward, you may not talk or communicate
               about this case or your potential jury service with anyone else, including
               your own family . . . . The need to have a fair trial also means that from this
               point onward you must not read anything whatsoever about this case. Please
               do not go home and search the internet or consult newspapers or magazines
               or any other news or social media source to find out what it’s all about or
               who these people are. And you should try to avoid receiving any
               information about the case from news media. If it comes to your attention
               inadvertently, which it may, please click on something else or ignore the
               headline . . . .




8       The Notice stated that there was only one question about which the parties disagreed. The
defense proposed to ask the jurors which candidate they voted for in the 2016 presidential election,
the government objected, and the question was not included in the questionnaire. See Proposed
Juror Questionnaire [Dkt. # 184-1] at 22. The final questionnaire jointly proposed by the parties,
see id. at 14, and approved by the Court did ask if the jurors worked or volunteered for any 2016
presidential campaign, see Juror Questionnaire [Dkt. # 247] at 13; the parties did not ask whether
potential jurors ever made financial contributions to any political candidate. See generally
Proposed Juror Questionnaire; Juror Questionnaire.


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JQ Proceedings Tr. at 7–11. The written instructions appended to the questionnaire included a

similar admonition:

                From this day forward, until you have been formally excused from service,
                you are instructed not to communicate in person, in writing, or
                electronically about this case or the questionnaire with anyone, including
                your family and fellow jurors. Also, you should not go online or look at
                any source to learn more about the charges, the defendant, or any participant
                in the case.

Juror Questionnaire at 1.

         The potential jurors completed the questionnaires in the courtroom. It covered the jurors’

personal backgrounds, experience with the law and with law enforcement, and their familiarity

with the case and the individuals involved. See Juror Questionnaire. Its purpose was “to determine

whether prospective jurors can decide this case fairly, based solely on the evidence presented at

trial and the instructions on the law given by the judge,” id. at 1, and it posed a number of questions

specifically designed to probe potential bias. See id., questions 29–30, 34, 48–51, 56.

                  (a) The Foreperson’s Questionnaire Responses

         The questionnaire began with questions calling for personal information such as the juror’s

age, marital status, educational level, and employment. The foreperson’s completed questionnaire

disclosed that she is a senior program officer for a charitable foundation where, as of that time, she

had worked for approximately three years.           See Foreperson’s Juror Questionnaire (“JQ”)

(Attachment A) 5–6 (REDACTED). 9 She stated that she has a “JD/Law” degree, JQ 4, and is

licensed to practice law in Tennessee, where she “served as an attorney Sept 20[ ]–Dec 20[ ].”

JQ 13.




9        The numbers cited after “JQ” refer to the question numbers, not page numbers.


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         Question 14 asked, “[h]ave you or a close friend or family member ever applied for

employment with, was employed by, or received training by any local, state, or federal law

enforcement agency, . . .” and it listed as examples nineteen federal, state, and local law

enforcement or intelligence organizations. JQ 14. The juror responded by identifying one person

who currently works for the FBI in Tennessee and another who formerly worked for the U.S.

Attorney’s Office in Tennessee. JQ 14.

         Question 18 asked:

                Are you currently, or have you ever been, a member or regular participant
                in any civic, social, union, professional, business, fraternal, recreational or
                other community group or charitable organizations?

The juror checked “Yes” and listed:

                •   [Historically Black] sorority [___] – present member of the sorority
                •   Black MBA Association [____], member of Atlanta chapter
                •   Member Urban League Young Professionals; Civic Engagement Chair
                    [____]
JQ 18.

         While the juror had never served as a juror in a trial before, she had been the foreperson of

a federal grand jury that sat for twenty-four months. JQ 19.

         Question 21 asked about the jurors’ sources of news and information, and the foreperson

completed it as follows:




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The juror answered “Yes” to the next question, asking whether she “listen[s] to political

commentators on TV or talk radio,” adding, “not regularly but CNN shows (Anderson Cooper);

MSMBC – Rachel Maddow/Chris Hayes.” JQ 22.

       The questionnaire also asked what the jurors had published on certain topics:

                Have you written or posted anything for public consumption about the
                defendant, the House Permanent Select Committee on Intelligence
                investigation into Russian interference in the 2016 presidential election, or
                the investigation conducted by Special Counsel Robert Mueller?

                [For purposes of this question, writing “for public consumption” includes
                blog posts, articles, or posts on internet sites that are accessible to the
                general public.] 10

JQ 23. The foreperson did not check “Yes” or “No.” In the space provided for elaboration, she

wrote, “I can’t remember if I did, but I may have shared an article on Facebook. Honestly not

sure.” JQ 23.




10      Question 23 did not ask about Facebook, Twitter, or other social media accounts
specifically.


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       In response to the question asking the juror whether she or any close friend or family

member had “ever run for or held a political office in the federal, state, or local government,” she

responded “Yes,” explaining: “I served on the elected school board in Memphis [for eight years].

I ran in the democratic primary for Dist 9 (TN) for the US House of Rep in [____].” JQ 24.

       The next question asked the jurors how closely they followed media reports relating to

investigations into Russian interference in the 2016 election, and they were given four options:

“Very Closely,” “Somewhat Closely,” “Not too closely,” and “Not at all.” JQ 25. The foreperson

checked “Somewhat Closely.” JQ 25.

       Question 26 asked whether potential jurors would be able to avoid reading about or

listening to media reports about the case, including online, and if they could refrain from discussing

the case with fellow jurors or with anyone else through any medium, including online, until the

end of the trial. The foreperson answered “Yes.” JQ 26.

       The questionnaire included a number of questions related to the jurors’ knowledge of the

participants in the trial or the case in general. When asked, “[h]ave you read or heard anything

about the defendant Roger Stone, about any statements made by or attributed to Mr. Stone, or

about this case,” the foreperson wrote: “Yes. Mr. Stone is accused of inappropriate contact [with]

Russian officials in the effort of helping Mr. Trump’s campaign for President.” JQ 27.

       The juror indicated that neither she nor anyone close to her had “any connections” to the

Court, the attorneys involved in the case, or the defendant; nor did she know personally any of the

thirty-one individuals included in a list of “people who may be witnesses in the case or who may

be discussed during the trial.” JQ 28–29. The list included, among others, Julian Assange, Steve

Bannon, Hillary Clinton, Paul Manafort, Richard Gates, and the President, Donald Trump. JQ 29.




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       The next question asked, “[p]lease indicate if you already have an opinion about any of

those individuals, or if the fact that they may be involved in the case would make it difficult for

you to be fair and impartial to both sides.” JQ 30. The juror wrote, “I do have opinions about

some of the officials/people on the list, but they do not make it difficult for me to be fair.” JQ 30.

She also checked “No” in response to whether she had “formed or expressed any opinion about

Mr. Stone, the charges in this case, or about his guilt or innocence in this case.” JQ 34.

       When asked, “[h]ave you or a close friend or family member ever been employed or had

any association or connection with Congress or a congressional committee,” the foreperson

checked “Yes,” explaining: “I ran for Congress in [____].” JQ 31. She also identified two friends

by name who had worked for a former democratic congressman from Tennessee. JQ 31. The

juror stated she had not worked or volunteered for any 2016 presidential campaign, JQ 32, and that

neither she nor any close friend or family member participated in, or had any connection to, a

group that participated in “any investigation or inquiry into the circumstances surrounding Russian

interference in the 2016 presidential election.” JQ 33.

       The questionnaire also inquired about the jurors’ experience with the court and criminal

process. When asked, “[w]ithin the past ten years, have you or a close friend or family member

been the victim of a crime” the juror answered “Yes.” JQ 36. The next question called for more

detail on that subject, and she wrote: “homicide – [a relative] was the victim in [___] – no arrests

were made,” and “assault – [a relative] was accused of assault in [____];” she was arrested and has

been on probation. JQ 37. The foreperson indicated that she felt these family members were

treated fairly by the government agency involved. JQ 38. She also responded that neither she nor

any close friend or family member had been a witness to a crime, or testified in any court

proceeding in the past ten years. JQ 39–40. Question 41 asked, “[w]ithin the past ten years, have



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you or a close friend or family member been arrested for, charged with, prosecuted for, or

convicted of any crime other than a traffic ticket?” She said yes and explained, “My [relative] was

charged and arrested for assault at work.” JQ 41. The relative had been on probation. JQ 41.

Another relative “may have been arrested for drug possession during this time.” JQ 41. When

asked whether she had ever been involved in any legal proceeding in any capacity, the juror

checked “Yes,” explaining that she practiced law for four years more than ten years ago. JQ 45–

46. “I appeared for motions and other legal proceedings.” JQ 46.

       The juror answered “No” to all of the following questions:

               15. Do you have any opinions or beliefs concerning law enforcement
               organizations in general, including the Federal Bureau of Investigation
               (FBI) or the Department of Justice, or the Special Counsel’s Office within
               the Department of Justice, that would affect your ability to evaluate the
               evidence fairly and impartially?

               16. In this case, the United States is represented by the U.S. Attorney’s
               Office for the District of Columbia. The investigation that led to the charges
               in this case was conducted by Special Counsel Robert S. Mueller, III. The
               U.S. Attorney’s Office is, and the Special Counsel’s Office was, a part of the
               U.S. Department of Justice. Is there anything about the fact that the Special
               Counsel’s Office, the U.S. Attorney’s Office, or the Justice Department is
               or was involved in this case that affect your ability to be fair and impartial in
               this case and base your decision solely on the evidence presented and the
               Court’s instructions on the law?

               48. The judge will instruct you that the charges in this case include:
               obstruction of an official proceeding, making false statements, and witness
               tampering. Is there anything about the nature of the charges alone that
               would affect your ability to be fair?

               49. Jurors are the sole judges of the facts. However, the jury must follow
               the principles of law as instructed by the judge. The jury may not follow
               some rules of law and ignore others. Even if the jury disagrees or dislikes
               the rules of law or does not understand the reasons for some of the rules, it
               is their duty to follow them. Do you have any personal beliefs that would
               make it difficult to follow the Court’s legal instructions, whatever they may
               be?




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               51. Do you have any personal reason that makes you want to serve as a
               juror in this case, or do you have any personal interest in the outcome of the
               case?

JQ 15, 16, 48, 49, 51.

       The final questions related to the criminal justice system and legal principles. The jurors

were asked:

               If, during the course of jury deliberations, a fellow juror should suggest that
               you disregard the law or the evidence and decide the case on other grounds,
               would you, as a juror, be able to reject that suggestion and abide by your
               oath to this court to decide the case solely on the evidence and law . . . ?

JQ 50. The foreperson answered “Yes.” JQ 50. The questionnaire concluded:

               Is there anything about this case, the issues, or the people involved in this
               case, or any other reason that has not be been asked about in any other
               question, that leads you to believe that you could not be completely fair to
               both the defendant, Roger Stone, and the U.S. Government in this case?

JQ 56. The juror answered “No.” JQ 56.

       Each juror was required to attest to the truth of his or her answers on the last page.

               By signing below, I hereby declare under penalty of perjury that all of the
               answers to the above questions are true and correct to the best of my
               knowledge and belief. I have not discussed my answers with others or
               received assistance in completing the questionnaire. I have answered all of
               the above questions myself.

Questionnaire at 20. This “certification” page included a line for a handwritten signature, a line

with the instruction, “[p]rint your full name here,” and a line for the date. Id. The foreperson’s

questionnaire bears her signature and the September 12, 2019 date, and the printed name is entirely

legible. See id.

                   (b) Transmission of the Completed Juror Questionnaires to Counsel

       After the potential jurors had finished writing, they handed the forms to the Deputy

Courtroom Clerk. One of the Assistant U.S. Attorneys on the prosecution team picked up the

completed questionnaires from the Deputy. Mot. Hr’g Tr. at 5–6. The government made copies

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of the questionnaires that day and returned the originals to the Deputy Courtroom Clerk. Id. at 11.

Pursuant to an arrangement agreed to by the lawyers, the government then transmitted the

questionnaires to defense counsel electronically. Id. at 6, 10.

       The completed questionnaires, which included the signature pages, were scanned as

individual PDF files and saved by juror number onto a secure share drive maintained by the U.S.

Attorney’s Office. Mot. Hr’g Tr. at 6–7. Each file was then uploaded to a program used by the

office to share discovery and other documents with counsel in its cases, and counsel for the

defendant was notified that day that the questionnaires were available to retrieve. Id. at 6–7, 9–

10; Gov’t Hr’g Ex. 6 (Sept. 12, 2019 email from Assistant U.S. Attorney Kravis to defense attorney

Grant Smith confirming the availability of the files). 11

       Smith downloaded the questionnaires the following day, September 13, 2019, including

the foreperson’s completed juror questionnaire. Mot. Hr’g Tr. at 10. With that, the defense team

had her answers and her full name. See id. at 8 (“THE COURT: And you don’t contest that you

received the signature page with not only her signature but her name printed legibly on page 20?

[DEFENSE COUNSEL]: That’s correct, Your Honor.”); see id. at 10, 12.

       Everyone on the defense team – the six attorneys who had entered appearances in the case,

at least two additional attorneys who had not entered appearances, two jury consultants who had

been retained by that time, and Stone himself – had access to the questionnaires. See Mot. Hr’g

Tr. at 29. The jury consultants were tasked with reviewing the completed questionnaires and

providing their thoughts about “which jurors would be favorable to the defense.” See id. at 29, 31.




11     A list of the exhibits presented by the parties at the February 25, 2020 motions hearing
appears on the docket. See Exhibit Lists [Dkt. # 353].


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Although defense counsel assumed the jury consultants had internet access, they were not

specifically directed to conduct internet research on the potential jurors. Id. at 31 (“[DEFENSE

COUNSEL]: There were costs associated and logistics associated with it. They don’t particularly

do it themselves, and it just didn’t happen.”).

            2. Requests to Strike Jurors for Cause

       The parties were given the opportunity to move to strike prospective jurors for cause before

trial based solely upon their written answers to the questionnaire. See Scheduling Order at 2; Gov’t

“For Cause” Juror Strikes [Dkt. # 208] (SEALED); Def.’s “For Cause” Juror Strikes [Dkt. # 209]

(SEALED) (“Def.’s Strike List”).       In accordance with the scheduling order, the defendant

identified fifty-four jurors on September 17, 2019, and the foreperson was not included on his list.

See Def.’s Strike List.

       On September 18, 2019, upon consideration of the parties’ motions and its own review of

the written responses, the Court struck thirty-eight of the potential jurors for cause, all of whom

had been among those identified by the defendant. Compare Order [Dkt. # 211] (SEALED)

(“Sept. 18 Order”) with Def.’s Strike List. 12 Neither party had asked that the foreperson be

removed, and the Court saw nothing in her completed juror questionnaire that warranted her

removal, so she was not included in the order. See Sept. 18 Order.

       On November 4, 2019, the day before the start of individual voir dire, the defense moved

the Court to reconsider its rulings with respect to nine of the jurors who were permitted to remain

in the jury pool, and it renewed its request that those jurors be removed for cause. See Def.’s Mem.




12     Sixteen potential jurors survived defendant’s motion to strike and remained in the jury
pool, but none of them ended up serving as either jurors or alternates.


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on Jury Selection [Dkt. # 249] (SEALED). 13 The defendant did not include the foreperson or

move to strike her this time either. See id.

            3. The Jury Panel Sheet

       Trial was scheduled to begin on November 5, 2019, and by virtue of the strikes for cause,

the list of potential jurors had been reduced to eighty-two names. Since the jurors had already

completed written questionnaires, there was no need to pose the usual set of voir dire questions to

the group as a whole. Instead, the procedure to be followed was that the prospective jurors would

receive some preliminary instructions, be sworn, and then be excused from the courtroom to be

brought back one at a time in for follow-up questioning. Counsel had been advised previously that

the Court would seat the potential jurors in the courtroom and question them individually in the

order they appeared on a document prepared by the Jury Office called a Jury Panel Sheet. 14

Counsel, therefore, understood that the potential jurors appearing at the top of the list were more

likely to be seated on the jury than those appearing at the end of the list unless they were struck

for cause. See Mot. Hr’g Tr. at 18–19. 15




13    The Court later granted the motion as to two of the nine jurors, Tr. of Jury Trial, Nov. 5,
2019, Morning Session [Dkt. # 294] (“Nov. 5 A.M. Tr.”) at 24–25, and none of the other seven
who remained on the panel served as jurors during the trial.

14      The Jury Panel Sheet does not list potential jurors alphabetically or sequentially by juror
number; they appear in a random order. Mot. Hr’g Tr. at 18–19; see Gov’t Hr’g Ex. 4 (Jury Panel
Sheet).

15      See also Mot. Hr’g Tr. at 28 (“THE COURT: And you understood the significance of the
order from the document that I had given attorneys for both sides about my criminal voir dire
procedures where I explained that the jurors were going to be seated in the courtroom in the order
of their jury numbers; isn’t that right? [DEFENSE COUNSEL]: That’s right. THE COURT:
And that’s why both you and the government wanted to get the panel list before the trial if you
could? [DEFENSE COUNSEL]: Right.”).


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        On the afternoon of October 31, 2019, in response to a request from the lawyers, the Court

agreed to make the order established by the Jury Panel Sheet available to counsel. See Mot. Hr’g

Tr. at 20. They could not photocopy the list, but they were permitted to view it and write down

the jurors’ numbers in the order in which they would appear. Id. at 19–21; see Hr’g Ex. 8 (Oct.

31, 2019 email from Deputy Courtroom Clerk to counsel for the parties). Between that date and

November 5, by agreement of the parties, an attorney for the government came to the courthouse

to view the Jury Panel Sheet, and he transmitted a handwritten list of the juror numbers in order to

defense counsel. Id. at 21–24; id. at 27; see Gov’t Hr’g Ex. 9 (handwritten list of potential jurors

in order presented on the Jury Panel Sheet). The foreperson appeared on the first page of the three-

page list, and she was the fourteenth of the eighty-two potential jurors listed. See Jury Panel Sheet

at 1.

        B.   Individual Voir Dire

        On November 5, 2019, the jurors and the parties appeared in court for individual voir dire,

and counsel received paper copies of the Jury Panel Sheet. Mot. Hr’g Tr. at 14, 27–28. Before

questioning began, the Court granted defendant’s motion for reconsideration in part and struck two

of the jurors identified in his November 4 memorandum, leaving eighty potential jurors. See Nov.

5 A.M. Tr. at 23–24.

        The Court then explained why it denied defendant’s motions to strike other prospective

jurors based on their written questionnaire responses alone.

               I’ve reviewed the first set of requests of strikes very carefully.

               I struck those individuals who expressed the fact that they had an opinion
               about the defendant or the charges. The mere fact that someone expressed
               an opinion about the president alone is not a basis, to me, to assume that
               they could not be fair, particularly if they indicated that they could be,
               although it certainly [is] grist for follow-up questions.



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                And even those who indicated they’d heard something about the defendant
                or the case, that alone wasn’t enough for me to automatically assume they
                needed to be struck for cause. Again, I think it’s grist for follow-up
                questions. . . .

                I believe that the defense has assumed bias that has not yet been shown on
                the part of all those people, and that more information and more follow-up
                questions are needed before we can determine that these people should be
                excused for cause.

                So, the fact that some people haven’t, based on their questionnaires, is
                without prejudice to any motion you may file after we’ve had an opportunity
                to explore potential bias in the courtroom and hear what they have to say.

Nov. 5 A.M. Tr. at 23–24. The Court underscored the importance of the exercise the lawyers were

about to undertake and reiterated that it would remain open to renewed motions after more

questions had been asked. Id. at 25 (“THE COURT: I don’t believe working for the government,

having an opinion about the president, or having heard something about the case, in and of itself,

means that the person is biased against this defendant on these charges, and we will ask them

follow-up questions and we will see.”).

         At that point, individual voir dire commenced, with the Court and counsel for the parties

asking potential jurors questions in open court but outside of the presence of the rest of the panel. 16

See generally id.; Tr. of Jury Trial, Nov. 5, 2019, Afternoon Session [Dkt. # 295] (“Nov. 5 P.M.

Tr.”).

             1. The Court’s Questioning of the Foreperson

         As with all of the potential jurors, the Court began the individual voir dire of the foreperson

by asking its own questions.




16     The jury consultants were not present in the courtroom for the individual voir dire. In
addition to the defense attorneys of record, there were two lawyers present who had not entered
appearances in the case. According to counsel for Stone, they “may have given their thoughts and
comments” to the defense team at that time. Mot. Hr’g Tr. at 30.

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     THE COURT: We’ve had the opportunity to review your questionnaire but
     I do have a few follow up questions.

     PROSPECTIVE JUROR: Okay.

     THE COURT: I understand that you do have a law degree; is that correct?

     PROSPECTIVE JUROR: Yes.

     THE COURT: Are you practicing law now?

     PROSPECTIVE JUROR: No.

     THE COURT: Have you ever practiced criminal law?

     PROSPECTIVE JUROR: No, not criminal law.

     THE COURT: You did once serve I believe as the foreperson of a federal
     grand jury; is that correct?

     PROSPECTIVE JUROR: Yes, yes, Your Honor.

     THE COURT: So that was a pretty long assignment as I understand it.

     PROSPECTIVE JUROR: Two years.

     THE COURT: When you came and went was it in this federal courthouse
     or --

     PROSPECTIVE JUROR: No, it was in Western District of Tennessee.

     THE COURT: At that time as you know, you only heard from one side.
     You heard the government’s side of the case. And you were only asked to
     determine whether there was probable cause to believe whether a crime had
     been committed and the defendant had committed it.

     You understand that that will not be the standard that applies in this case
     and the government is going to have to prove its case beyond a reasonable
     doubt here?

     PROSPECTIVE JUROR: Yes.

     THE COURT: You’ve also indicated a fair amount of paying attention to
     news and social media including about political things?

     PROSPECTIVE JUROR: Yes.




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                THE COURT: And when we asked what you read or heard about the
                defendant, you do understand that he was involved in Mr. Trump’s
                campaign in some way?

                PROSPECTIVE JUROR: Yes.

                THE COURT: Is there anything about that that affects your ability to judge
                him fairly and impartially sitting here right now in this courtroom?

                PROSPECTIVE JUROR: Absolutely not.

                THE COURT: What is it that you have read or heard about him?

                PROSPECTIVE JUROR: So nothing that I can recall specifically. I do
                watch sometimes paying attention but sometimes in the background CNN.
                So I recall just hearing about him being part of the campaign and some
                belief or reporting around interaction with the Russian probe and interaction
                with him and people in the country, but I don't have a whole lot of details.
                I don’t pay that close attention or watch C-SPAN.

                THE COURT: Can you kind of wipe the slate clean and learn what you
                need to learn in this case from the evidence presented in the courtroom and
                no other source?

                PROSPECTIVE JUROR: Yes.

                THE COURT: You actually have had some interest in Congress yourself?

                PROSPECTIVE JUROR: Yes.

                THE COURT: Does the fact that this case involves allegations of not being
                truthful to Congress, is that something that you think that the nature of the
                allegations alone would make it hard for you to be fair?

                PROSPECTIVE JUROR: No.

Nov. 5 P.M. Tr. at 92–94. 17

         The Court then asked if the government had any questions for the juror. It did not. See id.

at 95.




17       This excerpt includes all of the Court’s questions to the juror.


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    2. Defendant’s Questioning of the Foreperson

The defense was then given an opportunity to question the juror:

       [DEFENSE COUNSEL]: Good afternoon.

       PROSPECTIVE JUROR: Good afternoon.

       [DEFENSE COUNSEL]: Did you ever work for anyone in Congress?

       PROSPECTIVE JUROR: No.

       [DEFENSE COUNSEL]: You’ve worked on campaigns for Congress
       people running for Congress?

       PROSPECTIVE JUROR: I ran for Congress.

       [DEFENSE COUNSEL]: You ran for Congress?

       PROSPECTIVE JUROR: I worked on my own campaign.

       [DEFENSE COUNSEL]: And you have friends who worked for other
       congressmen?

       PROSPECTIVE JUROR: Yes.

       [DEFENSE COUNSEL]: Do you have any political aspirations now?

       PROSPECTIVE JUROR: I don’t know, not federal.

       [DEFENSE COUNSEL]: What might they be?

       PROSPECTIVE JUROR: My home state in Tennessee. No local.

       [DEFENSE COUNSEL]: Just recognize that there might be some media --
       What are your aspirations?

       PROSPECTIVE JUROR: I served, can I just say I served in political office
       in Memphis in a local office on the school board. So I, one day I wake up
       and say I run for, you know, office again in Memphis to impact education.
       One day I wake up and say no way in the world would I do that. So I don’t
       have an immediate plan to run for office.

       [DEFENSE COUNSEL]: The fact that you run for an office, you’re
       affiliated with a political party. Roger Stone is affiliated with the
       Republican party, Donald Trump. You understand what I'm saying and
       getting at?



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               PROSPECTIVE JUROR: I do.

               [DEFENSE COUNSEL]: How do you feel about that?

               [GOVERNMENT COUNSEL]: Objection.

               THE COURT: Can you make that question a little bit more crisp? Is there
               anything about his affiliation with the Trump campaign and the Republican
               party in general that gives you any reason to pause or hesitate or think that
               you couldn’t fairly evaluate the evidence against him?

               PROSPECTIVE JUROR: No.

       Counsel for the defendant then chose not to ask any additional questions.

               [DEFENSE COUNSEL]: Thank you, ma’am.

               THE COURT: All right, you can step out.

               (Prospective juror leaves courtroom.)

               THE COURT: [Defense counsel], you have a motion?

               [DEFENSE COUNSEL]: No.

Nov. 5 P.M. Tr. at 95–96. 18

       The Court and counsel questioned the potential jurors in the order they appeared on the

jury panel sheet, and by the end of the day on November 5, thirty-four had been qualified, and the

remainder were excused. 19 Based on motions by the parties or its own motion, the Court struck

an additional eighteen potential jurors from the venire that day, but neither side moved to strike

the foreperson for cause. The parties were advised before the Court adjourned for the evening that




18     This excerpt sets forth the defendant’s questioning of the juror in its entirety.

19      Pursuant to Federal Rule of Criminal Procedure 24(b)(2), the defense was able to exercise
ten peremptory challenges, the government had six, and each side could strike one alternate. For
that reason, the Court sought to qualify thirty-four jurors before excusing the rest; that would
supply the number needed for the twelve jurors and two alternates, the eighteen strikes, and a few
extras in the event any became unavailable overnight. See Nov. 5 P.M. Tr. at 58, 200–01, 223.


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the qualified jurors would be seated the next day in the order they appeared on the Jury Panel

Sheet. 20 By that point, the juror who became the foreperson had moved up to tenth on the list.

       C.   Peremptory Strikes

       On November 6, 2019, the thirty-four qualified potential jurors returned to court, and the

parties exercised their peremptory strikes. Tr. of Jury Trial, Nov. 6, 2019, Morning Session [Dkt.

# 296] (“Nov. 6 A.M. Tr.”) at 239–242. 21 Neither side struck the juror who is the subject of this

motion, and she was seated on the jury. See id.

II.    Trial

       After the jury was selected on November 6, the Court gave the jury panel preliminary

instructions, each side made an opening statement, the government introduced its witnesses and

exhibits, and the defense followed. See generally Nov. 6. A.M. Tr. at 248–98; Tr. of Jury Trial,

Nov. 6, 2019, Afternoon Session [Dkt. # 297] (“Nov. 6 P.M. Tr.”) at 304–92. On November 12,

each side rested its case. Tr. of Jury Trial, Nov. 12, 2019 [Dkt. # 304] at 1052. On the morning

of November 14, the Court instructed the jury about the applicable law and how to conduct its

deliberations. See Tr. of Jury Trial, Nov. 14, 2020 [Dkt. # 307] (“Nov. 14 Tr.”) at 1228–55.




20      See Nov. 5 P.M. Tr. at 223–24 (“THE COURT: According to my calculations we have 34
qualified jurors, we need 32. . . . Tomorrow morning they all have to report to the jury room. . . .
[The Deputy Courtroom Clerk] will bring them down, seat them in the order in which they’re listed
on the jury list in the courtroom, and we will exercise [per]emptory strikes as described in the
memorandum that I gave you. When everyone has exercised their strikes or has passed and then,
and we’ve selected the alternates, at that point 14 people will be seated in the box.”). The Court
elaborated on these instructions in response to questions asked by the defense. Id. at 224–25; see
also Mot. Hr’g Tr. at 33.

21      Neither side lodged any challenge under Batson v. Kentucky, 476 U.S. 79 (1986), to any
strike exercised by the other.


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       Regarding selection of a foreperson, the Court instructed the panel as follows:

               When you return to the jury room, you should first select a foreperson to
               preside over your deliberations and be your spokesperson here in court.
               There are no specific rules about how you should go about selecting a
               foreperson; that’s up to you. However, as you go about the task, be mindful
               of your mission, to reach a fair and just verdict based on the evidence.
               Consider selecting a foreperson who will be able to facilitate your
               discussions, who can help you organize the evidence, who will encourage
               civility and mutual respect among all of you, and who will invite each juror
               to speak up regarding his or her views about the evidence, and who will
               promote a full and fair consideration of that evidence.

Id. at 1252. With no input from either the Court or the parties, the jury selected a juror to serve as

the foreperson. See Mot. Hr’g Tr. at 74, 80 (explaining that the jurors used a secret ballot to select

the foreperson).

       At 2:07 p.m. on November 14, the jury submitted a note to the Court with a question about

an exhibit. Public Note from Jury 1 [Dkt. # 256] (PUBLIC); see also Nov. 14 Tr. at 1257. The

note included the foreperson’s signature, and this was the first time the name of the juror selected

to serve as the foreperson was revealed to the Court. See Note from Jury 1 [Dkt. # 257] (SEALED).

After conferring with counsel, the Court answered the jury’s question. See Note from Jury 1;

Nov. 14 Tr. at 1257–65.

       At 3:23 p.m. on November 14, the jury submitted a second note with a question about

Count Three. Public Note from Jury 2 [Dkt. # 256]; see also Nov. 14 Tr. at 1266. This note was

also signed by the foreperson. See Note from Jury 2 [Dkt. # 257] (SEALED). After conferring

with counsel, the Court answered the jury’s question. See Nov. 14 Tr. at 1266–74.

       The jury’s deliberations continued to the following day, and at 11:11 a.m. on November

15, the jury informed the Court it had reached a verdict. Note from Jury [Dkt. # 258] (PUBLIC).

It found the defendant guilty on all seven counts. Verdict Form [Dkt. # 260]; see also Tr. of Jury

Trial, Nov. 15, 2020 [Dkt. # 308] (“Nov. 15 Tr.”) at 5–7.


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        The Court then excused the jurors and told them that they were released from their

obligation not to discuss the trial:

                Before I release you back to the jury room to retrieve your belongings, I
                also want to now release you from the instructions that I have been giving
                you on a daily basis since the trial began. You are now free, although you
                are not required, to discuss this case with anyone you choose. You’re free
                to read about it, to talk about it. All of the instructions that I have been
                giving you on a regular basis are hereby – you’re relieved of them.

Nov. 15 Tr. at 9.

III.    Post-Verdict Events

        On February 10, 2020, the parties file their memoranda in aid of sentencing. Gov’t

Sentencing Mem. [Dkt. # 279]; Def.’s Sentencing Mem. & Mot. for Variance from Advisory

Guidelines [Dkt. # 280]. The next day, the government filed a Supplemental and Amended

Sentencing Memorandum, and the prosecutors in the case withdrew from the matter or resigned

from their jobs entirely. Gov’t Suppl. & Amended Sentencing Mem. [Dkt. # 286]; Notices of

Withdrawal [Dkt. ## 282, 283, 285, & 287]. On February 12, 2020, following significant media

coverage of the prosecutors’ actions, the foreperson posted a message on her Facebook page,

publicly identifying herself as the jury foreperson and expressing her support for the prosecutors. 22

This prompted various people to search for more information about her online.

        Two days later, on February 14, 2020, defendant filed a motion for a new trial based on

social media posts that had been uncovered in the wake of the juror’s public statement. Def.’s

Mot. for New Trial [Dkt. # 312]; Ex. 1 [Dkt. # 312-1] (“composite Exhibit” of social media posts).

On February 18, he filed an amended motion, Def.’s Am. Mot. for New Trial [Dkt. # 313] (“Am.



22    See Shimon Prokupecz & Ashley Fantz, Stone juror says she ‘stands with’ the prosecutors,
CNN, Feb. 12, 2020 (7:03 p.m.), Ex. 1 to Am. Mot. for New Trial [Dkt. # 312-1] (SEALED)
(“Comp. Ex.”) at 1.


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Mot.”), 23 and the government filed its opposition the same day. Gov’t Opp. to Am. Mot. [Dkt.

# 314] (“Gov’t Opp.”). On February 24, defendant filed a reply brief. Def.’s Reply in Supp. of

Am. Mot. [Dkt. # 338] (“Reply”). Defendant also requested a hearing on his motion. Def.’s Mot.

to Open the Hr’g in Supp. of Am. Mot. for New Trial [Dkt. # 332].

       On February 21, 2020, the Court set a hearing date, and it issued a minute order giving the

parties more information.

               The Court has not yet determined what testimony, if any, will be required,
               and if so, with respect to what issues. However, in an abundance of caution,
               it will summon the foreperson and other members of the jury to the
               courthouse at that time. It would be the Court[’]s intention to follow the
               same process utilized during voir dire: the Court would initiate any
               questioning and the parties would have an opportunity to ask appropriate
               follow up questions, so the parties should be prepared for that possibility.
               The Court notes that this order does not constitute a ruling on the question
               of whether the defense has or has not come forward with a sufficient factual
               basis to warrant a hearing. . . .

Min. Order of Feb. 21, 2020 (SEALED); Min. Order of Feb. 27, 2020 (PUBLIC) (reissuing

redacted version of Min. Order of Feb. 21). 24




23     The composite exhibit attached to defendant’s original Motion for New Trial (Juror
Misconduct) [Dkt. # 312] (SEALED) was not attached to his amended motion [Dkt. # 313], but
the amended motion refers to the exhibit. See Am. Mot. at 16. Accordingly, the Court will deem
the exhibit, which the defendant also referred to at the hearing, to be incorporated in the amended
motion. The Court will use the page numbers at the top of the exhibit appearing in the header of
the docketed PDF [Dkt. # 312-3] when it refers to specific pages within it.

24       Before the hearing, the Deputy Court Clerk contacted the thirteen jurors who had attended
the trial in its entirety – one juror had been excused mid-trial due to illness – and advised them that
there would be a hearing regarding allegations related to the jury, and that the Court may need to
hear from them. See Mot. Hr’g Tr. at 67. The Court invited, but did not summon, the jurors to be
present, and eleven of the thirteen came to the courthouse voluntarily. Id. One juror was
unavailable due to travel, and another was ill. Id.


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IV.     The February 25 Hearing

        On February 25, 2020, the Court held an evidentiary hearing on defendant’s motion for a

new trial. 25 See Min. Entry of Feb. 25, 2020; Mot. Hr’g Tr. The Court heard from counsel for

both sides about how and when the completed jury questionnaires and Jury Panel Sheet were

provided to the defense, 26 and the defense answered some questions concerning its use of jury

consultants. 27

        The Court granted the defendant’s request to question the foreperson. Mot. Hr’g Tr. at 67–

68. It also informed counsel which of the other jurors had made themselves available. Id. at 69–

71 (REDACTED). It announced that “each side may identify one juror other than the foreperson

that it wants to hear from on the question of whether there was improper influence or extrajudicial

information in the jury room.” Id. at 68. The Court stated that it would begin the questioning, that

counsel would be permitted to ask follow-up questions if any of the answers revealed a basis to go

further, and that additional jurors would be questioned if the interrogation of the first two elicited

information that would warrant further inquiry. Id. at 67–68. After each team was given an

opportunity to confer, there was a sealed bench conference in which the government selected




25      Prior to the filing of the instant motion, the Court had set the sentencing hearing for
February 20, 2020. After defendant filed his motion, the Court held a scheduling conference to
hear the parties’ views on the effect of the motion on whether the Court could proceed with
sentencing. See Min. Entry of Feb. 18, 2020. Neither the Court nor counsel had identified any
legal requirement that the sentencing must be postponed, see Tr. of Scheduling Conf., Feb. 18,
2020 [Dkt. # 315] at 5, and the Court proceeded with sentencing on February 20. In its discretion,
though, it extended the date for the filing of a Notice of Appeal and stayed execution of the
sentence pending resolution of the motion. See Judgment [Dkt. # 328] at 2.

26      See supra section I.A.1(b) & section I.A.3.

27      See supra section I.A.1(b) & section I.B.


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Juror A, and the defense picked Juror B. Id. at 72. 28 The two selected jurors testified, id. at 72–

83, followed by the foreperson. Id. at 86–120.

        Juror A was summoned to the courtroom first and was sworn. Mot. Hr’g Tr. at 72, 75.

After being instructed not to identify any juror by name on the public record, Juror A was asked a

series of questions. Id. at 72–78. Juror A described the procedure the jury used to select a

foreperson.

                We solicited volunteers. One person put their hand up to volunteer. There
                was several seconds of silence. I put my hand up to volunteer, just so we
                would have some discussion and choice in the matter. Another juror
                nominated a third person. A third person nominated a fourth person. And
                so we had four candidates. We took a secret ballot, and the foreperson was
                chosen as a result of that secret ballot.

Id. at 74. The juror testified that the judge played no role in selecting a foreperson. Id.

        Juror A then explained how the foreperson went about the process of organizing or

facilitating the jury’s discussions.

                JUROR A: . . . We established a process or the foreperson quickly
                established a process where we looked at each element of each charge in
                isolation. Actually, I will go back. The first thing we did was take a secret
                poll just to sort of get a pulse of the room, where each person indicated
                whether they were leaning towards guilty, towards not guilty, or not sure on
                each charge. After that -- just so we could understand where we needed to
                focus. After that, we went through each element of each charge in order,
                and we decided on each charge or each element and reached unanimity on
                each element before we moved on to the next one.

                THE COURT: All right. So you considered not only each count
                individually, but you also considered each element in each count
                individually?

                JUROR A: That’s right, Your Honor.



28      The jurors’ names and juror numbers were stated on the record under seal, and the Court
and counsel referred to them using these monikers to protect their identities. See Mot. Hr’g Tr.
at 68, 72.


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               THE COURT: Did the foreperson encourage civility and respect among the
               jurors?

               JUROR A: She absolutely did.

               THE COURT: Was every juror invited or permitted to speak up concerning
               his or her views?

               JUROR A: Yes, absolutely. In fact, on at least one occasion, maybe two
               occasions I can recall, we went around the room and, you know, gave
               everybody a very explicit opportunity to speak their mind.

                                             *      *       *

               THE COURT: Now, the jury included people of different ages, educational
               background, race, ethnicity, gender. How did you get along?

               JUROR A: We got along well.

               THE COURT: Did anyone attempt to dominate or intimidate the others?

               JUROR A: No.

               THE COURT: Was there anyone who pressed for speed or tried to
               essentially bulldoze the others?

               JUROR A: No. There was a little bit of impatience a couple of times during
               deliberations. But as a group, we were able to sort of slow ourselves down.

               THE COURT: Was anyone a voice for taking your time or being sure to
               apply the presumption of innocence and hold the government to its burden
               of proof?

               JUROR A: Yes.

               THE COURT: And is that someone that you need to name with a name?

               JUROR A: I would say that several people were, including the forewoman.

Mot. Hr’g Tr. at 75–77.

       After Juror A was excused, Juror B was seated on the witness stand and sworn. She

confirmed that the jury used a secret ballot to select a foreperson, and that no one other than the

jurors themselves were involved in the decision. Mot. Hr’g Tr. at 80. This juror was also asked




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to describe how the foreperson went about the process of organizing or facilitating the jury’s

discussions.

               JUROR B: We went step by step with each count and looked over the
               evidence and discussed the evidence, and each person gave their answer of
               whether, you know, he was innocent or guilty.

Id. Juror B testified that all of the jurors were invited or permitted to give their views. Id. at 81.

        The foreperson was the final witness. First, the juror confirmed for the record that she had

served as the foreperson of the jury, Mot. Hr’g Tr. at 87, and that she was the one who posted a

statement of support on Facebook on February 12 after the prosecutors withdrew from the case.

Id. at 88.

        In response to questions from the Court, the juror described her use of social media. Mot.

Hr’g Tr. at 87–90. She testified that she has used both Facebook and Twitter, and that she has

posted on both platforms separately. But she explained:

               [M]ost of my Twitter feed is – has always been for years connected to
               Facebook. So if you were seeing something I tweeted, it’s most likely
               generated from my Facebook. And so if you open it, then it will try to take
               you to Facebook, because that’s where Twitter was reading that from.

Mot. Hr’g Tr. at 95; see also id. at 89. She testified that she posts on Facebook about a range of

topics, “[s]ometimes work, sometimes just friends, sometimes my bus rides in the morning, various

things.” Id. at 106. But she could not quantify how often she uses the site to communicate: “It

depends. Sometimes very active, sometimes not. I wouldn’t know a number. But quite a bit

sometimes.” Id.

        The foreperson was asked about the statement in her Twitter profile: “I ♥ Memphis.

Fighting for equality and excellence in education for low-income and children of color is my life.

Tweets are my own. Retweets don’t equal agreement.” Mot. Hr’g Tr. at 92. She explained that

“tweets are my own” meant that Twitter entries were posted on her own behalf and not on behalf


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of her employer, id. at 92–93, and that “retweets don’t equal agreement” meant: “just because I

retweet something does not mean that I am stating agreement with it or opposition to it.” Id. at 93.

When asked what prompted her to retweet things, she responded, “[u]sually, it’s something I find

interesting, something I learned something from and just sharing it with people who follow me on

Twitter.” Id. at 93. She explained that her usual practice was to put quotation marks around

comments by others: “generally, if I’m quoting someone, I put it in quotes to signify that’s not me

saying [it].” Id. at 105. She testified that she receives news through internet news subscriptions

and alerts, see id. at 93–94, but does not pay “attention to a lot on Twitter.” Id. at 87, 93.

       The juror explained that at the time she completed the questionnaire, and before the

November 15, 2019 verdict in the Stone trial, the comments she posted on Facebook were public.

               THE COURT: . . . As of September 12th when you came to court and filled
               out your jury questionnaire, what were your privacy settings?

               JURY FOREPERSON: It was open. My settings were mostly public on
               Facebook and on Twitter.

Mot. Hr’g Tr. at 88.

       She said that on November 15, 2019, after the trial, she shut down her social media

accounts for approximately two weeks. Mot. Hr’g Tr. at 88–89. She returned to social media

around Thanksgiving, and at that time, she changed her Facebook privacy setting to “friends only.”

Id. at 88–89. Also, when she returned to social media, she set up her accounts so that her Facebook

posts would no longer automatically appear in her Twitter feed. Id. at 89. Although she changed

the privacy settings of her accounts moving forward, she did not delete any Facebook or Twitter

entries that had been posted on the internet at the time the accounts were public. Id. at 90.

       Counsel for the parties were then given an opportunity to question the juror.             The

government declined, and the juror was questioned extensively by counsel for the defense. See id.



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at 99–120. The Court did not restrict or cut off the questioning; at the end of the cross examination,

with the Court’s permission, the attorney handling the hearing paused to consult with the rest of

the team, and then he announced that he had no further questions. Id. at 119–20.

                                            ANALYSIS

       Defendant has filed a motion asking the Court to grant him a new trial pursuant to Federal

Rule of Criminal Procedure 33(b)(1). Rule 33 authorizes a court to vacate a judgment and grant a

new trial “if the interest of justice so requires.” Fed. R. Crim. P. 33(a). “[G]ranting a new trial

motion is warranted only in those limited circumstances where ‘a serious miscarriage of justice

may have occurred.’” United States v. Wheeler, 753 F.3d 200, 208 (D.C. Cir. 2014), quoting

United States v. Rogers, 918 F.2d 207, 213 (D.C. Cir. 1990). A new trial based on “newly

discovered evidence” must “be filed within 3 years after the verdict or finding of guilty,” Fed. R.

Crim. P. 33(b), and defendant Stone’s motion is timely.

       To obtain a new trial grounded in newly discovered evidence, a defendant must satisfy five

requirements:

                (1) the evidence must have been discovered since the trial; (2) the party
                seeking the new trial must show diligence in the attempt to procure the
                newly discovered evidence; (3) the evidence relied on must not be merely
                cumulative or impeaching; (4) it must be material to the issues involved;
                and (5) [it must be] of such nature that in a new trial it would probably
                produce an acquittal.

United States v. Johnson, 519 F.3d 478, 487 (D.C. Cir. 2008) (alteration in original), quoting

United States v. Lafayette, 983 F.2d 1102, 1105 (D.C. Cir. 1993). A defendant “bears a ‘weighty

burden’” to establish that a new trial is warranted. United States v. Garcia-Pastrana, 584 F.3d 351,

390 (1st Cir. 2009), quoting United States v. Del–Valle, 566 F.3d 31, 38 (1st Cir. 2009).

       Here, defendant seeks a new trial on two grounds. First, he presents a collection of the

foreperson’s social media postings, and he argues that this “newly discovered evidence” reveals


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that the juror’s answers to the written jury questionnaire and during voir dire were false. See, e.g.,

Am. Mot. at 1 (“The jury’s foreperson concealed her explicit and implicit bias by failing to disclose

her active anti-Stone and anti-Trump sentiment, evidenced by her multiple social media postings

that directly reference her strong political bias and knowledge of the Stone prosecution in direct

contradiction of her responses during voir dire.”); see also id. at 2 (“A comparison of her social

media posts, on the one hand, and her responses to the jury questionnaire and the Court’s

questioning of her political disposition and its affect upon her ability to enable Stone to have a fair

trial, on the other, makes it immediately apparent that [the juror] was not candid; rather, she misled

the Court and Stone with plainly disingenuous answers.”).

       Second, defendant posits that the juror failed to follow the Court’s instructions during the

trial, and that this alleged misconduct undermined the integrity of the verdict and warrants a new

trial. Am. Mot. at 15 (“[G]iven her obvious failure to follow the Court’s instructions in voir dire,

a presumption arises that she failed to follow the Court’s instructions in other instances, which

would further undermine the integrity of the trial.”).

       A motion for new trial is committed to the trial court’s discretion. As the D.C. Circuit has

emphasized, trials courts are “obviously . . . the tribunal best qualified to weigh the relevant

factors” relating to allegations of juror misconduct, United States v. Williams, 822 F.2d 1174, 1189

(D.C. Cir. 1987), and their factual determinations are given “great weight.” United States v.

White, 116 F.3d 903, 929–30 (D.C. Cir. 1997) (per curium), quoting Hobson v. Wilson, 737 F.2d

1, 49 (D.C. Cir. 1984), cert. denied, 470 U.S. 1084 (1985). When considering allegations of juror

misconduct, trial courts have broad discretion to fashion the methodology of the inquiry. United

States v. Williams-Davis, 90 F.3d 490, 498–99 (D.C. Cir. 1996). Courts may allow jurors to be

individually questioned, but they must also take care to guard against juror harassment. Id. Here,



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the Court held an evidentiary hearing, and it permitted the defendant to examine the foreperson

and two other jurors.

I.      The record does not demonstrate that the foreperson lied in voir dire.

        According to the defendant, “we now know” that the foreperson’s “answers were

equivocal, misleading, deceptive, evasive, and fallacious.” Am. Mot. at 3. But the evidence does

not support his parade of adjectives.

       A.    The Social Media Posts

        To address the defendant’s contention, it is necessary to catalogue the social media posts

upon which the motion is based.

        Defendant has supported his motion with forty-two separate social media posts from the

period of December 4, 2008 to November 15, 2019.             An index of the posts arranged in

chronological order is attached to this opinion. Index (Attachment B) (REDACTED). 29 While

most of the posts appear in defendant’s composite exhibit, he highlighted nine of them by pasting

copies into the motion itself. 30




29     For ease of reference, the Court will cite to the posts by the number assigned to each in the
Index.

30      The composite exhibit includes all of the social media posts except for two, which only
appear in the motion. Post 1 (Dec. 4, 2008); Post 33 (Jul. 2, 2019). While the composite exhibit
– which is not organized chronologically or in accordance with any other discernible
methodology – is comprised of fifty-four images of posts, nine of them appear multiple times
within the exhibit. See, e.g., Post 2 (Comp. Ex. at 4, 15); Post 5 (Comp. Ex. at 4, 10); Post 14
(Comp. Ex. at 2, 6, 8); Post 16 (Comp. Ex. at 12, 13); Post 25 (Comp. Ex. at 18, 23, 28); Post 26
(Comp. Ex. at 17, 22); Post 27 (Comp. Ex. at 11, 21); Post 28 (Comp. Ex. at 2, 21); Post 42 (Comp.
Ex. at 25, 27).


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        The oldest post in the collection depicts the foreperson posing in a photograph in 2008 with

Donna Brazile, a democratic strategist and campaign manager – more than ten years ago. Post 1

(Dec. 4, 2008). 31

        There are twenty-three posts from the roughly two-year time period between December 16,

2016 up to the date of Roger Stone’s arrest, January 25, 2019. See Posts 2–24. Eight of those

make some mention of Russian interference in the election or ongoing investigations into that

issue. See Posts 2–7, 14, 19. Others related to the President or his administration.

        There are a total of eleven posts from the almost eight-month period that begins with the

date of Stone’s arrest in January 2019 through September 12, 2019, the date the potential jurors

were summoned to complete the written questionnaire. See Posts 25–35. Five of these mention

the Special Counsel. See Posts 25, 28–31.

        Defendant has not supplied the Court with any posts between September 12 and the date

the jurors returned for individual voir dire on November 5, 2019. See Index at 13.

        There are seven posts dated during the time period the trial was underway: November 10

through November 15, 2019. See Posts 36–42. None of these mention the defendant or the trial,

see id., and the defense conceded at the hearing on the motion that there is no evidence the juror

violated the Court’s instruction not to communicate about the case. Mot. Hr’g Tr. at 61–62.

        So the question to be determined is whether the thirty-four comments that were posted or

retweeted over the two years and nine months between December 2016 and September 2019 –

along with the lone post from 2008 – demonstrate that the juror’s answers on the written




31    Donna Brazile is a former chair of the Democratic National Committee. See Wheeler v.
Twenty-First Century Fox, 322 F. Supp. 3d 445, 455 (S.D.N.Y. 2018).


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questionnaire or her answers in court during voir dire were untruthful. Approximately fifteen of

these relate to the President, and as the defense points out, they generally reflect disapproval of

him or disagreement with his policies. See Posts 9–13, 15, 17–18, 21–24, 33–35. Twelve of the

posts from this period mention potential Russian interference in the 2016 election, Posts 2–8, 14,

19–20, 27, 32, and five touch upon the Special Counsel’s investigation, Posts 25, 28, 29–31,

although some of the posts could arguably fall within more than one category, and one or two

address other topics or are too vague to categorize. See Posts 1, 16. The defense made no effort

to produce evidence to show whether these posts comprised a sizable portion or just a small

percentage of the juror’s total social media output over that period of time.

       B.   The defendant has not shown that the juror’s answer to Question 23 was false.

       In his motion, the defendant points to the foreperson’s social media posts as evidence that

she was dishonest in response to Questions 23 in the juror questionnaire. Am. Mot. at 6–8.

       Question 23 asked:

               Have you written or posted anything for public consumption about the
               defendant, the House Permanent Select Committee on Intelligence
               investigation into Russian interference in the 2016 presidential election, or
               the investigation conducted by Special Counsel Robert Mueller?

JQ 23. It gave jurors the option of checking “Yes” or “No.” JQ 23. In response, the foreperson

checked neither, writing: “I can’t remember if I did, but I may have shared an article on Facebook.

Honestly not sure.” JQ 23.

       Given that answer, it is not enough for the defense simply to show that the juror did post

something about those topics at some time or another; it must show that she lied when she said she

did not remember and acknowledged that she “may have.” That is a high hurdle to get over, and

the defendant has failed to do it.




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       The defendant’s argument boils down to: how could she possibly not remember given the

“sheer number” of her posts? Am. Mot. at 6. But – putting aside the unsubstantiated suggestion

that there is something notable about this number of posts – not all of the posts aggregated in

defendant’s motion are responsive to Question 23. And the few posts that were related to those

topics were spread over the expanse of time between December 16, 2016 and August 25, 2019,

while the juror was also using social media to address a myriad of other topics, sometimes “quite

a bit.” Mot. Hr’g Tr. at 106.

       The question asked whether the juror had written anything for public consumption about

three topics: Stone, the HPSCI investigation into Russian interference in the 2016 election, and

the Special Counsel’s investigation.

       Only two of the posts presented as evidence refer to the defendant in any way, and both

were sent eight months before the date the jurors provided their written responses. On January 25,

2019, the juror sent out a link to a twenty-five-page article that appeared on the National Public

Radio website, www.npr.org, detailing the criminal charges that had been brought by the Office

of Special Counsel against thirty-four people, including Roger Stone, who had been arrested that

morning. See Post 25 (Jan. 25, 2019); Jason Breslow, All the Criminal Charges to Emerge from

Robert Mueller’s Investigation, NPR, Dec. 9, 2018, updated Apr. 12, 2019, Def.’s Hr’g Ex. 2;

Mot. Hr’g Tr. at 40–41. The post was accompanied by a comment: “Brought to you by the lock




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her up peanut gallery.” Post 25 (Jan. 25, 2019). 32 On January 30, 2019, the juror retweeted

someone else’s tweet about the response to the defendant’s arrest:

               Roger Stone has y’all taking about reviewing use of force guidelines.
               Not Alton Sterling
               Not Eric Gardner
               Not [six other African-Americans]
               But Roger Stone!!! Think about that.

Post 26 (Jan. 30, 2019). The tweet said nothing about the charges against Stone, and the juror

added no comment of her own. See id.

       There is only one post in the entire collection that mentions the House Committee. On

March 22, 2018 – a full year and three months before the juror was asked to complete the

questionnaire – she transmitted a link to an article from Politico that began, “The House

Intelligence Committee on Thursday voted along party lines to formally end its investigation into

Russian interference in the 2016 presidential election . . . ” with the comment, “[f]rom the folks

who brought us never ending investigations on Benghazi.” Post 20 (Mar. 22, 2018).

       As for posts related to the investigation conducted by the Special Counsel, there was the

one transmitting the NPR article from January 2019, see Post 25 (Jan. 25, 2019), and four others

during the eight months leading up to September 2019:




32      The juror could not recall when she testified whether she wrote the comment or simply
forwarded someone else’s words with the article, but she said that she assumed she wrote it because
she usually put quotation marks around comments by others. Mot. Hr’g Tr. at 105. She explained
that the phrase referred “to the many rallies where supporters – of Trump would yell ‘lock her up,’
suggesting that Hillary Clinton and others should be jailed. And so . . . it’s, you know, the irony
of people saying others should be jailed and they themselves being arrested.” Mot. Hr’g Tr. at 112.


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         •   A March 24, 2019 tweet publishing a link to a Facebook post of an article that began,
             “Ignoring the numerous indictments, guilty pleas, and convictions of people in 45’s
             inner-circle, some Republicans are asserting that the Mueller investigation was a waste
             of time because he hasn’t found evidence of . . . ” Post 28. 33

         •   An April 11, 2019 tweet of an article from thehill.com about the indictment of Gregory
             Craig, who had served as White House counsel for President Obama, for making false
             statements to the OSC, with the following words in quotation marks, “The former
             White House counsel was reportedly investigated by special counsel Robert Mueller
             before the case was referred to the Southern District of New York and . . . ” Post 29.34

         •   A May 16, 2019 tweet of an article from nbcnews.com, with the headline “Flynn told
             Mueller people tied to Trump and Congress tried to obstruct probe.” Post 30.

         •   A May 29, 2019 tweet with the words in quotation marks, “‘After that investigation, if
             we had confidence that the president clearly did not commit a crime, we would have
             said that,’ Mueller said.” The caption of the article begins, “Mueller: Charging
             president with a crime was ‘not an option we could . . . Special counsel Robert Mueller,
             in his first public comments on his two-year investigation surrounding President Trump
             and his campaign, said . . . thehill.com.” Post 31.

The defense has located no posts related to the investigation between the end of May and the date

three and a half months later when the juror was presented with the questionnaire. 35 See Index at

11–13.




33      The term “45” as used here refers to President Trump, the 45th President of the United
States.

34     See Mot. Hr’g Tr. at 105 (explaining that she put generally puts quotation marks around a
statement that is not hers).

35      The defense suggested at the hearing that social media posts about the President – even if
they did not mention Roger Stone, HSPCI, or the Special Counsel – also bore some relationship
to the juror’s answer because the defendant was a supporter of the President. See Mot. Hr’g Tr.
at 44–47, 51–52. But – putting aside the question of whether there is evidence that the juror
actually knew that at the time – this reasoning is far too attenuated, and the posts about the
President are not germane to any of the prongs of Question 23. Also, the juror expressly rejected
the suggestion that she had Roger Stone in mind when she discussed Trump or his associates, and
the defense did not do anything to discredit that testimony on cross. See Mot. Hr’g Tr. at 107–09.


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       This small set of social media comments is hardly inconsistent with the foreperson’s

answer that she was not sure, and that she “may have shared an article on Facebook.” 36 After all,

the questionnaire, with its fifty-six questions, was not a take-home assignment or an open book

test; on September 12, months after the posts in question, the potential jurors were confined to a

large courtroom and deprived of any access to the internet. 37

       Even though the showing on this issue in the written motion was weak, the Court gave the

defendant an opportunity to probe the matter further by questioning the juror in person. This

inquiry did not unearth any additional information to support the request for a new trial.

       At the February 25 hearing, the Court drew the foreperson’s attention to the two January

2019 posts and asked whether she was aware of them when she answered Question 23. See Mot.

Hr’g Tr. at 96–97 (reviewing Posts 25 and 26 with the juror).




36      The defense tried to make too much out of the juror’s use of a singular article in her
statement on the questionnaire. See, e.g., Mot. Hr’g Tr. at 114 (“Question by [COUNSEL]: Do
you think it’s fair to say, based on the posts we just reviewed, that you did more than just share an
article?”) and 52 ([COUNSEL]: “[H]er answer . . . ‘I may have shared an article on Facebook.
Honestly not sure,’ I think that that is demonstrably false.”). In the context of the incomplete
sentence in the questionnaire, as in casual conversation, the use of the word “an” does not
necessarily connote that she shared only one, and the juror confirmed that was not her intention in
her sworn testimony. Mot. Hr’g Tr. at 115. (“When I say ‘shared an article on Facebook,’ that
was not meant to say one article.”).

37      The jurors were instructed to turn off their cell phones and not to use them to research or
perfect their answers. See JQ Proceedings Tr. at 12. (“[T]he first thing I need to ask you to do is
to turn off your cell phones and put them away. And I mean off. They should not vibrate or hum,
and you certainly should not be consulting them in the courtroom while you’re completing the
questionnaire.”).


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                 THE COURT: . . . Were you aware that you had sent those when you filled
                 out the questionnaire on September 12th?

                 JURY FOREPERSON: . . . [I]n that question, I was zeroed in about Roger
                 Stone in response to that question. But I still didn’t remember. I posted a
                 lot. That’s why I’m not sure. I was not comfortable saying yes or no,
                 because I really wasn’t sure. That’s why I said I’m not sure, but it could
                 have happened, because I do post things like that.

                 So no, in that moment, sitting there September 12th, I couldn’t remember if
                 I had posted that or not. The reason I didn’t check yes or no was because I
                 was trying to be honest, because I honestly didn’t know whether I had
                 done it.

Mot. Hr’g Tr. at 98; see also id. at 115–16 (concerning the January 30, 2019 post: “I . . . didn’t

remember that retweet. . . . I don’t have in memory every tweet or share that I’ve done, which is

why I said I can’t remember . . . which was the honest answer at that time.”). 38

       Providing more context for her answer, the foreperson also testified in response to

questions: “I post and tweet a lot of stuff” on social media about “various things,” “[s]ometimes

work, sometimes just friends, sometimes my bus rides in the morning.” Mot. Hr’g Tr. at 98, 106.

She could not quantify with precision the number of times she communicated on Facebook:




38    The defense asked the juror why she had specifically mentioned Facebook but not Twitter.
Mot. Hr’g Tr. at 114. She responded:
                 Well, so that’s why I start with “I can’t remember.” And I sat there on
                 September 12th that day, I actually could not remember if I had shared . . . .
                 I don’t know the answer to that.
                 But I said I’m honestly not sure, and that was the honest answer on
                 September 12th. It is why I didn’t check yes or no, because I did not want
                 to appear to be deceptive, and I was giving the best answer I could at the
                 time. And as I sat there, I really did not remember if I shared.
Id. at 114–15.


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                 THE COURT: And can you give me an average per week, if you can’t per
                 day, of how many posts you would post?

                 JURY FOREPERSON: It really is hard to do. I really don’t know. I don’t
                 think of it in that way. I hadn’t thought about it in that way. Again,
                 sometimes pretty active. A lot of times, it is a news article that I may post
                 and share, sometimes with captions, sometimes without captions. But I
                 don’t know. I would say I’m active enough, though, on social media.

Id. at 106. 39

        This testimony was not impeached or undermined in any way, and the juror was frank and

believable when she explained her thought processes on September 12 and her efforts to ensure

that the questionnaire responses were accurate. Given the relatively small number of potentially

responsive posts, the amount of time that had gone by since they had been posted, the juror’s

frequent use of social media to exchange observations on a host of other topics, her credible

testimony that she was doing her best to focus in on whether she had said anything about Roger

Stone in particular, and the fact that there is no evidence that she ever publicly opined about him




39     Indeed, a post from November 2019 – when the juror’s Facebook posts were being
automatically included in her Twitter output – indicates that as of that time, the foreperson had
posted 13,000 tweets on her Twitter page by that point. See Post 36 (Nov. 10, 2019)
(“13K Tweets”).


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or his guilt or innocence, the record does not support a finding that the juror’s answer to

Question 23 – that she may have shared an article, but she honestly did not remember – was false. 40

       C.    The defense has not shown that the juror’s answers about her knowledge of the
             Stone case was false.
        In his pleadings, defendant suggests that the social media posts show that the juror’s

answers concerning her knowledge of the case were also false. See Reply at 1 (“The Motion is

based on [the juror’s] extremely misleading answers during voir dire that conceal not only her

strong political bias, but her pre-trial knowledge of, and views about, Roger Stone and the charges

against him.”).

        The Court notes that the juror answered Question 27 – “Have you read or heard anything

about the defendant Roger Stone . . . or about this case?” – in the affirmative: “Yes. Mr. Stone is

accused of inappropriate contact (sic) Russian officials in the effort of helping Mr. Trump’s

campaign for President.” JQ 27 (emphasis added).              So there is absolutely no support for



40       Defendant argued in his motion: “In the months before the trial, [the juror] was a prolific
‘tweeter’ . . . regarding investigations into Russian interference in the 2016 election and the Special
Counsel’s investigation. Consequently, the sheer number of her tweets and other social media
posts on topics inextricably intertwined with this case renders utterly incredible her claim during
voir dire that she could not remember if she posted on social media about this case or the related
investigations.” Am. Mot. at 6.
         While the record indicates that the juror was quite active on social media, Mot. Hr’g at 98
(testifying that she posted “a lot”); Post 36 (Nov. 10, 2019) (showing she had 13,000 tweets), the
defense does not provide any statistics indicating how the number of the juror’s other social media
posts that could be found online as of February 12, 2020 compares to the twenty-eight posts in the
composite from the twenty-eight month period from when the Special Counsel was appointed in
2017 through the end of August in 2019. That rate of one political post per month may not be
consistent with defendant’s portrayal of the juror as an avid political activist, and it is not clear that
the “prolific” label fits or the “sheer number” of posts provides anything. In any event, almost
half of the posts from the relevant time period – sixteen of the twenty-eight – related to Trump and
not to the topics covered by Question 23. Thus, the posts the defense has gathered suggest that
those related to the investigation were a small fraction of the “various things” she posted about,
Mot. Hr’g Tr. at 106, which could have affected her ability to remember the few that were
responsive to Question 23 in particular. Most important, what we do know is that the juror made
a conscious effort to acknowledge the possibility that she forwarded posts on these topics. JQ 23.

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defendant’s accusation that she “concealed” the fact that she had some knowledge of Roger Stone

and the charges against him.

        Moreover, during the individual voir dire on November 5, when the juror was asked in

person what she had read or heard about the defendant, she again responded that she had a general

understanding that he was connected with the Russia investigation in some way.

                THE COURT: What is it that you have read or heard about [the defendant]?

                THE JUROR: So nothing that I can recall specifically. I do watch
                sometimes paying attention but sometimes in the background CNN. So I
                recall just hearing about him being part of the campaign and some belief or
                reporting around interaction with the Russian probe and interaction with
                him and people in the country, but I don’t have a whole lot of details. I
                don’t pay that close attention or watch C-SPAN.

Nov. 5 P.M. Tr. at 94.

        According to the defendant, the juror’s sworn characterization of her own level of

understanding and attention was false. The motion for new trial argues that the January 25, 2019

Facebook post transmitting the NPR article is inconsistent with her testimony: “The article that

the juror posted calls attention with significant detail to the number of indictments, guilty pleas,

and convictions of people in President Trump’s circle . . . . Plainly the . . . post is irreconcilable

with the juror’s answers during voir dire regarding her knowledge of the Stone case.” Am. Mot.

at 7. But the juror did not write the article, and its “significant detail” does not shed light on the

juror’s level of attention.

        At the hearing, counsel directed the Court to seven other posts from the seven-month period

of February to August 2019 as evidence that the foreperson, in fact, “paid close attention” to the




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Russia investigation and the defendant. Mot. Hr’g Tr. at 50–51, 59. 41 But the question the juror

was answering during voir dire in November of 2019 was, “[w]hat is it that you have read or heard

about [the defendant]?” Nov. 5 P.M. Tr. at 94. She confirmed at the later hearing on this motion

that her answer was directed towards to whether she was paying close attention to news about

Roger Stone. Id. at 119. Not one of these posts relates to the defendant, and three do not even

relate to Mueller’s work, so they hardly contradict her answer during voir dire.

       The juror stated plainly on the questionnaire that she did follow the Special Counsel

investigation “[s]omewhat [c]losely,” JQ 25, so the posts are consistent with her written

submission. Question 27, by contrast, related to news about the defendant, and the juror confirmed

at the hearing that she understood that to be the case.

               Again, my whole response to this was about Roger Stone. And so what did
               I have or read about him, I still stand by that, that it was about what I said it
               was about. I recall him being a part of the campaign and some reporting
               around interaction with the Russian probe.

Mot. Hr’g Tr. at 119.

       At the hearing, counsel repeatedly invoked the January 25 post and suggested it proved

that the juror had understated her familiarity with the Stone case. See, e.g., Mot. Hr’g Tr. at 39–

41, 46–49, 52, 104, 108, 113–15 (referencing Post 25). The fact that the juror shared one long

article about the entire Mueller investigation – among the “various things” she posted – does not

begin to prove that she lied when she characterized her own state of mind by stating she did not

pay “that close attention” to news about Roger Stone. She answered “[y]es” to the question asking

whether she had heard or read about the defendant, JQ 27, she told the parties that she knew he




41     Post 27 (Feb. 28, 2019); Post 28 (Mar. 24, 2019); Post 30 (May 16, 2019); Post 31 (May
29, 2019); Post 32 (Jun. 13, 2019); Post 34 (Aug. 2, 2019); Post 35 (Aug. 25, 2019).


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was accused of involvement in the Russia matter in some way, and she acknowledged following

the Special Counsel investigation “[s]omewhat [c]losely” in the news. JQ 25. So defendant has

not shown that she was untruthful about this issue either. 42

       D.   The defendant has not shown that the juror lied when she stated her belief that
            she could be fair and impartial.

       Defendant’s motion asserts that the foreperson “concealed her explicit and implicit bias by

failing to disclose her active anti-Stone and anti-Trump sentiment, evidenced by her multiple social

media postings that directly reference her strong political bias.” 43 Am. Mot. at 1. The defense

maintains that the social media posts demonstrate that the juror’s statements that she could be fair

and impartial juror were not only mistaken, but deliberately misleading. See id. at 2 (“A

comparison of her social media posts, on the one hand, and her responses to the jury questionnaire

and the Court’s questioning of her political disposition and its affect upon her ability to enable

Stone to have a fair trial, on the other, makes it immediately apparent that [the juror] was not

candid; rather, she misled the Court and Stone with plainly disingenuous answers.”); see also Mot.

Hr’g Tr. at 36–38, 55–56 (taking issue with her answers to questions 15, 16, 30, and 51).

       The first problem with this argument is that the request for a new trial is predicated on

concealment, but the juror’s political affiliation and her views about the administration are plain




42      It is telling that the juror’s description of the nature of the charges against Stone was not
entirely accurate, and this lends credence to her statement that she was not following his case
closely when she said, “Mr. Stone is accused of inappropriate contact [with] Russian officials in
the effort of helping Mr. Trump’s campaign for President.” JQ 27. He was accused of lying to a
Congressional committee and obstructing an inquiry into his claimed communications with Julian
Assange of Wikileaks through an intermediary. See Indictment.

43      See also Am. Mot. at 4 (“The concealment of [the juror’s] philosophical and political views
are an attack at the heart of impartiality.”).


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on the face of the questionnaire. See JQ 24 (stating that she ran for Congress as a democrat), JQ 21

(identifying her primary sources of news and information), and JQ 30 (“I do have opinions about

some of the officials/people on the list”). 44

        The juror stated her belief that those opinions would not make it difficult for her to be fair.

JQ 30. In response to other questions, she indicated that she had not formed or expressed any

opinions about the defendant or the charges in the case, JQ 34, and that there was nothing about

the charges or the requirement to follow the judge’s instructions on the law that would make it

difficult for her to decide the case impartially. JQ 48–50. She wrote that she had no personal

reason to want to serve as a juror, and no personal stake in the outcome of the case. JQ 51. And

she answered that there was nothing about the case, the issues, or the people involved, “or any

other reason that has not been asked about in any other question” that made her believe she could

not be “completely fair to both the defendant, Roger Stone, and the U.S. Government in this case.”

JQ at 56. During her sworn individual voir dire, she repeated that her political affiliation would

not affect her ability to weigh the evidence fairly. Nov. 5 P.M. Tr. at 96.

        The defendant takes issue with these answers. “Based upon this juror’s political advocacy

and her deliberate concealment of her strong negative views of Stone as a person connected to the




44      Defendant mischaracterized this response when he asserted in his motion that it “strains
belief that she had no opinions about the people who might be witnesses in the case. . . .” See Am.
Mot. at 8. The juror plainly disclosed that she does have opinions “about some of the officials/
people” on the list. JQ 30. Defense counsel conceded at the hearing that her answer concerning
whether she had opinions was not false, and he revised his position to argue instead that it was her
statement that she could be fair that was untruthful. See Mot. Hr’g Tr. at 53–54.


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Trump campaign,” he argues, these statements “cannot be true.” Am. Mot. at 9. But he has not

shown that her answers were false. 45

       The answers to the questions express the foreperson’s subjective belief about her ability to

be impartial. It is the law in this Circuit that such statements by jurors are “not inherently suspect,

for a juror is well qualified to say whether he has an unbiased mind in a certain matter.” United

States v. Butler, 822 F.2d 1191, 1196–97 (D.C. Cir. 1987) (emphasis in original) (internal

quotation marks omitted); Smith v. Phillips, 455 U.S. 209, 217 n.7 (1982) (determinations about

juror impartiality frequently turn on the testimony of the juror in question), quoting Dennis v.

United States, 339 U.S. 162, 171 (1950).




45     At the hearing, counsel equivocated about whether the juror was just mistaken or she
misrepresented her views intentionally:
       THE COURT: All right. I guess my question to you is . . . you do not believe that
       15 and 16 accurately set forth her belief at the time, is that correct, based on all the
       other evidence?
       [DEFENSE COUNSEL]: Based on the evidence that we have regarding her social
       media posts, it does not appear that those answers are, in fact, truthful. It may be
       that she believed them to be truthful, but she concealed evidence regarding her
       views, which would have been important for the Court and the parties to understand
       her bias.
                                          *       *        *
       THE COURT: . . . You’re saying that you think she’s more biased than she says,
       but that’s different. Are you saying that 15 and 16, she lied?
                                          *       *        *
       [DEFENSE COUNSEL]: The answers are, at best, misleading.
       THE COURT: All right. Intentionally misleading?
       [DEFENSE COUNSEL]: At this stage, I don’t know.
Mot. Hr’g Tr. at 38-39. Eventually, though, he returned to alleging a deliberate falsehood. Mot.
Hr’g Tr. at 39 (“Based on the social media posts, it appears to me that they are misleading
intentionally.”).


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       Counsel for Stone told the Court at the hearing that the juror’s negative answer to

Question 34 – “Have you formed or expressed any opinion about Mr. Stone, the charges in this

case, or about his guilt or innocence in this case?” – was “likely false,” because “[s]he seems to

have expressed an opinion.” Mot. Hr’g Tr. at 55; see also id. at 56 (the juror “failed to disclose

evidence regarding her strong views about Mr. Stone”). Yet the defense has presented no evidence

– not one post – that undermines the juror’s answer because it “expressed an opinion” about Roger

Stone’s guilt or innocence. There are only two posts that relate to him or his arrest in any fashion:

one transmits a lengthy, straightforward National Public Radio piece about all of the Special

Counsel’s indictments, and the other does not talk about the charges at all. See Posts 25 and 26.

Neither belies the juror’s stated assessment that she could be fair.

       In the absence of any explicit statements of opinion about Stone, the defense casts its

arguments about bias in terms of some sort of blend of “anti-Stone and anti-Trump sentiment.”

Am. Mot. at 1; see also id. at 2 (complaining about “this juror’s overwhelming explicit bias against

him and Donald Trump”). 46 But linking them together in a sentence does not make them one and

the same; there is zero evidence of “explicit bias” against Stone, and defendant’s attempts to gain

a new trial based on implied or inferred bias fail.




46      The defendant’s rhetoric on this point is hardly justified, and it is often unmoored from the
facts. For instance, he describes a photograph of the juror with Donna Brazile, a well-known
Democratic political strategist, as an illustration of “the depth of her political alliance with forces
opposing Trump.” Am. Mot. at 11. But the photo was posted in 2008, eleven years before the
Stone trial, eight years before there was an Office of Special Counsel, and seven years before
Donald Trump had even entered the race to be the 2016 Republican nominee. Also, the motion
went to great lengths to characterize a post from the early morning hours of November 16 as a
gleeful response to the verdict, despite the fact that the verdict had yet to be returned, and it was
pure speculation to interpret the post in that manner. Counsel retreated from the accusation
completely at the hearing, admitting that the juror had not communicated publicly about the case
at any point during her service. Mot. Hr’g Tr. at 62.


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       The defense asserts that the foreperson’s posts about the President “imply an attitude

towards the defendant.” Mot. Hr’g Tr. at 46; see Am. Mot. at 6 (“[H]er bias is evidenced

throughout her social media postings, and, therefore, . . . the Court can and should infer her bias

against Stone.”). It is true that several posts convey a negative view of the President or

disagreement with certain policy decisions. 47 And on two occasions during the years covered in

the composite exhibit, the juror – through her own comments or her retweets – drew attention to

the presence of white supremacists at political rallies and the absence of any condemnation by the

President or his supporters. 48 But these communications do not demonstrate a bias towards Roger




47      See, e.g., Post 9 (Aug. 13, 2017) (tweet about crowd yelling “boooo” and “shame” walking
by Trump hotel); Post 10 (Aug. 19, 2017) (“Quick question for the #Klan President and the 64%
of Republicans who agree with his remarks and behavior over . . . ”) (ellipses in original); Post 12
(Oct. 22, 2017) (tweet about “foolishness” from this administration); Post 17 (Jan. 13, 2018) (tweet
stating “Gotta love it!” in response to a retweet about a derogatory word being projected onto the
wall of the Trump International Hotel in Washington); Post 18 (Jan. 20, 2018) (tweet of opinion
piece titled, “Opinion | What’s so extremely, uniquely wrong about Trump’s presidency”); Post 22
(Jun. 14, 2018) (tweet about “the candidate of the party of family values and Jesus”); Post 23
(Nov. 2, 2018) (tweet of article that “they stick with Trump” because his “immigration agenda is
the white evangelical immigration agenda.”).
        The juror specifically testified in response to questions from the defense that Post 36 was
not about Roger Stone. Mot. Hr’g Tr. at 107–08.

48     See, e.g., Post 34 (Aug. 2, 2019) (tweet of article about Trump supporters stating “We’re
All Tired of Being Called Racists” with comment from the juror, “Then stop being racists. Co-
signing and defending a racist and his racist rhetoric makes you racist. Point blank.”); Post 35
(Aug. 25, 2019) (tweet of an article about a ku klux klan rally with participants carrying a banner
with the slogan “help make America great again” with comment by the juror, “Will the MAGA
crowd denounce or condone this affiliation?”).


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Stone or an inability to be impartial when considering the particular charges against him. 49

       In United States v. Chapin, 515 F.2d 1274, 1287 (D.C. Cir. 1975), the D.C. Circuit refused

to equate views about President Nixon with an inability to be impartial to someone who worked

in the White House, an even closer connection than the one here. The Court upheld a lower court’s

decision to deny a request to move the trial, and it rejected an argument based on an expert’s survey

of local opinions about the president because “[the expert’s] testimony in no way recognized that

there might be a distinction between a potential juror’s feelings as to Richard Nixon himself and

one of his minor functionaries.” See id. at 1287; see also United States v. Haldeman, 559 F.2d 31,

61–62 (D.C. Cir. 1976) (upholding the district court’s decision not to move Watergate-related trial

and finding no reason to conclude “that the population of Washington, D.C. was so aroused against

appellants” that they could not decide the case based on the evidence presented at trial); United

States v. Poindexter, 725 F. Supp. 13, 38 (D.D.C. 1989) (rejecting an argument that negative

publicity following the verdict in another case was damaging to the defendant, noting that negative




49       In this case, the defendant was charged with obstructing an investigation undertaken by a
Congressional committee under the control of a Republican majority. See Gov’t Trial Ex. 3,
Jan. 25, 2017 Joint Statement on Progress of Bipartisan HPSCI Inquiry into Russian Active
Measures (“Today, House Permanent Select Committee on Intelligence Chairman Devin Nunes
and Ranking Member Adam Schiff released the following statement: For many years, one of the
House Intelligence Committee’s highest priorities has been to oversee the Intelligence
Community’s activities to counter Russian aggression, including the cyber-attacks directed against
the United States in the last year. As part of this oversight responsibility, the Committee has been
undertaking a bipartisan inquiry of these activities and the underlying intelligence used to draft the
Intelligence Community Assessment, ‘Russian Activities and Intentions in Recent US Elections’.
. . . This issue is not about party, but about country. The Committee will continue to follow the
facts wherever they may lead.”); see also Ex. A to Gov’t Opp. to Def.’s Mot. to Dismiss Pursuant
to Fed. R. of Crim. Pro. 12(b)(3) [Dkt. # 93-1] (then-Chair Nunes transmits the hearing transcript
and other requested information to the Department of Justice “[p]ursuant to a Committee vote”
and “with no restrictions on use by the [Special Counsel’s Office] or other components of the
Department of Justice.”).

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commentary “appears to have been directed not at this defendant but at President Reagan and

others better known to the public than Poindexter”).

       The fact that the foreperson had some limited knowledge about Stone or that she was

following the investigation in general does not give rise to an inference that she had made up her

mind about him. “Qualified jurors need not . . . be totally ignorant of the facts and issues involved.

. . . It is sufficient if the juror can lay aside his impression or opinion and render a verdict based

on the evidence presented in court.” Murphy v. Florida, 421 U.S. 794, 799–801 (1975) (ruling

that the petitioner had failed to show that the jury-selection process permitted an inference of actual

prejudice even though some jurors had a vague recollection of the crime with which petitioner was

charged and each had some knowledge of petitioner’s past crimes). Thus even if one were to glean

from the posts about the Special Counsel or Russian electoral interference that the juror was of the

view that these inquiries were not a waste of time, one cannot presume that she was disingenuous

when she voiced her belief that she could still be fair to an individual defendant.

       The defendant’s own motion recites case law that suggests that bias can only be implied in

“extreme situations,” such as when a juror has a relationship with one of the parties. Am. Mot.

at 5 (“Bias is implied in ‘extreme situations where the relationship between a prospective juror and

some aspect of the litigation is such that it is highly unlikely that the average person could remain

impartial in his deliberations under the circumstances.’”), quoting United States v. Sampson,

820 F. Supp. 2d 151, 164 (D. Mass. 2011). The Sampson case and others cited involved close

personal associations with a party or a lawyer. Defendant has done nothing to satisfy that standard.

       At bottom, the defense merely posits that if you do not like Donald Trump, you must not

like Roger Stone, or if you are concerned about racism on the part of some of the President’s

supporters, then you must be applying that label to Roger Stone because he was a supporter, too.



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While there is no evidence that proves this hypothesis, there is evidence that contradicts it: the

juror testified at the hearing that the 2017 post raising concerns about the President’s racism was

not a quote from her, but it was someone else’s language. See Mot. Hr’g Tr. at 110. And there is

no evidence in the record that she had even heard of Stone at that point. The defense also

confronted her with a retweet from August 2, 2019, in which she asserted that those who defend a

“racist and his racist rhetoric” are racists themselves. Post 34. This was posted after the juror was

aware that Roger Stone had been charged in this case, but it does not draw any explicit connection

to Stone and the juror denied under oath that the general comment about some Trump supporters

was about the defendant. Id. at 107; see also id. at 108 (“This post is not about Roger Stone,

though, if that’s what you’re asking.”). This testimony was not shaken by the cross-examination

or contradicted by any evidence; the attempt to impute knowledge of the details of the men’s




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relationship to the juror based solely upon the NPR article she posted eight months before fell

flat. 50




50         See Mot. Hr’g Tr. at 108–09.
                  [DEFENSE COUNSEL]: What I’m asking is, you’ve answered that Roger
                  Stone, you would consider an associate of President Trump; right?
                  JURY FOREPERSON: Prior to the trial, I don’t know that I would consider
                  him an associate of President Trump.
                  [DEFENSE COUNSEL]: Well, you posted an article on January 25, 2019,
                  the date on which he was arrested, which you said you read or you probably
                  read, with the caption “brought to you by the lock her up peanut gallery,”
                  and in that article, it talks about his connections with President Trump and
                  the charges against him brought in connection with his actions on behalf of
                  President Trump.
                  JURY FOREPERSON: I don’t recall what that article was about.
                  THE COURT: Prior to the trial, did you have – did you know who Roger
                  Stone was?
                  JURY FOREPERSON: Yes.
                  THE COURT: And who did you know him to be prior to the trial?
                  JURY FOREPERSON: Prior to the trial, my thinking was that he was
                  arrested because he had been connected with the Russia probe and helping
                  President Trump, but I knew nothing about him other than that. I did
                  retweet in January when he was arrested. That was certainly more about
                  President Trump . . . .
                  THE COURT: But did you know before the trial how long they had known
                  each other or what role, if any, he played in the campaign?
                  JURY FOREPERSON: No. . . .
                  [DEFENSE COUNSEL]: But you knew he was connected to President
                  Trump, and that was why he was -- well, you knew he was connected to
                  President Trump?
                  JURY FOREPERSON: I knew he was arrested because of connections with
                  the 2016 Russia probe around campaign interference, election interference.”
Even the NPR article the defense apparently expected the juror to recall verbatim describes Stone
as nothing more specific than “a longtime informal adviser to President Trump.” See Def.’s Hr’g
Ex. 2, linked in Post 25 (Jan. 25, 2019).


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        At bottom, the motion appears to be based on the defendant’s assumption that the juror

must have known who he was, what his relationship with Donald Trump has been over time, and

what role he played in the campaign, and that since he was so central to the election, one could not

possibly view him independently from the President. See Mot. Hr’g Tr. at 45–46. But there is no

basis to conclude that Roger Stone was a household name in either Washington, D.C. or in the

foreperson’s home state, particularly given his short and informal association with the campaign. 51

       The case law in this Circuit makes it clear that one cannot assume that people in the

community – even those who follow the news – have a deep understanding of the facts of a

particular case.   During the prosecutions that arose out of the Watergate and Iran-Contra

investigations, the Court of Appeals repeatedly expressed its confidence that jurors with open

minds could be found within the District, even though the investigations had received a great deal

of public attention. See United States v. Mitchell, 551 F.2d 1252, 1262 n.46 (D.C. Cir. 1976)

(“10 of the 12 jurors selected in that case claimed to have followed Watergate casually, if at all”),

rev’d on other grounds sub nom., Nixon v. Warner Communications, 435 U.S. 589 (1978); see also

United States v. North, 713 F. Supp. 1444, 1444 (D.C. Cir. 1989) (“while some of the public

becomes thoroughly engrossed in such a story many do not”). As the D.C. Circuit observed in an

opinion quoted by the Supreme Court when addressing jury selection in the Enron matter: “[t]his

may come as a surprise to lawyers and judges, but it is simply a fact of life that matters which




51      See Nov. 12, 2019 A.M. Tr. at 920 (testimony of Richard Gates that “Mr. Stone served as
an adviser to Mr. Trump prior to [Gates] and Mr. Manafort joining the campaign,” that in May
2016, “it was [Gates’s] understanding [Stone] did not have a formal role with the campaign,” but
that he “still had people that he knew on the campaign and had the ability to access those people.”);
see also Donald Trump (@realDonaldTrump), Twitter (Feb. 25, 2020, 3:01 PM) (“Roger wasn’t
even working on my campaign.”).


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interest them may be less fascinating to the public generally.” Skilling v. United States, 561 U.S.

358, 391 n.28 (2010), quoting Haldeman, 559 F.2d at 62 n.37.

        The defendant gathered no statistics that would give any heft to his assumptions about what

members of the public, or even members of the democratic party, thought of him, and there is

nothing in the record that supports his characterization of what was in the juror’s mind. 52 And a

key piece of evidence that is in the record – the foreperson’s questionnaire – confirms that she was

not particularly focused on the details of Stone’s case: her stated understanding that Stone was

“accused of inappropriate contact [with] Russian officials in the effort of helping Mr. Trump’s

campaign for President,” JQ 27, is, in fact, inaccurate.

        Finally, the D.C. Circuit has held that a district court is in the best position to assess the

credibility of a juror’s statement in such circumstances. See United States v. Gartmon, 146 F.3d

1015, 1027–29 (D.C. Cir. 1998) (holding that the district court, having observed the demeanor of

the juror at a hearing about the effect of a law enforcement officer’s contact with him during the

trial, is in the best position to determine the credibility of a juror’s assurance that the contact would

not influence him); see also Mu’min v. Virginia, 500 U.S. 415, 428 (1991) (holding that “a trial

court’s findings of juror impartiality may be overturned only for manifest error”) (internal citations

and quotation marks omitted).

        This Court has now had the opportunity to question the juror on two occasions. During the

individual voir dire, the foreperson swore in open court – subject to cross-examination – that she




52      See Mot. Hr’g Tr. at 47 (“ THE COURT: . . . [D]o you have any statistical information,
any surveys, or anything you’ve done that would indicate what members of the public or even
active members of the Democratic Party knew about Roger Stone in particular prior to the trial
and all the evidence came out, other than the fact that he had been indicted? [COUNSEL]: No. I
have no information about that.”).


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could be impartial in deciding the case. See Nov. 5 P.M. Tr. at 94. The Court found her testimony

to be entirely sincere and credible – and from all indications, the defense did too, because it did

not even ask to strike the avowed democrat with “opinions” about the President at that time. Id.

at 96. At the hearing on the motion for new trial, the juror described the care she took when

answering the questions, and she was frank about what she could not remember and appropriately

reluctant to be definitive, even if a flat yes or no answer might have put a matter to rest. See, e.g.,

Mot. Hr’g Tr. at 90–91, 98, 105, 111. Counsel for the defendant cross-examined the juror at length

after the Court granted his request for a hearing, but that interrogation uncovered no evidence of

hidden bias. Mot. Hr’g Tr. at 99–120. Based on the foreperson’s testimony and her demeanor

during both court appearances, and the lack of anything other than indignation and innuendo to

contradict her, the Court finds that her answers about her subjective belief that she could be

impartial in deciding the case were sincere and truthful.

II.    The juror’s social media posts are not “newly discovered evidence” that can support
       a motion for new trial.

       The defendant filed his motion to vacate the conviction and grant a new trial under

Rule 33(b) – that is, on the grounds that he has presented “newly discovered evidence.” But to

obtain a new trial on that basis, a defendant must show, among other things, “diligence in the

attempt to procure the newly discovered evidence.” Johnson, 519 F.3d at 487. “Due diligence has

not been exercised if the defendant or his counsel could have, without unusual effort, acquired the

evidence before or during the trial.” United States v. DiMattina, 885 F. Supp. 2d 572, 577

(E.D.N.Y. 2012), citing United States v. Alessi, 638 F.2d 466, 479 (2d Cir. 1980). In Johnson, the

D.C. Circuit upheld the trial court’s denial of a Rule 33(b) motion because the defense did not act

with diligence in an attempt to procure an affidavit from an exculpatory witness prior to trial, when

the new witness was the daughter of a woman who had provided testimony by the time of the


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pretrial suppression hearing, and the two women lived together at the time of the defendant’s arrest.

519 F.3d at 487; see also United States v. Sheffield, 832 F.3d 296, 311 (D.C. Cir. 2016)

(“[Defendant] could have sought independent testing of the PCP before trial, but he did not.”).

       Here, defendant’s motion asserts that “the evidence meets the requirement that it be newly

discovered, as it was not known during the jury selection process or during trial, despite diligent

efforts by Stone to uncover any such evidence.” Am. Mot. at 4. But there is no evidence that the

defense made any efforts to under this information, much less, diligent ones.

       A.   The defense chose not to conduct internet research on the foreperson despite
            her disclosure that she used social media.

       Defendant states that he became aware of the foreperson’s social media comments after the

trial, following her February 12, 2020 Facebook post about the prosecutors. Am. Mot. at 2. But

the defense could have discovered the posts as early as September 12, 2019, the day counsel

received access to the completed juror questionnaires, including the foreperson’s, which had her

name printed legibly on the signature page. See Mot. Hr’g Tr. at 6, 8, 10.

       The motions to strike potential jurors for cause based on the questionnaires were due on

September 19, Min. Order (Sept. 13, 2019); the defense filed its list on September 17. Def.’s Strike

List. The foreperson’s questionnaire – which was provided to the parties specifically for their

review in connections with that exercise – informed the defendant that:

            •   the foreperson used social media; in particular, she got news and information from
                Facebook and Twitter, JQ 21;

            •   she “shared” items on Facebook, JQ 23;

            •   she may have posted something about the defendant or the Special Counsel on
                social media, JQ 23;

            •   she served on an elected local school board for eight years and ran in a Democratic
                primary for Congress, JQ 24;



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           •   she followed media reports relating to investigations into Russian interference in
               the 2016 election “[s]omewhat [c]losely,” JQ 25;

           •   she had read or heard about the defendant, JQ 27; and

           •   she had opinions about “some of the officials” in the list of names in the
               questionnaire, which included Donald Trump. JQ 30.

And by November 4, at the latest, the defense knew the exact order in which the potential jurors

would be questioned and seated on the jury if they qualified, and that the foreperson was the

fourteenth name on the list. Jury Panel Sheet at 1. By the time voir dire was completed at the end

of the day on November 5, she was tenth.

       Defendant asserted in his motion filed on February 14 that the posts could not have been

discovered with the exercise of diligence because prior to February 12, “there appear to have been

viewing restrictions (and some remain)” on the juror’s social media posts. Am. Mot. at 3–4. But

he has submitted no evidence on that point. The posts that have been offered in support of the

motion were easily accessible to the public on February 12, 2020, and the defendant made his

assertion without pointing to any evidence to show that they were not sitting there the whole time,

including on September 12, 2019. At the hearing, the juror testified that her Facebook and Twitter

posts were public at the time the jury was selected, and that she made her settings more private for

the first time after the trial. Mot. Hr’g Tr. at 88. She did not delete any previous posts at that time,

or at any other time. Id. at 90. So, the problem is not that the material could not be discovered; it

was not discovered. And it was not discovered because no one was looking for it.

       Counsel for defendant informed the Court on the record at the hearing that not one of the

five attorneys who comprised the trial team at the time of jury selection was tasked with Googling

the jurors. See Mot. Hr’g Tr. at 31–32. He also explained that the jury consultants were hired “to

review the jury questionnaire and give us their thoughts about which jurors would be favorable to



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the defense,” but that they were not retained to conduct internet searches to discover social media

profiles or activity.   Id. at 31.   Given the wealth of information available on the written

questionnaires and the opportunity for follow-up voir dire on an individual basis, the team was

free to make a strategic decision concerning the allocation of its time and resources, but that

decision precludes any finding that the evidence was “newly discovered.”

       Defendant contends that counsel should not be obligated to “scour public records to verify

the accuracy of a prospective juror’s disclosures.”      Reply at 3, citing Williams v. Taylor,

529 U.S. 420, 443 (2000). 53 But that pronouncement lifted from a twenty-year old decision

provides little guidance in today’s world. An effort to uncover social media activity would not

have required the lawyers to pore over dusty family court records in the basement of a county

courthouse. All they had to do was sit and type her name into an internet search engine on a laptop




53      In that case, a juror failed to disclose that she had previously been married to the deputy
sheriff who was to be the prosecution’s first witness, and that one of the prosecutors had
represented her in the divorce. Id. at 440–43.


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– a rudimentary practice that has been an inexpensive and popular arrow in the trial practitioner’s

quiver for quite some time. 54




54       During the 2007 trial of accused terrorist Jose Padilla, a juror was dismissed after counsel
using their laptops during voir dire discovered information inconsistent with her responses. Tracy
J. Jasper & Gordon F. Lull, Lives of Jurors, Los Angeles Lawyer, Feb. 2009, at 21, 22;
https://supreme.findlaw.com/legal-commentary/ googling-potential-jurors-the-legal-and-ethical-
issues-arising-from-the-use-of-the-internet-in-voir-dire.html.
         In 2012, the New York City Bar Association addressed the question of ethical issues that
could arise in connection with an attorney’s use of social media websites to research potential or
sitting jurors in a formal opinion issued. See Professional Ethics Committee, New York City Bar
Ass’n, Formal Op. 2012-2 - Jury Research and Social Media, The Ass’n of the Bar of the City of
New York (2012); see also Thaddeous Hoffmeister, Investigating Jurors in the Digital Age: One
Click at a Time, 60 U. Kan. L. Rev. 611, 612 (2012) (observing in 2012 that “[t]he speed and ease
by which information about jurors is now discovered online has led attorneys to increasingly
investigate and research jurors. In fact, the practice has become fairly commonplace, with courts,
practitioners, and state bar associations all approving and encouraging its use.”) (footnotes
omitted).
         Other bar associations had already responded to the trend, see New York State Bar Ass’n,
Op. 843, Committee on Professional Ethics (2010) and San Diego Cty. Bar Ass’n., SDCBA Legal
Ethics Opinion 2011-2, San Diego Cty. Bar Legal Ethics Committee (2011), and the American
Bar Association issued its opinion on researching potential jurors online in 2014. See Standing
Committee on Ethics and Professional Responsibility, Formal Op. 466: Lawyer Reviewing
Jurors’ Internet Presence, Am. Bar Ass’n. (2014) (Lawyers may passively review a juror’s or
potential juror’s public internet presence, which may include postings by the juror or potential
juror in advance of and during trial, unless limited by court order.).
         The D.C. Bar issued its ethics guidance on the subject in 2016. See D.C. Bar Ethics
Committee, Ethics Opinion 371: Social Media II: Use of Social Media in Providing Legal
Services, D.C. Bar, section III(D) (2016) (“Competent and zealous representation under Rules 1.1
and 1.3 may require investigation of relevant information from social media sites of jurors or
potential jurors to discover bias or other relevant information for jury selection. Accessing public
social media sites of jurors or potential jurors is not prohibited by Rule 3.5 as long as there is no
communication by the lawyer with the juror in violation of Rule 3.5(b), and as long as such access
does not violate other applicable Rules of Professional Conduct.”) (footnotes omitted). See
generally Andrew J. Ennis & Catherine A. Green, A Quick Guide to Social Media and Litigation,
Am. Bar Ass’n. (2020).

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       Lawyers representing clients in this court cannot possibly complain that they lacked access

to the internet; an attorney is not permitted to enter an appearance on this court’s docket without

it. See Local Criminal Rule 49; see also Local Civil Rule 5.4. There is public wireless internet

available throughout the courthouse. And at the hearing, counsel for the defense acknowledged

that all of the attorneys on the case had internet access, including at the locations where they were

working or staying in Washington during the trial. See Mot. Hr’g Tr. at 32–33.

       Judges – and even appellate judges – have long been aware of the broad availability of the

technology. Ten years ago, in Carino v. Muenzen, a trial judge in New Jersey interrupted voir dire

to ask one lawyer, “are you Googling these [potential jurors]?” 2010 WL 3448071, at *4

(N.J. Super. Ct. App. Div. Aug. 30, 2010) (alteration in original).          The lawyer responded,

“everyone does it,” but the judge made him stop on the grounds that it would be unfair to the

lawyer for the other side who did not come to court similarly prepared. Id. This reasoning was

rejected on appeal; the appellate court concluded that the judge “acted unreasonably” when he




        The practice has been sufficiently widely used to become a subject of treatises. See Nancy
Gertner, Judith H. Mizner, & Joshua Dubin, The Law of Juries, Chapter 3 Section 3 at § 3.28, 10th
ed. (2018) (“The internet, and in particular social media . . . offers the possibility of a rich source
of information about jurors that escapes the constraints of formal voir dire.); § 3.30 (“In a high
profile case, counsel may move to obtain the list [of potential jurors] in advance of trial, arguing
that they need to determine if the juror has blogged about the case in advance, or posted a Facebook
statement that would be publicly available.”); and § 3.31 (“At the very minimum, pre-trial
investigation of potential jurors . . . can provide counsel with the justification for more probing
voir dire questions . . . . And it can provide a direct basis for a cause challenge to a particular
juror.”), citing John O. Browning, Voir Dire becomes Voir Google: Ethical Concerns of 21st
Century Jury Selection, Am. Bar Ass’n. (2016).

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intervened “in the name of ‘fairness’ or maintaining ‘a level playing field.’ The ‘playing field’

was, in fact, already ‘level’ because internet access was open to both counsel. . . .” Id. at 10. 55

        So the defense was free to avail itself of these publicly available sources. The fact that

when it decided to look, it found the posts, identified the ones of interest, and put them together in

a memorandum for the court within two days suggests that this was not a task involving “unusual

effort.” See DiMattina, 885 F. Supp. 2d at 577. But the decision not to conduct internet research

did not deprive the defendant of his only means to discover the information. Stone also had of a

full opportunity to learn more about the foreperson’s questionnaire responses during the individual

voir dire.




55     Other appellate courts have also taken notice of advances in technology. In Johnson v.
McCullough, 306 S.W.3d 551 (Mo. 2010), a trial judge relied on existing state precedent when it
sustained a motion for new trial based on evidence from court records that suggested a juror’s
answer during voir dire had been incomplete even though the records were available at the time.
On appeal, the Missouri Supreme Court held that it could not find reliance on current precedent to
be erroneous, but even in 2010, it took the time to observe:
               [T]here was no evidence that it was practicable for the attorneys in this case
               to have investigated the litigation history of all of the selected jurors prior
               to the jury being empanelled. Accordingly, there was no error in the trial
               court’s determination that Johnson’s juror nondisclosure argument was
               timely.
               However, in light of advances in technology allowing greater access to
               information . . . , it is appropriate to place a greater burden on the parties to
               bring such matters to the court’s attention at an earlier stage. Litigants
               should not be allowed to wait until a verdict has been rendered to perform
               a Case.net search for jurors’ prior litigation history when, in many instances,
               the search also could have been done in the final stages of jury selection or
               after the jury was selected but prior to the jury being empanelled. Litigants
               should endeavor to prevent retrials by completing an early investigation.
Johnson, 306 S.W.3d at 558–59.



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       B.   The defense chose not to ask follow up questions during the individual voir dire
            about the foreperson’s opinions or social media activity despite her disclosures
            in the questionnaire.

       On November 5, 2019, by which time the defense was in possession of the Jury Panel Sheet

and the foreperson’s written responses to the questionnaire, the jurors were brought into the

courtroom one by one. This gave each side a second opportunity “to expose bias or prejudice on

the part of the veniremen.” Littlejohn, 489 F.3d at 1342; United States v. Orenuga, 430 F.3d 1158,

1162, 1163 (D.C. Cir. 2005). Yet the questioning by counsel, which the Court did not limit or cut

off in any way, see Mot. Hr’g Tr. at 57–58, was relatively abbreviated.

       The questionnaire revealed that the juror: had a law degree; had a close friend or family

member in law enforcement; was active in civic organizations; had previously served as a grand

jury foreman; received news and information from, and “shared” material on, social media sites;

considered the Washington Post, New York Times, and CNN, among others, to be her “primary

sources of news and information[;]” listened to political commentators such as Anderson Cooper

and Rachel Maddow on CNN and MSNBC; “may have shared an article” about the defendant or

the Special Counsel investigation on Facebook; was elected to serve on a local school board and

ran in a primary race for Congress as a democrat; followed media reports related to the

investigations into Russian interference in the election “[s]omewhat [c]losely;” had read or heard

about the Roger Stone case; and had opinions about “officials/people” who might be discussed

during the trial. JQ 4, 14, 18–19, 21–25, 27, 29–30. That provided, as the Court had already

alerted the parties, plenty of “grist” for further examination. Nov. 5 A.M. Tr. at 23–24.

       Courts have found an absence of due diligence when a party was on notice of pertinent

information about a potential juror and failed to take advantage of the opportunity to seek more

detail. For example, in R.J. Reynolds Tobacco Co. v. Allen for Estate of Allen, 228 So. 3d 684



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(Fla. Dist. Ct. App. 2017), an appeals court in Florida upheld a trial court’s denial of the

defendant’s motion for a new trial. Id. at 686–89. The defendant complained about a juror’s

failure to disclose his bias against tobacco companies, and as in this case, it predicated its motion

on social media posts. Id. at 686. But the trial court denied the motion because the defense decided

not to ask the juror questions to explore what he said about tobacco companies in the questionnaire

more deeply, and the court of appeals affirmed.

               [D]ue diligence required follow-up questions to [the juror], a long-time
               smoker now five years “clean,” to examine whether he “harbored no ill-
               feelings toward tobacco companies.” Due diligence is lacking when at best,
               an ambiguity may exist which was not explored. The trial court noted that
               it did not impose time limits on the voir dire. The trial court concluded that
               Appellants’ likely strategic decision not to question [the juror] did not
               satisfy due diligence.

Id. at 688 (internal quotation marks and citation omitted) (“Given [the juror’s] disclosed personal

and family history with cigarette smoking, along with his answers to questions 30 through 32 in

the questionnaire, . . . [the juror] should have been asked clear and direct questions during jury

selection regarding any bias against tobacco companies”).

       Here, the defense did not ask any follow up questions about the juror’s avowed use of

social media, her interest in the Special Counsel’s investigation or what she had heard about the

defendant. See JQ 21, 23, 25, 27; Nov. 5 P.M. Tr. at 95–96. 56 Nor did it inquire further about the

opinions she said she had about “some of the officials” listed in the questionnaire, even though




56     This would not have been particularly time consuming or burdensome; the defense did ask
questions about those topics to other jurors. See, e.g., Nov. 5 P.M. Tr. at 64 (counsel asked a juror,
“Are you on any social media?” When the juror identified Instagram, Twitter, and Facebook, he
went on: “Do you advocate politically on any of these social media?”).


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this response clearly signaled that she may have had opinions about the President, the most obvious

“official” on the list. See JQ 29, 30; Nov. 5 P.M. Tr. at 95–96. 57

        The defense did ask the juror about her own political aspirations and political affiliation.

                [DEFENSE COUNSEL]: You’ve worked on campaigns for Congress
                people running for Congress?

                PROSPECTIVE JUROR: I ran for Congress.

                [DEFENSE COUNSEL]: You ran for Congress?

                PROSPECTIVE JUROR: I worked on my own campaign.

                [DEFENSE COUNSEL]: And you have friends who worked for other
                congressmen?

                PROSPECTIVE JUROR: Yes.

                [DEFENSE COUNSEL]: Do you have any political aspirations now?

                PROSPECTIVE JUROR: I don’t know, not federal.

                [DEFENSE COUNSEL]: What might they be?

                                               *        *    *

                PROSPECTIVE JUROR: I served, can I just say I served in political office
                in Memphis in a local office on the school board. So I, one day I wake up
                and say I run for, you know, office again in Memphis to impact education.
                One day I wake up and say no way in the world would I do that. So I don’t
                have an immediate plan to run for office.

Nov. 5 P.M. Tr. at 95–96. The juror was also asked about the effect of defendant’s political

affiliation on her ability to be impartial. See id. at 96.




57     Counsel admitted as much at the hearing. Mot. Hr’g Tr. at 53; see Nov. 5 P.M. Tr. at 181–
82 (counsel questioned another juror about his answer to Question 30 stating that he had opinions
about Donald Trump).


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               [DEFENSE COUNSEL]: The fact that you run for an office, you’re
               affiliated with a political party. Roger Stone is affiliated with the
               Republican party, Donald Trump. You understand what I’m saying and
               getting at?

               PROSPECTIVE JUROR: I do.

               [DEFENSE COUNSEL]: How do you feel about that?

                                              *      *       *

               THE COURT: Can you make that question a little bit more crisp? Is there
               anything about his affiliation with the Trump campaign and the Republican
               party in general that gives you any reason to pause or hesitate or think that
               you couldn’t fairly evaluate the evidence against him?

               PROSPECTIVE JUROR: No.

               [DEFENSE COUNSEL]: Thank you, ma’am.

Nov. 5 P.M. Tr. at 96. 58 The defense attorney appeared satisfied with her answers, concluding his

questioning on his own without any prompting from the Court, and foregoing the opportunity to

ask more questions or move to strike her for cause. Id. The defense team also chose not to use a

preemptory strike in her case, and it permitted the juror to be seated in the box.

       The Court had the opportunity to view the juror’s demeanor during this inquiry. She was

thoughtful, friendly, and open, and the Court found her to be extremely credible at the time. The

fact that the defendant asked few questions to probe any of the potential areas of interest that were

apparent on the face of the questionnaire further suggests that the defense team was similarly struck

by her sincerity and warm demeanor.




58      One can hardly characterize “you understand what I’m getting at?” or “how do you feel
about that?” as questions that were sufficiently specific to call for the information the defense is
now claiming was concealed. See R.J. Reynolds, 228 So. 3d at 688 (“[W]e find no abuse of
discretion in the trial court determining that [the juror] should have been asked clear and direct
questions during jury selection . . . .”).


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        There are a host of considerations that may lead a criminal defense attorney to conclude

that a juror is likely to view a case favorably, or to be open to defense arguments or rigorous about

the presumption of innocence. Here, defendant had a team of lawyers and jury consultants, and

he had multiple opportunities to ask to strike this juror: on September 17 when it submitted its

strike list, on November 4 when it filed a motion for reconsideration, on November 5 during

individual voir dire, and on November 6 when it exercised its preemptory strikes. The fact that he

did not choose to do so at any point suggests that the defense team identified something in her

background, her questionnaire responses, or her in-court demeanor that gave it confidence that she

could be favorable to the defendant and fair and impartial. 59

        The testimony of the other jurors suggests that any trust reposed in this juror was

well-placed. Jurors A and B were unequivocal that the foreperson established a process that

required the jurors to consider each element of each charge in isolation, and that she never sought

to impose her views on them or control the outcome. See Mot. Hr’g Tr. at 75–76, 80–81. Juror A

testified that the foreperson was among several jurors who pressed the group to take its time when

some jurors were prepared to convict more quickly. Id. at 77. And Juror B, whom the defense

selected, testified:




59     The record in this case reflects that the defense was not shy about moving to strike jurors
who, like the foreperson, were open about the fact that they had opinions about the President on
the grounds that they would be biased against the defendant for his association with Trump. See
generally Def.’s Mem. on Jury Selection [Dkt. # 249] (SEALED).


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                JUROR B: . . . We all agreed on -- most of us agreed on our answer. We
                already said that, you know, he was guilty. . . . But it was the foreman that
                insisted that we examine question 3, examine charge 3 a little more.

                THE COURT: Okay. There was a count that you sent out some notes about.
                Is that the one that the foreperson asked you to be more careful?

                JUROR B: Yes, that’s the one. We needed to examine that a little more
                and read the transcript, you know, find out more evidence.

                THE COURT: So it was the foreperson who insisted that that level of
                attention be paid to that count, even though some of you were ready already
                to decide?

                JUROR B: Yes.

Mot. Hr’g Tr. at 81–82.

        Given the defense team’s strategic decision not to search the internet for publicly available

social media posts, and its selection of questions to ask during individual voir dire, the Court finds

that the evidence is not “newly discovered,” and it does not supply a basis for a new trial under

Rule 33(b).

III.    There is no basis for a new trial based on any other juror misconduct.

        There was no evidence presented to support defendant’s speculative assertion that the

foreperson must have read about the case online and must have shared what she read with the other

jurors. Throughout the trial, the Court instructed the jurors not to read or listen to any reports

about the case and to refrain from conducting any internet research or communicating about the

trial or the defendant.

                [A]s I’ve told you before, you can’t use the internet or newspapers to do
                research about the facts or the law or the people involved in the case. . . .
                All parties have the right to have the case decided based only on the
                evidence and the legal rules that they know about and that they have a
                chance to respond to. Relying on information you get outside the courtroom
                is unfair because the parties wouldn't have a chance to refute, correct, or
                explain it. And it’s also unfair because not all jurors would have the same
                set of information, and that’s very important in a trial. . . .



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               In some cases, there may be reports in the newspaper or on the radio or the
               internet or television concerning the case while the trial is ongoing. In the
               event there’s media coverage in this case, you may be tempted to read it or
               listen to it or watch it. But, you must not read or listen to or watch those
               reports because you must decide this case solely on the evidence presented
               in the courtroom.

               If any publicity about the trial inadvertently comes to your attention during
               the trial, please don’t discuss it with other jurors or anyone else. Just let me
               or [the Deputy Court Clerk] know as soon as it happens, and then we can
               briefly discuss it with you.

Nov. 6 A.M. Tr. at 257–58. The jurors were never instructed to avoid the news or social media

altogether; they were repeatedly instructed to avoid receiving any information about the case. See,

e.g., id.; Nov. 6 P.M. Tr. at 392–93 (“This is your first evening that I’m sending you home with

the admonition that you’re going to hear quite frequently in this case. This evening, as I noted

earlier, you should not discuss this case with anyone. And you should not do any research or try

to learn anything more about the case. Everything you’re going to learn is going to be in this

courtroom. And if any news inadvertently comes to your attention, please turn it off. Please direct

your attention to something else. And please instruct anyone you live with not to try to bring

matters to your attention or to discuss the case with you.”); Tr. of Jury Trial, Nov. 8, 2019

[Dkt. # 302] at 878 (“[Y]ou are instructed to put this case out of your mind for the next several

days. Do not discuss it with anyone. If they bring it up, you tell them you don’t want to discuss

it with them. If any press information comes to your attention inadvertently, turn the page, click

on something else, turn off the TV, leave the room.”); Tr. of Jury Trial, Nov. 13, 2019 [Dkt. # 306]

at 1194 (“[A]s I tell you every evening, you have not yet received the case. Notwithstanding the

fact that you have heard all of the evidence. You won’t be together this evening, so you may not

discuss the case with anyone else or try to supplement the record by looking things up.”).




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        After the case was submitted to the jury, the jurors were finally permitted to discuss the

case among themselves. See Nov. 14 Tr. at 1252–53. After the jury reached its verdict on

November 15, it was relieved of the obligation to refrain from public comment. Nov. 15 Tr. at 9.

        Pointing to seven social media posts issued by the foreperson during the pendency of the

trial, defendant asserts that because the juror was posting on social media during the trial, she must

have seen postings about the trial online, and she must have discussed what she read online with

the other jurors.

                Her political posts demonstrate that she was actively reading news relating
                to Trump and presidential politics during trial, and almost undoubtedly also
                read about Stone, in violation of the Court’s repeated orders. In addition,
                given her obvious failure to follow the Court’s instructions in voir dire, a
                presumption arises that she failed to follow the Court’s instructions in other
                instances, which would further undermine the integrity of the trial.

Am. Mot. at 15; id. at 18 (calling for the juror to testify about whether she shared extraneous

information with the other jurors during trial).

        This was and still is an entirely speculative and unsupported allegation. None of the posts

mentioned the trial at all. Three of the posts relate to events in Tennessee and Kentucky, Posts

39–41; one related to Hillary Clinton, Post 37; one was a tweet of a link to a Facebook post which

does not indicate in any way what the post was about, Post 38; and one tweeted a comment about

the use of the Latin phrase “quid pro quo” instead of plain English in connection with the news of

the day related to the President. Post 36.

        In his motion, defendant placed heavy emphasis on a November 15, 2019 tweet reposting

a now dormant Facebook link accompanied by several emojis. Am. Mot. at 14. Based on this




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alone, he posited that the foreperson was celebrating the jury’s verdict in the Stone case before it

was announced.

                 [The juror] posted hours before the announced verdict in Stone’s case –
                 hearts, a fist pump, and fist raised (love, celebratory, and solidarity) emojis
                 coupled with a link to Facebook, which demonstrates that, in her mind, she
                 was putting up a fight and that she had succeeded in her quest to convict
                 Stone.

Id. Defendant acknowledged that the link to the Facebook post “cannot be read,” id. at 14 n.5, but

insisted nonetheless that it must have been about the verdict.

                 In light of the context of the numerous posts sampled in this motion and the
                 attached composite Exhibit, it is fair to conclude that the link to a Facebook
                 post was about the Stone trial.

Id. at 14 n.4.

        But this is not a “fair” conclusion in any way – it was an utterly unsupported attack on the

juror’s integrity. The emoji post was time stamped at 3:14 a.m., and it was not until 11:11 a.m.

that the jury sent a note indicating that it had reached a verdict. Note from Jury [Dkt. # 258]. The

juror was apparently pleased about something, and there were other posts from that time period

related to events in Memphis that were of interest, but the juror could not recall what the post was

about, and she admirably declined to speculate. See Mot. Hr’g Tr. at 90–92, 111. None of the

other posts in the composite express a view about the Stone case, and he was not mentioned at all

from the time of his arrest through the trial. Thus, a “fair” review of the composite shows that

from September 12 forward, the juror never deviated from her promise not to discuss the case.

        The defendant did not say anything further about the November 15 post in his reply, and

he did not rely on the post at the hearing, so there is no reason to conclude that it bears on the

juror’s attitude toward Stone or her obligation not to talk about the defendant’s case. At the




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hearing, the defense made that clear: “[w]e don’t say that any posts are in violation of your

instructions, Your Honor.” Mot. Hr’g Tr. at 62 (emphasis added).

       As for the other posts during the trial, the defense has correctly acknowledged that none

raise concerns. The jurors were not under any obligation not to read or tweet about “Trump and

Presidential politics” or other subjects, so the fact that the foreperson was on social media and

posted about political races in Kentucky or Memphis or even used the term “quid pro quo” does

not show she was violating any of the Court’s instructions during deliberations. There is no basis

to assume that she read about the case just because she was online, nor is there any basis to

conclude that she shared something she read online with the other jurors. See Am. Mot. at 16. 60

       The defense motion attached no juror affidavits or other documentation to support its bald

assertions of misconduct, and it presented no facts to support its allegations. 61 The government

argued that defendant had failed to meet the threshold to even have a hearing on this issue, and its




60     Indeed, the jurors were specifically instructed not only to avoid reading outside material
themselves, but also to report any efforts to communicate with them improperly and not one raised
any concerns. Nov. 6 A.M. Tr. at 256–57.

61     See Mot. Hr’g Tr. at 64–65:

               THE COURT: . . . [Y]ou don’t have any facts to indicate that she was
               reading things she wasn't supposed to read during the trial; correct?
               [DEFENSE COUNSEL]: Correct.
               THE COURT: Tweeting things she wasn't supposed to tweet during the
               trial?
               [DEFENSE COUNSEL]: Correct.
               THE COURT: Or showing any of it to the jury?
               [DEFENSE COUNSEL]: Correct.


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position was well founded. However, in an abundance of caution, the Court in its discretion gave

the parties an opportunity to hear from a sample of the jurors themselves. 62

       C.   Testimony of Juror A

       At the hearing, Juror A who was selected by the government, Mot. Hr’g Tr. at 72, was

asked whether the jurors had been exposed to news accounts about the trial, the selection of the

foreperson and the jury’s deliberations.

               THE COURT: . . . Sir, prior to this case being submitted to you for
               deliberation, were there any occasions when anyone, including a fellow
               juror, tried to discuss the case with you?

               JUROR A: No.

               THE COURT: Were there any occasions after you were selected but prior
               to the case being submitted to you when anyone, including a fellow juror,
               brought a news account or a social media post about the case or the
               participants in the case to your attention?

               JUROR A: No.

               THE COURT: Did that occur at any point during deliberations?

               JUROR A: No.

               THE COURT: At any point in deliberations did any juror discuss
               information outside of the record with you or, to your knowledge, with any
               other juror?

               JUROR A: I'm not sure what you mean “outside of the record.”

               THE COURT: Okay. During deliberations, did anybody talk about
               something they had read or heard on social media or the news as opposed
               to an exhibit in the case?

               JUROR A: I understand. No.




62      See Butler, 822 F.2d at 1195–97 (stating that trial courts presented with allegations of
improper juror contact have broad discretion to set the procedures by which inquiries are put to
jurors about the allegations).


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               THE COURT: What concerns did you have, if any, about whether the
               foreperson was attempting to impose her views on others or dominate or
               control the outcome in any way?

               JUROR A: I never had any feeling that she was attempting any of that.

               THE COURT: What concerns did you have, if any, at the time you rendered
               your verdict that you or the jury had not engaged in a full and fair
               consideration of the evidence?

               JUROR A: No concerns.

               THE COURT: Did you ever feel that you were being pressed by any juror
               to return a verdict that was anything other than your own considered
               judgment based on the evidence and the law as I instructed you?

               JUROR A: No, I did not.

                                             *       *      *

               THE COURT: All right. Did any juror at any time say anything to you that
               would indicate that he or she was basing his or her verdict on anything other
               than the evidence in the case?

               JUROR A: No.

               THE COURT: Did any juror at any time say anything to you that would
               indicate that he or she thought that you should base your verdict on anything
               other than the evidence in the case?

               JUROR A: No.

Mot. Hr’g Tr. at 73–78. The Court then asked the parties if they had any additional questions that

they would like the Court to ask, and counsel for both sides said no. Id. at 78.

       D.   Testimony of Juror B

       Juror B, who was selected by the defense, Mot. Hr’g Tr. at 72, at was then sworn and seated

on the witness stand. Following the instruction not to identify any juror by name on the public

record, Mot. Hr’g Tr. at 78–79, Juror B testified that no person and no fellow juror initiated a

discussion about the case before the case was submitted to the jury for deliberation. Id. at 79.



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Further, no one brought any news accounts or social media posts about the case or the people in

the case to the juror’s attention at any time from when the jury was selected through the conclusion

of the deliberations. Id. at 79. At no point during deliberations did any juror discuss any

information from social media or the news with Juror B or, as far as Juror B knew, with any other

jurors. Id. at 79–80.

       The juror had no concerns that the foreperson was attempting to impose her views on the

others or to control the outcome in any way. Mot. Hr’g Tr. at 81, 82. Juror B never felt pressed

by anyone to return an incorrect verdict, and no one in the jury room ever suggested that the verdict

be based on anything other than the evidence in the case. Id. at 82. At the end of the Court’s

inquiry, counsel had no follow up questions. Id. at 82–83.

       This sworn testimony is the only evidence in the record related to the second issue raised

in defendant’s motion for new trial. It is undisputed, and it demonstrates that the juror misconduct

allegation in the motion was made out of whole cloth.

                                         CONCLUSION

       After consideration of the content of the questionnaire in its entirety, the foreperson’s

statements and demeanor during voir dire, the posts in defendant’s composite exhibit, and the

testimony adduced at the February 25 hearing, the Court finds that the foreperson did not answer

questions falsely on the questionnaire or during voir dire, she did not engage in misconduct during

the trial, and the defendant did not use diligence to discover the information present in his motion.

Therefore, the Court concludes in its discretion that the defense has not presented grounds for a

new trial under Rule 33, nor has it supplied any reason to believe that there has been “a serious




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miscarriage of justice.” Wheeler, 753 F.3d at 208. 63 For these reasons, the motion [Dkt. # 313]

will be DENIED.

       A separate order will issue.




                                             AMY BERMAN JACKSON
                                             United States District Judge

DATE: April 16, 2020




63      See also Gartmon, 146 F.3d at 1027–29 (“Finally, as in our assessment of potential
prejudice from the prosecution’s misstatements in closing argument, we are mindful of the fact
that this case was not a close one. Measured against the overwhelming evidence of [defendant’s]
guilt, we are unable to view this contact as materially contributing to the verdict against him.”).


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                                                     ATTACHMENT A




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